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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                                        Case No.: 9:21-cv-80391-RLR

    KEITH TAIG, individually, and on behalf of )
    others similarly situated,                 )
                                               )
            Plaintiffs,                        )
                                               )
    v.                                         )
                                               )
    CITY OF VERO BEACH, CHIEF DAVID )
    CURREY in his individual capacity, )
    CAPTAIN KEVIN MARTIN (RETIRED) in )
    his individual capacity, LIEUTENANT )
    JOHN PEDERSEN in his individual )
    capacity, DETECTIVE PHIL HUDDY in his )
    individual capacity, DETECTIVE SEAN )
    CROWLEY in his individual capacity, and )
    DETECTIVE MIKE GASBARRINI in his
    individual capacity,

          Defendants.
    ________________________________


                           AMENDED CLASS ACTION COMPLAINT

          Plaintiff/Class Representative, Keith Taig, on behalf of himself and all others similarly

   situated, hereby files this Class Action Complaint against the City of Vero Beach (“Vero Beach”),

   Chief David Currey, Captain Kevin Martin (retired), Lieutenant John Pedersen, Detective Phil

   Huddy, Detective Sean Crowley and Detective Mike Gasbarrini (collectively, “the Individual

   Defendants”) and alleges as follows:

                                   JURISDICTION AND VENUE

          1.      This is an action at law pursuant to 42 U.S.C. § 1983 for deprivation under color of

   state law of rights, privilege, and immunities secured by the Fourth Amendment of the United

   States Constitution.
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           2.     This Court has jurisdiction over the subject matter of this action pursuant to 28

   U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and (4).

           3.     The Court may award attorney’s fees pursuant to 42 U.S.C. § 1988(b) and should

   tax costs pursuant to 28 U.S.C. § 1920.

           4.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because this

   is the District in which all the events or omissions giving rise to Plaintiff and the class

   members’ claims occurred and 28 U.S.C. §1391(c) because all Defendants reside within this

   District.

                                         PARTIES

           5.     Plaintiff Keith Taig is an individual residing in Indian River County, Florida.

           6.     The City of Vero Beach (“the City”) is located in Indian River County, Florida. Its

   police department is a law enforcement agency located within Vero Beach in Indian River County.

           7.     David Currey is employed as a Chief of Police by the City of Vero Beach, is over

   the age of eighteen (18), upon information and belief is a resident of Indian River County, Florida,

   and is being sued in his individual capacity for knowingly violating the class members’

   constitutional rights. Currey is the individual (1) tasked with the ultimate responsibility of

   ensuring his officers are properly trained; (2) that supervised and approved of the illegal

   surveillance; and (3) personally identified all the members of the class in a press conference and

   falsely identified them as being involved in human trafficking.

           8.     Kevin Martin was formerly employed as a Captain of Police by the City of Vero

   Beach, is over the age of eighteen (18), upon information and belief is a resident of Indian River

   County, Florida, and is being sued in his individual capacity for knowingly violating the class

   members’ constitutional rights. He is currently retired and previously had direct supervision and

   responsibility over the officers who conducted the illegal surveillance.
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           9.      John Pedersen is employed as a Lieutenant of Police by the City of Vero Beach, is

   over the age of eighteen (18), upon information and belief is a resident of Indian River County,

   Florida, and is being sued in his individual capacity for knowingly violating the class members’

   constitutional rights. At all times relevant to this action, Pedersen had direct supervision and

   responsibility for the officers who conducted the illegal surveillance.

           10.     Phil Huddy is employed as a Sergeant of Police by the City of Vero Beach, is over

   the age of eighteen (18), upon information and belief is a resident of Indian River County, Florida,

   and is being sued in his individual capacity for knowingly violating the class members’

   constitutional rights. At all times relevant to this action, Huddy was a supervisor within the

   Detective Division with direct supervision and responsibility for the officers who conducted the

   illegal surveillance.

           11.     Sean Crowley is employed as a Detective by the City of Vero Beach, is over the

   age of eighteen (18), upon information and belief is a resident of Indian River County, Florida,

   and is being sued in his individual capacity for knowingly violating the class members’

   constitutional rights. Crowley is the affiant responsible for the two affidavits (later referenced in

   this action as the “November Affidavit” and “December Affidavit”) that led to the improper

   issuance of the surveillance order and the improper surveillance and ultimate arrest of the class

   members. At all times relevant to this action, Crowley was a co-lead detective that executed the

   improper investigation that led to the illegal recording of the class members in a private place.

           12.     Mike Gasbarrini is employed as a Detective by the City of Vero Beach, is over the

   age of eighteen (18), upon information and belief is a resident of Indian River County, Florida,

   and is being sued in his individual capacity for knowingly violating the class members’

   constitutional rights. At all times relevant to this action, Gasbarrini was a co-lead detective that



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   executed the improper investigation that led to the illegal recording of the class members in a

   private place.

                                  CLASS ACTION ALLEGATIONS

          13.       Keith Taig is an adequate class representative because he, like all members of the

   proposed class, suffered the same injury (invasion of privacy under §1983 and subsequent arrest

   and prosecution) caused by the same unlawful conduct (unconstitutional/unlawful video

   recording), which was committed by the same defendants, at the same location (the East Spa,

   located at 2345 14th Avenue, Suite 10, Vero Beach, Florida or “the Spa”), during approximately

   the same time period. Moreover, like all members of the proposed class, Mr. Taig was recorded

   without his permission.

          14.       The class is defined as customers who visited the Spa from November 29, 2018 to

   January 27, 2019, who were illegally video-recorded without their knowledge or consent,

   criminally charged, identified in the media for their wrongful charge during the referenced time

   period, and publicly humiliated in the media as being involved.

          15.       Damages are readily ascertainable as to the effect of the unlawful and

   unconstitutional activity committed by the Defendants upon the members of the class.

          16.       Questions of law common to the class, include, without limitation, whether:

                    (a)    Defendants deprived the class of their collective rights and privileges and
                           immunities secured by the Constitution of the United States and laws while
                           acting under color of law;

                    (b)    Defendants improperly applied for and obtained the “sneak and peek”
                           warrants for the video surveillance recklessly and/or under false pretenses;

                    (c)    The “sneak and peek” warrants issued in the investigation were
                           unconstitutional;


                    (d)    Defendants intentionally misrepresented their investigation to the public as
                           human trafficking, rather than solicitation of prostitution, in an effort to

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                          inflame public opinion against members of the class and subject these
                          members to humiliation, ridicule, and scorn, effectively creating a
                          punishment for members of the class without a hearing being conducted;

                  (e)     Defendants violated the strict requirement of minimization contained in the
                          warrants by failing to minimize the intrusion upon the class members’
                          constitutionally-protected right to privacy in direct violation of the trial
                          court’s order; and

                  (f)     The class members had a reasonable expectation of privacy in the locations
                          where they were illegally recorded.

          17.     Mr. Taig seeks class certification pursuant to Federal Rule of Civil Procedure

   23(b)(1) because prosecuting separate actions would create a risk of inconsistent or varying

   adjudications with respect to individual class members that would establish incompatible standards

   of conduct for Defendants. Moreover, prosecuting separate actions would create a risk of

   adjudications with respect to individual class members that, as a practical matter, would be

   dispositive of the interests of the other members not parties to the individual adjudications or would

   substantially impair or impede their ability to protect their interests.

          18.     Mr. Taig seeks class certification pursuant to Federal Rule of Civil Procedure

   23(b)(3) because the questions of law and fact common to class members predominate over any

   questions affecting only individual members, and a class action is superior to other available

   methods for fairly and efficiently adjudicating this controversy. If Defendants are found liable as

   to one class member, including Mr. Taig, they will be liable as to all class members. Moreover, a

   class action is required because adjudicating this matter in separate actions could lead to conflicting

   determinations of fact and law.

          19.     Class action treatment is superior as it will permit a large number of similarly

   situated persons to prosecute their common claims in a single forum simultaneously, efficiently

   and without the unnecessary duplication of evidence, effort and expense that numerous individual

   actions would engender. The benefits of proceeding through the class mechanism, including
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   providing injured persons with a method of obtaining redress on claims that it might not be

   practicable to pursue individually, substantially outweigh the difficulties, if any, that may arise in

   the management of this class action.

           20.     Defendants have acted unconstitutionally on grounds that apply equally to all class

   members.

           21.     Members of the class are numerous and joinder is impracticable. The number of

   injured class members in this action is close to one hundred fifty (150).

           22.     The claims of Mr. Taig are typical, if not identical, to those of absent class

   members. All members of the class were damaged by the same wrongful conduct of Defendants.

                                    FACTUAL BACKGROUND

           23.     This class action stems from an egregious constitutional violation of the class

   members’ fundamental right to privacy guaranteed by the Fourth Amendment to the United States

   Constitution when they were surreptitiously monitored, and illegally recorded, and filmed by the

   Vero Beach Police Department (“VBPD”) during their investigation for suspected prostitution,

   racketeering, and human trafficking activities occurring at the Spa.

           24.     On or about June 28, 2018, Chief Currey received an anonymous letter from a

   citizen regarding the Spa.

           25.     Thereafter, Detectives Mark Van Dhuynslager and Michael Gasbarrini proceeded

   to visit the Spa, at least twice, to investigate.

           26.     Upon information and belief, Detectives Dhuynslager and Gasbarrini entered the

   Spa as early as July 2018 to investigate.

           27.     On one such occasion, Detective Gasbarrini entered the Spa and was approached

   by a female.



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          28.       On such occasion, Detective Gasbarrini asked the female at the Spa how much for

   a massage; the female then went behind the counter, wrote a price for a massage on computer

   paper, and handed it to him.

          29.       On that same occasion, when Detective Gasbarrini attempted to leave the Spa,

   stating that he had a friend waiting for him in the car (Detective Van Dhuynslager), the same

   female masseuse approached him, put one hand on Detective Gasbarrini’s back and one on his

   chest, tried to rub his chest, and asked him not to leave.

          30.       Following these visits, neither Detective Gasbarrini nor Detective Van Dhuynslager

   opened an investigation.        Importantly, neither documented their actions to conduct this

   investigation.

          31.       After Chief Currey started to receive more calls about the Spa, he decided to initiate

   an investigation and contacted Captain Martin to proceed forward.

          32.       Upon information and belief, the VBPD did not formally document these calls

   regarding the Spa to substantiate Chief Currey’s account of why the investigation began.

          33.       According to Captain Martin, the VBPD learned of the suspected activities at East

   Spa because (i) Chief Currey received multiple complaints; (ii) Captain Gonzalo from the Sheriff’s

   Office had also heard information about it; and (iii) one of the health inspectors with the

   Department of Health had mentioned the Spa to Detective Crowley.

          34.       On or about the fourth week of August 2018, investigators from the VBPD’s

   Special Investigations Unit (“SIU”) and the United States’ Department of Homeland Security

   (“Homeland Security”) initiated its investigation into alleged prostitution activities occurring at

   the Spa.




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          35.     On or about September 14, 2018 and September 18, 2018, the VBPD’s SIU

   conducted an undercover operation and sting of the Spa. The SIU executed this by sending

   Detective Brock in as an undercover patron of the Spa and equipped him with a hidden audio/video

   device for safety and evidentiary purposes.

          36.     On both occasions, Detective Brock received massages by an Asian female,

   believed to be Lanfen Ma (“Ma”), and on both occasions, he was approached and asked if he would

   like sexual favors or acts performed on him for a monetary sum. Detective Brock declined these

   offers on both occasions, and Detectives Gasbarrini and Crowley de-briefed Detective Brock after

   each encounter with Ma.

          37.     Prior to the investigation, Detective Brock did not receive any briefing with respect

   to human trafficking or prostitution.

          38.     Prior to going undercover, Detective Brock did not speak with or to any confidential

   informants, business owners, or anyone else who had lodged complaints regarding the Spa.

          39.     According to Detective Brock, at the time of investigation his sole understanding

   was that he was going undercover to investigate “strictly” prostitution activities.

          40.     At the time Detective Brock went undercover, he did not observe any massage

   therapist indicate to him in any way, shape, or form that she was being held against her will.

          41.     At the time Detective Brock went undercover, no massage therapist indicated to

   him that she was involved in human trafficking.

          42.     In spite of being solicited for prostitution during both undercover visits, Detective

   Brock did not make an arrest.




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          43.      Detective Brock indicated that he spent months going in and surveilling the Spa

   including parking across the street, taking down tag numbers, and recording who was coming and

   going from the Spa.

          44.      At one point, Detective Brock indicated that he followed the “madam” of the Spa

   or Lanyun Ma.

          45.      According to Detective Brock, he did not see or talk to any confidential informant,

   business owner, or anybody else that complained about the Spa.

          46.      At no point of time during his surveillance or training did Detective Brock indicate

   a clear understanding of the minimization requirements employed in the investigation of the Spa.

          47.      On September 25, 2018, Detectives Gasbarrini and Crowley and Homeland

   Security Investigations Special Agent McCreary (“Agent McCreary”) conducted further

   surveillance of the exterior areas of the Spa. During that surveillance, they spoke with two males

   who left the Spa about what occurred while inside the Spa. In recorded interviews, both males

   advised the detectives and agent that they were offered multiple sexual favors for money by an

   Asian woman at the Spa. The experiences of these two males were similar to that of Detective

   Brock’s undercover visits to the Spa.

          48.      On October 31, 2018, VBPD and Homeland Security took further steps in its

   surveillance of the Spa and installed a camera on a nearby telephone pole just southwest of the

   Spa. The purpose of this camera was to provide twenty-four (24) hour surveillance of the exterior

   of the business. Detective Crowley attested that between the dates of 10/31/2018 and 11/20/18 the

   surveillance revealed that women working inside the Spa slept inside the premises and only left

   when in the company of Ma.




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          49.     In his November 27, 2018 “Affidavit for Surreptitious Entry and Installation of

   Electronic Surveillance Camera,” (“November Affidavit”), submitted to County Court Judge

   Cynthia Cox (“Judge Cox”), Detective Crowley indicated that he and Detective Gasbarrini

   conducted multiple hours of covert surveillance during the months of September and October

   2018, noting that all customers observed during that time were male. Despite the VBPD’s two

   documented undercover operations, Detective Crowley asserted that “without the use of electronic

   surveillance the entire prostitution organization will not be able to be identified or prosecuted.” A

   copy of the November Affidavit is attached hereto as “Exhibit A.”

          50.     Detective Crowley further indicated that he conducted trash pulls on the following

   dates: 10/8/18, 10/9/18, 10/10/18, 10/15/18, and 10/17/18. Those trash pulls revealed, inter alia,

   condoms, napkins or tissues with seminal fluid on them, packaging for a sex toy, and feminine

   hygiene products. The VBPD collected photos of these objects from those trash pulls and included

   them in the November Affidavit.

          51.     In the November Affidavit, Detective Crowley attested that he believed a

   prostitution organization was being operated at the premises based on the statements of the

   customers, the volume of male customers, short-term traffic, the items found in the trash pulls,

   undercover operations, and intelligence gathered from the surveillance.

          52.     Notably missing from the November Affidavit was exculpatory evidence such as

   findings from the Department of Health that indicated that no person was living inside the Spa.

          53.     Despite the various observations and surveillance conducted and outlined in the

   November Affidavit, Detective Crowley requested further authorization to enter the Spa to conduct

   covert electronic video surveillance of the interior of the Spa to identify participants believed to

   be a part of the “criminal enterprise” or deriving funds from the proceeds of any prostitution



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   activities. There was no indication that the intent was also to gather evidence to prosecute the

   actual customers of the Spa, including Plaintiff and the proposed class.

          54.      On November 27, 2018, Judge Cox issued an “Order for Surreptitious Entry and

   Installation of Electronic Surveillance Camera,” (“November Order”) which afforded VBPD the

   ability to enter the Spa and install surveillance cameras for the purpose of monitoring the premises

   “for a period no longer than 30 days.” The November Order further required that officers were to

   take steps minimizing the invasion of privacy “to any parties not engaged in the unlawful acts set

   forth in the affidavit.” This Order also required that the Defendants report back to the Court within

   ten days and provide an inventory. The Order specifically did not permit recording and only

   allowed monitoring.     Importantly, on page 2 of the Order, which contained minimization

   instructions, one of the officers, believed to be Detective Crowley, initialed that page—indicating

   his acknowledgment of the instructions to minimize and not to record. A copy of the November

   Order is attached hereto as “Exhibit B.”

          55.      The cameras that were installed did not have the ability to be switched on or off,

   making minimization required by the Order impossible. Conveniently, this was not reported back

   to the Judge who signed the November Order.

          56.      On November 29, 2018, VBPD and Homeland Security installed cameras, without

   audio capability, within the Spa. Notably, cameras were installed where customers had a known

   expectation of privacy and where video surveillance is precluded by Florida statute.

          57.      Despite specifically being instructed to only monitor and not record, the detectives

   knowingly allowed the surveillance system to record 24 hours a day, 7 days a week for 60 days

   and intentionally withheld this fact from the Judge who signed the warrant authorizing the

   surveillance.



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          58.     The acts that were observed via the installed surveillance system served as the

   premise for the next December 28, 2018 “Affidavit for Surreptitious Entry and Installation of

   Electronic Surveillance Camera,” (“December Affidavit”) sworn and subscribed to by Detective

   Crowley, which was submitted to County Court Judge Paul B. Kanarek (“Judge Kanarek”) despite

   the fact that the required return of service was never submitted for the first warrant. A copy of the

   December Affidavit is attached hereto as “Exhibit C”.

          59.     Between the dates of 11/29/18 and 12/27/18, Detective Crowley observed

   approximately one hundred (100) sex acts for money, therefore making this second 30-day video

   surveillance/recording period unnecessary.

          60.     On 12/06/18 and 12/22/18, tracking devices were installed on vehicles believed to

   transport “women participating in the criminal enterprise and funds used to contribute to the

   criminal enterprise or derived from the enterprise”.

          61.     Despite observing multiple sex acts for money and the monitoring and tracking of

   the vehicles used to transport the females believed to be participating in the criminal enterprise at

   the Spa, Detective Crowley pursuant to a sworn affidavit improperly requested additional

   authorization to conduct an additional thirty (30) days of video surveillance at the Spa.

          62.     This second 30-day period was requested in spite of the alleged concern that women

   were working at the Spa against their will.

          63.     This second 30-day period was requested in spite of the fact that the officers had

   video surveillance early on in the first 30-day period of sex acts for money—enough to convict

   of RICO and enough to make arrests and stop the entire “operation.”




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          64.     According to Captain Martin, the cameras recorded 24/7, nothing was done to limit

   the running of the cameras employed in this investigation, and there was never an indication in

   either search warrant to the Judge that the cameras were incapable of being turned off.

          65.     Captain Martin later indicated that he would make sure the language of the orders

   and the search warrants line up in this investigation and affirmatively indicated that he would make

   sure the VBPD does what the order requires.

          66.     In the December Affidavit, Detective Crowley attested that there was probable

   cause to believe that the Spa “is being utilized to operate a prostitution and racketeering

   organization and/or derive support from the proceeds of prostitution”.

          67.     Again, notably missing from the December Affidavit was exculpatory evidence

   such as findings from the Department of Health that indicated that no person was living inside the

   Spa.

          68.     On December 28, 2018, Judge Kanarek issued an “Order for Surreptitious Entry

   and Installation of Electronic Surveillance Camera,” which again afforded VPBD the ability to

   enter the Spa and install surveillance cameras for the purpose of monitoring the premises “for a

   period no longer than 30 days” (“December Order”). Similar to the November Order issued by

   Judge Cox, this December Order provided that officers were to take steps minimizing the invasion

   of privacy. Additionally, as in the prior November Order, the December Order did not authorize

   any recording. A copy of the December Order is attached hereto as “Exhibit D.”

          69.     According to Lieutenant Pedersen, Chief Currey was the individual responsible for

   making the final decisions in the Spa investigation, including requesting this second 30-day period

   for further surveillance.




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          70.     On or about January 11, 2019, the Office of the State Attorney instructed VBPD

   officials to stop recording sex acts and instead shift its focus to human trafficking activities. This

   instruction was noted in a Department of Homeland Security report.

          71.     In light of this instruction, the VBPD dropped the investigation altogether but

   continued to let the cameras record for the remainder of the second 30-day period.

          72.     On or about January 25, 2019, Sergeant Huddy emailed Sergeant Rivera,

   expressing that that “[the VPBD] has captured, approximately 200 sexual acts . . . through interior

   video surveillance. We had acquired a break-in order during the last week in November and

   continue to monitor the inside of the premises. An extension of the existing break-in order was

   acquired on December 29, 2018 and we will, most likely, get a third extension next week.”

          73.     So, the VBPD was looking at a third extension in spite of the clear instructions to

   discontinue the recording of prostitution activities occurring at the Spa.

          74.     Upon information and belief, throughout the VBPD’s investigation of the Spa,

   improper reporting frequently took place. For example, surveillance logs from the SUI Video

   Room and logs from the field units often reflected discrepancies on the times and persons entering

   the Spa. In a one-time span, Detective Crowley might note 7 entries while the surveillance team

   would note more than 20.

          75.     In the wake of these various improper video-surveillance activities, warrants were

   sought for the class members’ arrests for the charges of, inter alia, solicitation of prostitution

   pursuant to section 796.07, Fla. Stat.

          76.     Aside from seeking warrants, the VBPD also held a press conference on February

   19, 2019, that lasted approximately one hour, in which the VBPD not only named the class




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   members subject to their investigation, but publicly made available the class members’ photos as

   well, while wrongfully claiming they were involved in suspected human trafficking.

          77.     Upon information and belief, several individuals at that press conference were

   publicly identified although no arrest warrants were issued for them.

          78.     At the state trial court level, the class members moved to suppress the surveillance

   evidence gathered and obtained pursuant to Judge Cox’s November Order and Judge Kanarek’s

   December Order.

          79.     On April 23, 2019, County Court Judge Nicole P. Menz (“Judge Menz”) heard

   arguments from the State of Florida and defense counsel for the class members on the issue of

   whether the surveillance evidence gathered and obtained pursuant to Judge Cox’s November Order

   and Judge Kanarek’s December Order were improperly obtained in a manner which violated the

   Fourth Amendment of the United States Constitution and should be suppressed as an unreasonable

   search and seizure.

          80.     At that hearing, Detective Crowley testified that:

                  (a)    The whole investigation was initiated when VBPD Chief, David Currey,
                         alerted Detectives Crowley and Gasbarrini to anonymous citizen complaints
                         made in reference to the Spa.

                  (b)    He and Detective Gasbarrini initially conducted surveillance at the Spa
                         location.

                  (c)    Both he and Detective Gasbarrini were supervised by Detective Sergeant
                         Huddy and Detective Lieutenant Pedersen.

                  (d)    Prior to the arrests of the Plaintiff and his class, he had never made any
                         prostitution arrest.

                  (e)    “[W]e had to watch the entire massage to see if [the sex act] was going to
                         take place.”

                  (f)    His interpretation of the minimization requirement meant that if he did not
                         monitor the surveillance activities 24/7 for sixty (60) days, as he was
                         authorized, then he believed he was minimizing the surveillance.
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                  (g)    He acknowledged that the VBPD knew it was a possibility that people
                         would become nude in the massage room.

                  (h)    Aside from the video surveillance at the Spa in which he was involved,
                         Detective Eder, who was also involved in the operation, went into the
                         business next door to the Spa, began listening through the walls, and audio-
                         recorded it—none of which was authorized by Judges Cox or Kanarek.

                  (i)    The VBPD did not report back to the judges with their findings from the
                         investigation within a ten-day time period, as required by the November and
                         December Orders.


          81.     The evidence presented at the Motion to Suppress hearing indicated the improper

   manner of the video surveillance that was carried out by the detectives responsible for the

   monitoring of the cameras at East Spa.

          82.     Each and every camera installed at the spa recorded all activity in the spa for 24

   hours a day 7 days a week for 60 straight days regardless of whether anyone in law enforcement

   was actually monitoring the recordings.

          83.     Moreover, the cameras recorded when law enforcement officials decided to take a

   day off and not monitor any activity at the Spa.

          84.     As evidenced by video surveillance logs, Detective Crowley, Detective Gasbarrini,

   Lieutenant Pedersen and Sergeant Huddy signed in daily to conduct the Spa investigation.

          85.     As further evidenced by video surveillance logs, Chief Currey and Captain Martin

   and Assistant State Attorney Ryan Butler on occasion, would all monitor the recordings of what

   was taking place inside the Spa together.

          86.     There was no effort at all on the part of law enforcement to minimize the 60 days’

   worth of recordings, and law enforcement kept those recordings stored on a server at the VBPD.




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          87.     Throughout the investigation, Sergeant Huddy was responsible for all his detectives

   reporting to him. Sergeant Huddy later indicated that it was part of his duty to sign off on the

   reports made to him and to review the search warrants.

          88.     Sergeant Huddy indicated that he verbally followed up with reports and things of

   that nature.

          89.     According to Sergeant Huddy, a Florida Department of Law Enforcement

   (“FDLE”) human trafficking course is issued every two years, but only certain VBPD officials

   involved in the Spa investigation completed this course.

          90.     Upon information and belief, Chief Currey took the FDLE human trafficking

   course in 2013, Detective Crowley in 2014, Lieutenant Pedersen in 2014, and Detective Gasbarrini

   in 2019.

          91.     Although the Orders contained express instructions to minimize and only allowed

   monitoring, it was apparent at the hearing that the VBPD violated those express instructions and

   chose to record instead of monitor and took no actions to minimize those recordings.

          92.     Prior to the investigation of the Spa, State Attorney, Jeffrey Hendriks, a Martin

   County prosecutor, circulated a memorandum associated with minimization requirements to

   Detective Gasbarrini, Detective Crowley, Sergeant Huddy, and Lieutenant Pedersen.

          93.     Lieutenant Pedersen forwarded that same memorandum to Captain Martin so he

   was also aware of the minimization instructions.

          94.     That same memorandum provided that recording would only be permitted if a

   criminal act was surveilled.

          95.     At the Motion to Suppress hearing, Mr. Andrew Metcalf, Esq. (defense counsel)

   and Detective Crowley exchanged the following regarding minimization:



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                      10 Q The Judge called -- you asked for the Judge to

                      11 specifically require you guys to take steps to minimize the

                      12 invasion of privacy to any parties not participating in

                      13 criminal conduct?

                      14 A Yes, sir.

                      15 Q That was put in the order?

                      16 A Yes.

                      17 Q That was asterisked and highlighted? There was an

                      18 asterisk put there by Judge Cox. Correct?

                      19 A Yes, sir.

   (Hr. Tr. p. 68). A copy of the April 23, 2019 motion to suppress hearing transcript is attached

   hereto as “Exhibit E.”

          96.     On May 16, 2019, Judge Menz issued an “Order Granting Defendant’s Motion to

   Suppress” (“Order Granting Suppression”), explaining that the Motion to Suppress must be

   granted due to a “fatal flaw” in the manner in which the Orders permitting the surveillance were

   obtained; improper manner in which the Surveillance Orders were drafted and signed; as well as

   the manner in which Judge Cox’s November Order and Judge Kanarek’s December Order were

   conducted by representatives of the VBPD. A copy of this Order Granting Suppression is attached

   hereto as “Exhibit F.”

          97.     In the Order Granting Suppression, Judge Menz addressed whether the plaintiff and

   members of his class had a legitimate expectation of privacy in the massage room of the Spa and

   whether that expectation was reasonable. Judge Menz opined, “Clearly anyone seeking a massage

   in a professional setting has a reasonable subjective expectation of privacy. . . . it is the opinion of



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   this Court that there is a reasonable expectation of privacy in a massage room and therefore the

   defendant had a legitimate expectation of privacy that is protected by the Fourth Amendment to

   the United States Constitution.”

          98.     In that same Order Granting Suppression, Judge Menz addressed law

   enforcement’s “disregard of the duties” to minimize the invasion of privacy of those not engaged

   in the unlawful acts, which as Judge Menz noted was “in direct violation of the Order signed by

   Judge Cox on November 27, 2018 and the Order signed by Judge Kanarek on December 28, 2018.”

          99.     Specifically, Judge Menz detailed that the evidence presented at the suppression

   hearing indicated that detectives responsible for the monitoring of the cameras at the Spa recorded

   all activity in the Spa for 24 hours a day, 7 days a week, for 60 straight days – even on days when

   law enforcement decided to “take a day off.” In the Order Granting Suppression, Judge Menz

   concluded that “[t]here is no doubt that this total lack of minimization is anything other than a

   violation which requires the suppression of all video evidence. . . . Video surveillance is the most

   intrusive form of surveillance utilized by the government to investigate crime. As such, it is

   incumbent upon the government that the rights of private law abiding citizens are not infringed

   upon during that surveillance.”

          100.    Aside from the investigation of the activities occurring at the Spa named in this

   action, the State of Florida (“the State”) had conducted investigations of other massage parlors

   located in Indian River, Martin, and Palm Beach counties using similar, if not identical, tactics as

   those used by the VBPD. Like Judge Menz, the trial court judges in the aforementioned counties

   entered orders suppressing the video surveillance conducted by the law enforcement officials in

   those jurisdictions.




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          101.    The State thereafter appealed all of the trial court orders granting motions to

   suppress non-audio video surveillance that was recorded with hidden cameras covertly installed

   inside massage parlors suspected of housing prostitution activity.

          102.    On appeal, the Fourth District Court of Appeal consolidated all appellate issues

   emanating from the State’s investigation of spas located in Indian River, Martin, and Palm Beach

   counties. These appeals were titled: State v. Kraft, 4D19-1499, State v. Freels, 4D19-1655, and

   State v. Zhang, 4D19-2024. The State v. Freels case involved the Order Granting Suppression that

   is applicable to the VBPD’s investigation of the Spa.

          103.    The appellate court ultimately found that the trial courts in all of the jurisdictions

   properly concluded that the criminal defendants had standing to challenge the video surveillance

   and that total suppression of the video recordings was constitutionally warranted. A copy of this

   Opinion is attached hereto as “Exhibit G.”

          104.    For purposes of this class action, the Fourth District Court of Appeal’s holding and

   reasoning concerning the VBPD’s investigation in State v. Freels is the most relevant portion of

   the Opinion.

          105.    In State v. Freels, the county court certified the following four questions of great

   public importance to the Fourth District Court of Appeal:

                  (a)    Did the Defendant have a legitimate expectation of privacy such that he is
                         entitled to claim the protection of the Fourth Amendment? and,

                  (b)    Did the issuing Court have authority under the Fourth Amendment to
                         authorize a Video Surveillance Warrant? and,

                  (c)    If the issuing Court had the power to authorize a Video Surveillance
                         Warrant, does the Video Surveillance Warrant issued in this case satisfy
                         Fourth Amendment requirements? and,

                  (d)    If the issuing Court had the power to authorize a Video Surveillance
                         Warrant and the Warrant satisfied Fourth Amendment requirements, was

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                         the Video Surveillance Warrant executed in a manner sufficient to satisfy
                         Fourth Amendment requirements?

          106.    The appellate court accepted jurisdiction to address these questions and discuss in

   detail the VBPD’s undercover investigation of alleged prostitution activities occurring at the Spa.

          107.    There, the appellate court noted the following significant details:

                  (a)    VBPD officials installed hidden cameras and used them to monitor and
                         record spa customers as they undressed and received massages in private
                         massage rooms;

                  (b)    For the first twenty days, two detectives monitored the video feeds from 8
                         a.m. to 11 p.m., but after this fifteen-hour period, the cameras continually
                         recorded and were unattended for the full 30 days;

                  (c)    The police observed nearly 100 sex acts during this period;

                  (d)    The lead detective in that investigation applied for an extension of the 30-
                         day surveillance period, noting that police had witnessed the counting of for
                         large sums of money and women being transported to and from the spa;

                  (e)    The judge approved the warrant and granted the extension, again instructing
                         the VBPD to minimize the intrusion on lawful activity. Detectives
                         monitored the feed only for an additional 10 days, but the cameras ran and
                         recorded until the expiration of the period specified in the second warrant;

                  (f)     In total, the VBPD monitored the video feeds for 30 out of the 60 possible
                         days;

                  (g)    Most of the prostitution activities occurred at the end of the massage or the
                         beginning, which, as the Fourth District Court of Appeal noted
                         “complicated efforts to minimize because, if the detectives did not monitor
                         the beginning of the massages, they may have missed an act of
                         prostitution.”; and

                  (h)    After the video surveillance was conducted, numerous defendants were
                         charged with misdemeanor counts of solicitation of prostitution, and the
                         county court suppressed the videos, concluding that the police failed to
                         minimize the intrusion on the privacy of individuals not engaged in
                         unlawful activity and noting that the police monitored the feeds only 50%
                         of the allowed time while the camera recorded for the entire 60 days.




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          108.    The appellate court began its analysis with the Fourth Amendment’s prohibition on

   unreasonable searches, which protects individual privacy against certain types of government

   intrusion.

          109.    In its analysis, the appellate court reasoned that the spa-client defendants in all of

   these cases had a subjective and objectively reasonable expectation of privacy in the massage

   parlor rooms because the surveillance took place in a professional private setting where clients are

   expected to partially or fully disrobe. Moreover, the appellate court reasoned the spa owners and

   their employees had a reasonable right to expect that the interactions with nude or partially nude

   clients in the massage rooms would not be exposed to the public.

          110.    Although the State argued that most of the customers who were recorded and

   monitored engaged in unlawful activity and could not rely on Fourth Amendment rights, the

   appellate court rejected the “state’s circular argument that the defendants lacked a privacy interest

   because they were engaging in criminal behavior”, reasoning that “as case law shows us, Fourth

   Amendment rights are nearly always safeguarded by those who are criminally prosecuted.”

          111.    After the appellate court concluded that the defendants had standing to challenge

   the search, it next considered whether minimization requirements were applicable to the

   surveillance utilized in the undercover investigations and whether those requirements were

   properly defined or applied in the affidavits submitted by VBPD.

          112.    Because the Fourth Amendment does not expressly reference the term

   “minimization”, the State maintained to the appellate court that the existing probable cause and

   particularity requirements of the Warrant Clause amply safeguard protected privacy interests.

   However, the appellate court also rejected this argument, pointing the State to “many years of clear

   federal jurisprudence on this issue.”



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          113.     Specifically, the appellate court cited to U.S. v. Mesa-Rincon, 911 F.2d 1433 (10th

   Cir. 1990), which states five requirements for video surveillance that define more specifically the

   probable cause and particularity requirements of the Fourth Amendment, including a minimization

   requirement (“the order is specifically precise so as to minimize the recording of activities not

   related to the crimes under investigation.”).

          114.    The appellate court declared that “[t]he act of video surveillance itself is perhaps

   the most intrusive form of electronic law enforcement spying,” and, as support, cited to Mesa-

   Rincon’s analogy that “Television surveillance is identical in its indiscriminate character to

   wiretapping and bugging. [However], [i]t is even more invasive of privacy, just as a strip search

   is more invasive than a pat-down search . . .”

          115.    The appellate court concluded that the warrants failed to contain sufficient

   minimization guidelines and that the police did not sufficiently minimize the video recording of

   those with no connection to the ongoing spa investigation. In stark comparison, the detectives in

   Jupiter monitored the video feeds only during business hours and three detectives monitored and

   recorded video from the hidden cameras over five days.

          116.    Specifically, the appellate court noted that law enforcement failed to “take the most

   reasonable, basic, and obvious minimization technique, which was simply to not monitor or record

   female spa clients.”

          117.    The Fourth District Court of Appeal even went so far as to specifically state that of

   all the cases it was considering in the appeals, the VBPD’s investigation was the “most egregious

   example” of failure to minimize because their cameras recorded continuously (24 hours a day/7

   days a week) for 60 days.




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           118.     Having found no minimization employed in the surveillance used for the Spa, the

   Court next considered whether application of the exclusionary rule to bar evidence obtained in an

   illegal search and seizure was proper in light of the good faith exception set forth under U.S. v.

   Leon, 468 U.S. 897 (1984).

           119.     Under Leon, the appellate court acknowledged that the test is whether a reasonably

   well-trained officer would have known that the search was illegal despite the magistrate’s

   authorization.

           120.     Although the State argued that the good faith exception applied, the appellate court

   again rejected the State’s argument, reasoning that the warrant applications themselves cited Mesa-

   Rincon.

           121.     In its conclusion, the Fourth District Court of Appeal upheld the trial court orders

   suppressing unconstitutionally captured footage, commenting that the “type of law enforcement

   surveillance utilized in these cases is extreme.”

           122.     In a special concurrence, Judge May clarified that while the State clung to “section

   933.03, Florida Statutes (2019), for life support, that provision’s ‘plain text’ simply authorizes a

   search warrant ‘[w]hen any property shall have been used: … [a]s a means to commit any crime.’”

   . . .It does not authorize this surveillance type for prostitution-related offenses.”

           123.     As such, the Fourth District Court of Appeal went to great lengths to emphasize

   that this type of video surveillance evidence was not permissible for prostitution-related offenses

   and was not in accordance with Florida statutory law.

           124.     In the wake of the Fourth District Court of Appeal’s opinion, the class members

   that were subject to the VBPD investigation and who were charged now bring a civil suit seeking

   to deter future violations of this type of misconduct.



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          125.    The Defendants’ actions which exhibited an intentional and blatant disregard of the

   rights provided by the Fourth Amendment to the United States Constitution deprives them of the

   right to claim that they are protected by the concept of qualified immunity since they could not

   have reasonably believed or concluded that their actions were constitutionally permissible. As

   reiterated, supra, these actions of the Defendants include, but are not limited, to the following:

                  (a)     The November Affidavit, prepared by Detective Crowley, that the
                          surveillance would be “conducted in such a way as to minimize the visual
                          surveillance . . .”, yet there was a complete failure of minimization.

                  (b)     The November Affidavit requested that “…the Court Order [the Warrant]
                          direct that video surveillance must immediately terminate when it is
                          determined that the video surveillance is unrelated to this investigation”, yet
                          video surveillance unrelated to the investigation did take place.

                  (c)     The November Order specifically required and emphasized that “While
                          monitoring the premises to be searched, the executing officers shall take
                          steps to minimize the invasion of privacy to any parties not engaged in the
                          unlawful acts set forth in the affidavit.” Despite this requirement in the
                          November Order, there was no minimization.

                  (d)     The November Order further required that an “original of this warrant,
                          together with the original inventory shall be returned and filed with the
                          Judge in and for Indian River County, or before any Court having
                          jurisdiction as stated above within ten (10) days of the date of the issuance
                          of this warrant.” But, there was no return of the original of the warrant or
                          an original inventory in spite of video evidence being obtained.

                  (e)     The December Affidavit again provided that the surveillance would be
                          conducted in such a way as to minimize the visual surveillance, yet there
                          was no minimization.

                  (f)     The December Affidavit again provided that surveillance “…must
                          immediately terminate when it is determined that the video surveillance is
                          unrelated to this investigation”, yet this required termination did not take
                          place.

                  (g)     The December Order also required that minimization take place, but, again,
                          there was no minimization.




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                   (h)     The December Order again required the warrant together with the original
                           inventory shall be returned within ten days of the issuance of the warrant,
                           yet no return of video evidence was made.

                   (i)     The December Order required that the surveillance cameras be monitored
                           for a period of no longer than thirty (30) days, yet after only ten (10) days
                           the VBPD abandoned the surveillance operation and kept the monitors
                           running for the full thirty (30) days with absolutely no monitoring or
                           minimization.

                   (j)     Detective Crowley admitted at the April 23, 2019 hearing before Judge
                           Nicole P. Menz on the Motion to Suppress that he knew the difference
                           between “monitoring” and “recording” and that the Orders permitting visual
                           surveillance did not state that there could be recording.

                   (k)     At all times material hereto, Detective Crowley was always aware of the
                           concept of minimization, as evidenced by the fact that he admitted at the
                           suppression hearing that it was he that requested the Judge to require the
                           steps to be taken to minimize the invasion of privacy of individuals not
                           engaged in criminal activity.

                   (l)     At the suppression hearing, Detective Crowley admitted that, to his
                           knowledge, only two predicate acts were required to show racketeering, but
                           the VBPD actually observed one hundred (100) in the first thirty (30) days.
                           In fact, he admitted that so many acts had been observed that he met with
                           the Indian County State Attorney’s Office and a joint decision was made to
                           terminate the surveillance permitted by the December Order prior to the end
                           of the 30-day period. Yet, despite this fact, the cameras and recording
                           continued for the full period.

                   (m)     Further, the Fourth District Court of Appeal explicitly provided that the
                           VBPD’s surveillance was the most egregious because they recorded
                           continuously for sixty (60) days, and considering their blatant
                           disregard/ignorance of decades-old federal law (such as Mesa-Rincon)
                           setting out the requirements for obtaining a warrant to conduct secret video
                           surveillance in private locations, did not act in good faith with respect to
                           minimization.

           126.    Mr. Taig has retained undersigned counsel to represent him and the class members

   in this action to vindicate their rights.

           127.    All conditions and requirements to bringing this action have been satisfied.

           Count I – 42 U.S.C. § 1983 (Fourth Amendment Violation – Search and Seizure)


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           128.    Plaintiff incorporates and re-alleges allegations 1-127 set forth above as though

   fully set forth herein.

           129.    The class members had a reasonable expectation of privacy when they were at the

   Spa, including while in private rooms located on private property at the Spa.

           130.    The Defendants’ actions, including their monitoring and recording of the class

   members’ conduct while located in a private room located on private property, deprived the class

   members of their rights, privileges, and immunities secured and guaranteed by the Fourth

   Amendment to the United States Constitution.

           131.    Specifically, and among other things, Defendants’ actions: (1) violated the class

   members’ rights to be free from unreasonable search and seizure; (2) violated the class

   members’ rights to procedural due process; and (3) violated the class members’ constitutional

   right to privacy.

           132.    In doing so, the Defendants acted willfully, maliciously, and in violation of law,

   established practices, and their duties.

           133.    As a result, the class members suffered and continue to suffer invasion of their

   privacy, embarrassment, emotional distress, loss of business opportunities, and substantial

   expenses—including legal fees and court costs—in vindicating their rights.

           134.    The Defendants improperly and maliciously deprived the plaintiff and members of

   the class of control over their privacy, person, and dignity.

           135.    The Defendants knew that minimization should have been employed by them at the

   time of surveillance, and as required by Judge Cox in her November Order and by Judge Kanarek

   in his December Order, but Defendants willfully and blatantly disregarded any attempts to




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   minimize an intrusion of privacy by choosing to continuously record the activities of those within

   the private massage parlor.

           136.    As a direct result, the class members’ footage of their activities within the private

   massage parlor have been obtained, seized, recorded, and re-watched without their knowledge or

   consent. This footage was a gross invasion of privacy because the class members were illegally

   recorded by the VBPD, instead of being monitored, which was the only thing authorized by the

   trial court judges.

           137.    Further, as a result of the improper actions of the Defendants, members of the class

   were improperly charged with the crime of engaging in prostitution, charges which were ultimately

   withdrawn.

           138.    The class members have also been fearful that videos of them engaging in sex acts

   are in danger of being broadcast online and republished ad infinitum causing further irrevocable

   and permanent damages to them.

                                Count II – 42 U.S.C. § 1983
           (Fourth Amendment Violation – Failure to Train/Supervise Against the City)

           139.    Plaintiff incorporates and re-alleges paragraphs 1-127 set forth above as though

   fully set forth herein.

           140.    The VBPD, while acting under color of state law and under the guise of

   investigating alleged human trafficking, did intentionally, willfully, and maliciously, with

   deliberate indifference, and/or reckless disregard for the natural and probable consequences of

   their actions, illegally record the class members while those members were located in a private

   massage room located on private property.

           141.    These actions were done in direct violation of the trial court’s November and

   December Orders, which directed the VBPD, inter alia, “to monitor [the] surveillance cameras for

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   a period of no longer than 30 days, and forthwith make return of your doings upon executing this

   warrant, which you are commanded to execute as the law directs within ten days from the date

   thereof.”

          142.     Instead, the VBPD continuously recorded for two 30-day periods and made no

   return of their doings within the specified ten (10) days’ time frame and in spite of the fact that

   video evidence was obtained.

          143.     The trial court’s November and December Orders further provided that “the

   executing officers shall take steps to minimize the invasion of privacy”.

          144.     However, the continuous and gratuitous recording of all activities of those who

   visited the Spa indicate that the VBPD failed to adequately train or supervise its employees on

   minimization.

          145.     The continuous and gratuitous recording of all activities of those who visited the

   Spa occurred despite VBPD receiving a minimization memorandum that specifically instructed

   officials to record only when criminal activities were taking place.

          146.     The VBPD’s failure to adequately train or supervise its employees with respect to

   the minimization techniques employed in the Spa investigation constitutes a custom or policy.

   Specifically, the continuous and gratuitous recording of all activities of those who visited the Spa

   show that the City had a policy or custom of not taking reasonable steps to train its employees on

   adequate minimization techniques.

          147.     The City’s custom or policy of failure to adequately train or supervise its employees

   with respect to the minimization techniques employed in the Spa investigation caused its

   employees (VBPD officials) to film Plaintiff and the proposed class members in a private space

   with no minimization whatsoever and in violation of their constitutional rights.



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          148.    The City’s custom or policy of failure to train its employees (VBPD officials) on

   adequate minimization techniques show that the City acted with a deliberate indifference to the

   privacy rights of those who were filmed without their knowledge in a private, massage room at the

   Spa.

          149.    The trial court’s November and December Orders had further provided that the

   “original of this warrant, together with the original inventory shall be returned and filed with the

   Judge in and for Indian River County, or before any Court having jurisdiction as stated above

   within ten days of the date of issuance of this warrant.”

          150.    However, the original of the warrant and the original inventory was never returned

   and filed with the trial court judges within the specified ten (10) days’ time frame and in spite of

   the fact that video evidence was obtained.

          151.    Aside from the express instructions/directions set forth by the trial court judges in

   their Orders, the VBPD is also governed by General Orders that address various subject matters

   law enforcement must be trained on.

          152.    Specifically, VBPD’s General Order #28, which governs conduct, duties, and

   responsibilities of VBPD law enforcement, provides that “All members shall perform their duties

   as required or directed by law, department policy, or by order of a superior officer.” A copy of

   General Order #28 is attached hereto as “Exhibit H.”

          153.    Despite being well aware of General Order #28, VBPD chose not to perform their

   duties as directed, required, and set forth by Judge Cox in the November Order and Judge Kanarek

   in the December Order.

          154.    Moreover, VBPD’s General Order #57, which governs search warrants, provides

   that “The original search warrant together with the original affidavit and original inventory and



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   Return must be filed with the Clerk of Court having jurisdiction of the offense. This should be

   done within ten (10) days after issuance, or if the search was on the 10th day, then the day

   following. . . . The affiant will return the search warrant to the Clerk of Court as prescribed by

   Florida law.” A copy of General Order #57 is attached hereto as “Exhibit I.”

           155.    Despite being well aware of General Order #57, the VBPD chose not to return the

   original affidavit and original inventory nor file the Return with the Clerk of Court.

           156.    Despite being well aware of General Order #57, the VBPD chose not to return the

   search warrant to the Clerk of Court as prescribed by Florida law.

           157.    Had the City properly trained their law enforcement officers (VBPD) in

   minimization requirements, and to follow direct Court orders, as well as procedures outlined in

   their own General Orders, they would not have acted with reckless indifference to the class

   members’ Fourth Amendment rights.

           158.    Accordingly, the City’s overall failure to properly supervise and train the officers

   conducting the investigation was the direct and proximate cause of the class members’ injuries.

                               Count III – 42 U.S.C. § 1983
        (Fourth Amendment Violation – Failure to Train/Supervise Against the Individual
                                        Defendants)


           159.    Plaintiff incorporates and re-alleges paragraphs 1-127 set forth above as though

   fully set forth herein.

           160.    Chief Currey, alongside Captain Martin, initiated this Spa investigation after

   receiving anonymous complaints and phone calls.

           161.    In furtherance of this investigation, Detective Crowley, Detective Gasbarrini,

   Sergeant Huddy, Lieutenant Pedersen, and Captain Martin worked with individuals from the State




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   Attorney’s office and received a memorandum on minimization techniques that should be

   employed in light of the sneak and peek warrants that were issued.

           162.    That minimization memorandum provided in part that recording should take place

   whenever criminal activity was observed.

           163.    Despite that instruction, all officers supervised, monitored, and recorded Plaintiff

   and the proposed class members at all times in the private massage rooms at the Spa.

           164.    Despite all Individual Defendants admitting that enough sexual acts were observed

   early on in the investigation (the initial 30-day period) to account for the suspected prostitution

   activities, each continued to play a role in the continuous filming and recording of all the Spa

   patrons 24/7 for two 30-day periods (total of continuous recording and filming for 60 days).

           165.    Each Individual Defendant had a custom or policy of failure to train and/or

   supervise its fellow officers to employ the proper minimization techniques necessary for a sneak

   and peek warrant.

           166.    This failure to train and/or supervise led to and caused the gratuitous recording of

   Plaintiff and the proposed class members in a private space with no sense of minimization and in

   violation of their constitutional rights.

           167.    Moreover, had the Individual Defendants in this action properly supervised the

   officers below them (and one another) conducting the investigation and ensured their compliance

   with existing court orders and departmental rules and regulations, they would not have violated

   the class members’ Fourth Amendment rights.

           168.    Accordingly, the Individual Defendants’ overall failure to properly supervise and

   train the officers conducting the investigation was the direct and proximate cause of the class

   members’ injuries.



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                                        PRAYER FOR RELIEF
          WHEREFORE, Plaintiff requests that
                  (a)     The Court determine that this action may be maintained as a class action

   pursuant to Federal Rules of Civil Procedure 23(b)(1) and (3);

                  (b)     The Court award Plaintiff and the class members compensatory damages,

   including prejudgment interest, in an amount to be determined at trial;

                  (c)     The Plaintiff and the class members recover their costs of this suit, including

   reasonable attorneys’ fees, as provided by the law; and

                  (d)     The Court grant the Plaintiff and the class members such relief as the nature

   of the case may require or as may be deemed just and proper by this Court.

                                    DEMAND FOR JURY TRIAL


          Plaintiff hereby requests a trial by jury on all issues so triable.



                                                          Respectfully submitted,

                                                          FISHER POTTER HODAS, PL
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         EXHIBIT “A”
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                                             IN THE CIRCUIT COURT OF THE
                                             NINETEENTH JUDICIAL CIRCUIT
                                             IN AND FOR INDIAN RIVER COUNTY
                                             STATE OF FLORIDA

                                           VOLUME I OF II
           STATE OF FLORIDA,
              Plaintiff,
           vs.
           JOVANY AGUILERA                            CASE     NO.:    3119MM393A
           MOHAMMED TURKI ALHARBI                     CASE     NO.:    3119MM404A
           FUAD S. ALJADAANI                          CASE     NO.:    3119MM572A
           GARRETT M. ALLEN                           CASE     NO.:    3119MM561A
           JOSEPH R. ANGLESANO                        CASE     NO.:    3119MM366A
           GREGORY ARNONE                             CASE     NO.:    3119MM367A
           JUSTIN L. BAUER                            CASE     NO.:    3119MM421A
           DAVID RAY BLACK                            CASE     NO.:    3119MM350A
           JON BROECKER                               CASE     NO.:    3119MM353A
           DONALD SCOTT BROWN                         CASE     NO.:    3119MM355A
           PATRICK VINCENT BROWN                      CASE     NO.:    3119MM392A
           PAUL DENNIS BROWNING                       CASE     NO.:    3119MM357A
           SCOTT BUESCHER                             CASE     NO.:    3119MM369A
           VANDERLEI CASTRO                           CASE     NO.:    3119MM432A
           WILLIAM ERVIN CHANCELLOR                   CASE     NO.:    3119MM436A
           JEFFREY CHANDLER                           CASE     NO.:    3119MM480A
           DAVID CLARK                                CASE     NO.:    3119MM368A
           KEVIN COYNE                                CASE     NO.:    3119MM372A
           JOHN CRAIN                                 CASE     NO.:    3119MM371A
           LOUIS R. CROOK                             CASE     NO.:    3119MM417A
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           WALTER L. DIXON, II                        CASE     NO.:    3119MM445A
           ISIAH DRISDOM                              CASE     NO.:    3119MM330A
           MANUEL ESQUIVEL                            CASE     NO.:    3119MM422A
           WILLIAM ESTES                              CASE     NO.:    3119MM399A
           WILLIAM ESTES, JR.                         CASE     NO.:    3119MM395A
           JON FOREST                                 CASE     NO.:    3119MM385A
           ROBERT FREELS                              CASE     NO.:    3119MM328A
           ROMAN GAMEZ                                CASE     NO.:    3119MM389A
           STEPHEN GEARY                              CASE     NO.:    3119MM337A
           VITO C. GIOIA                              CASE     NO.:    3119MM412A
           RICHARD GOLLILNGE                          CASE     NO.:    3119MM406A
           MICHAEL GRIGGS                             CASE     NO.:    3119MM420A


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           NEAL ALLEN HAGER                        CASE    NO.:   3119MM449A
       2   MARK D. HASSETT                         CASE    NO.:   3119MM333A
           DAVID F. HEALY                          CASE    NO.:   3119MM34 BA
       3   JOSEPH E. HENDRICKS, JR.                CASE    NO.:   3119MM405A
           RANDY HINES                             CASE    NO.:   3119MM5 60A
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           JOSEF JORG                              CASE    NO.:   3119MM345A
       5   HARRY RICHARD KAPLAN                    CASE    NO.:   3119MM343A
           HAROLD E. KEMP                          CASE    NO.:   3119MM342A
       6   LOUIS G. KIRBY                          CASE    NO.:   3119MM33 9A
           MARK LOUIS KIRK                         CASE    NO.:   3119MM438A
       7   JOHN DAVID KOSTYLA                      CASE    NO.:   3119MM336A
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       8   SHUN LEE                                CASE    NO.:   3119MM402A
           ALAN LHOTA                              CASE    NO.:   3119MM394A
       9   RONG LI                                 CASE    NO.:   3119MM398A
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     10    KENNETH M. MAKSYM                       CASE    NO.:   3119MM373A
           JAMES MARCIL                            CASE    NO.:   3119MM426A
     11    GERARD MAZZA                            CASE    NO.:   3119MM424A
           CLEMENT MCBRIDE                         CASE    NO.:   3119MM419A
     12    PETER MCBRIDE                           CASE    NO.:   3119MM415A
           CLARENCE MCCLAIN                        CASE    NO.:   3119MM409A
     13    JOHN MCCULLEY                           CASE    NO.:   3119MM451A
           TERRY ALFRED MERWIN                     CASE    NO.:   3119MM354A
     14    BARRY MILLS                             CASE    NO.:   3119MM428A
           JOSEPH RAY MOYER                        CASE    NO.:   3119MM484A
     15    BRIAN K. OLAISEN                        CASE    NO.:   3119MM411A
           ADAM READ PALMA                         CASE    NO.:   3119MM413A
     16    JONATHAN PESHKE                         CASE    NO.:   3119MM358A
           KENNETH PHILLIPS, JR.                   CASE    NO.:   3119MM407A
     17    NEIL POWERS                             CASE    NO.:   3119MM378A
           BRUCE PURPLE                            CASE    NO.:   3119MM490A
     18    ANTHONY RANDAZZO                        CASE    NO.:   3119MM433A
           GREGORY ALAN READER                     CASE    NO.:   3119MM376A
     19    BILL MICHAEL RIZKALLAH                  CASE    NO.:   3119MM562A
           PAUL A. RODLIFF                         CASE    NO.:   3119MM554A
     20    CONNER THOMAS RUF                       CASE    NO.:   3119MM55 6A
           SHAWN ROBERT RYAN                       CASE    NO.:   3119MM338A
     21    WILLIAM SAUNDERS                        CASE    NO.:   3119MM388A
           MICHAEL SEARS                           CASE    NO.:   3119MM441A
     22    MARK PATRICK SPERO                      CASE    NO.:   3119MM383A
           KEITH ALLAN TAIG                        CASE    NO.:   3119MM365A
     23    JOHN W. TAYLOR                          CASE    NO.:   3119MM447A
           SCOTT L. TAYLOR                         CASE    NO.:   3119MM35 9A
     24    LUIS R. VEGA                            CASE    NO.:   3119MM352A
           GEORGE TIMOTHY WARD                     CASE    NO.:   3119MM3 61A
     25    CHARLES WATERHOUSE                      CASE    NO.:   3119MM454A




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           KENNETH WESSELL                            CASE     NO.:    3119MM347A
       2   JAMES L. WEST                              CASE     NO.:    3119MM340A
           BRUCE JAMES WICKERS                        CASE     NO.:    3119MM335A
       3   DEANGILO LARAYE WILLIAMS                   CASE     NO.:    3119MM400A
           MARK YOUSSEF                               CASE     NO.:    3119MM363A
       4
              Defendants.
       5                                                                                  I
                                                                                      I



       6

       7                    TRANSCRIPT OF HEARING PROCEEDINGS

       8                                MOTION TO SUPPRESS

       9                       THIS CAUSE came on for hearing before

      10         the Honorable Nicole P. Menz, Judge of the

      11         above court at the Indian River County

      12         Courthouse, Vero Beach, Florida, on the 23rd

      13         day of April, 2019.

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       1   THE APPEARANCES were as follows:
       2   FOR PLAINTIFF:         Office of the State Attorney
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       3                          Vero Beach, Florida 32960
                                  BY:  Steven R. Wilson, Esquire
       4                               Levering Evans, Esquire
                                       Ryan L. Butler, Esquire
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       8   FOR DEFENDANT:         The Law Offices Of David Golden, P.A.
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                                  BY: David Golden, Esquire
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      12                          BY: Bobby D. Guttridge, Esquire
      13   FOR DEFENDANT:         Thomas A. Kennedy, P.A.
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      14                          Vero Beach, Florida 32960
                                  BY:  Thomas A. Kennedy, Esquire
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           FOR DEFENDANT:         The Kessler Law Firm
      16                          101 North US Highway 1, Suite 200
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      17                          BY: Michael J. Kessler, Esquire
      18   FOR DEFENDANT:         Kibbey Wagner
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      19                          Stuart, Florida 34994
                                  BY: Richard Kibbey, Esquire
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           FOR DEFENDANT:         Margaret Keys McCain, P.A.
      21                          1605 19th Place
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      22                          BY: Margaret K. McCain, Esquire
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                                  1901 25th Street
      24                          Vero Beach, Florida 32960
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       1
       2   FOR DEFENDANT:         Green & Metcalf, P.A.
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       6                          BY: Edward J. Mosher, Esquire
       7   FOR DEFENDANT:         Ohle & Ohle
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       8                          Fort Pierce, Florida 34950
                                  BY: Michael R. Ohle, Esquire
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      11                          BY:     John H. Power, Esquire
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      13                          Vero Beach, Florida 32960
                                  BY: Daniel Sercombe, Esquire
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                                  Vero Beach, Florida 32960
      16                          BY: Robert E. Stone, Esquire
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                                  BY: Kenneth N. Weaver, Esquire
      19
           FOR DEFENDANT:         Steve Ziskinder Law Office, P.A.
      20                          311 S 2nd Street, Suite 102B
                                  Fort Pierce, Florida 34950
      21                          BY: Steve Ziskinder, Esquire
      22
      23
      24
      25


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       1          (Thereupon, the above-entitled hearing was held on

       2   April 23, 2019 at 8:30 a.m.)

       3               THE COURT:         Good morning.           For purposes of

       4   organization what I need to do is I need to go through each

       5   of the lawyers.        I am going to have you all state your

       6   clients.    And if you have case numbers for purposes of the

       7    record, it would be very helpful to the clerk.                         Mr. Metcalf,

       8   we will accommodate you, sir.

       9               MR. METCALF:          Thank you.

      10               THE COURT:         So I have a list, but I think there

      11   have been several add-ons since 5:00 yesterday.                          So we will

      12   have to update everybody's list.                   First of all, let's start

      13   with Mr. Golden.

      14               MR. GOLDEN:          Good morning.          Mark Kirk is 2019-438.

      15               THE COURT:         Mark Kirk?

      16               MR. GOLDEN:          Yes, ma'am, K-I-R-K.              There is Carl

      17   Guidice, 2019-334.          Walter Dixon is 2019-445.                 Jeff Chandler

      18   is 2019-480.

      19               THE COURT:         Mr. Golden,         I did review the motion

      20   to suppress that you filed in each of those cases.                              It

      21   appears to mirror that of Mr. Metcalf's.

      22               MR. GOLDEN:          Yes, ma'am.

      23               THE COURT:         Was there anything additional specific

      24   to your client that was not included in Mr. Metcalf's?                                I

      25   did not see anything, but for purposes of how we are going


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       1   to proceed today I wanted to know.

       2                  MR. GOLDEN:          I appreciate you asking.                No, ma'am.

       3                  THE COURT:         Thank you, sir.            Mr. Guttridge?

       4                  MR. GUTTRIDGE:           Yes, ma'am.          Mahammed Alharbi,

       5   Case No. 2019MM404.             Aljadaani which is 2019MM572.                      Donald

       6   Brown, 2019MM355.            William Estes, Jr. and there is a William

       7   Estes.      William Estes, Jr. is Case No. 2019MM395.                          Michael

       8   Hinshaw is -- we are not doing the sheriff's cases, just the

       9   Vero Beach cases?

      10                  THE COURT:         Right.

      11                  MR. GUTTRIDGE:           Barry Mills, 2019MM428.                John

      12   Taylor 2019MM447.            William DeAngilo, 2019MM400.                   That is it.

      13                  THE COURT:         Mr. Guttridge, did you just file the

      14   motion to adopt Mr. Metcalf's with just that brief factual

      15   summary?       You didn't file a separate motion to suppress?

      16                  MR. GUTTRIDGE:           We filed a motion adopting his

      17   motion in its entirety without additions or deletions.                                   The

      18   motion includes his motion in our motion.                          We don't have any

      19   other issues, your Honor, other than the issues that were

      20    raised.

      21                  THE COURT:         Thank you.         Mr. Kennedy?

      22                  MR. KENNEDY:          Just one, Josef Jorj 2019MM345.

      23                  THE COURT:         Mr. Kennedy, you also just filed a

      24   motion adopting Mr. Metcalf's.                     Correct?

      25                  MR. KENNEDY:          Correct.


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       1                THE COURT:        Mr. Kessler?

       2                MR. KESSLER:         Good morning, Judge.               Judge, I have

       3   Mark Hassett, H-A-S-S-E-T-T, 2019MM333.                      I join Mr.

       4   Metcalf's motion.

       5                THE COURT:        Mrs. McCain?

       6                MRS. MCCAIN:         Yes, your Honor.             I am representing

       7   David Kostyla, he is No. 312019MM00336.                      Judge, I did file

       8   an earlier motion.          I have not had the opportunity to adopt

       9   Mr. Metcalf's recent motion.               So I would make an ore tenus

      10   motion to adopt his motion in its entirety.

      11                THE COURT:        Mr. Kirschner?            He is not here.            Mr.

      12   Metcalf, we will save you for the end.                     Mr. Mosher?

      13                MR. MOSHER:         Good morning, your Honor.                 I am

      14   present on behalf of Isaiah Drisdom, 2019MM330.                          Present on

      15   behalf of Stephen Geary, 2019MM337.                    Present on behalf of

      16    James Marcil, 2019MM426.            And Joseph Moyer, 2019-484.                    And I

      17   adopted Mr. Metcalf's motion in its entirety.

      18                THE COURT:        You also filed a separate motion to

      19   suppress in the each of those, but it references the

      20   sheriff's office in every single one of these.                          The motion

      21   that you filed in each of those of four you just --

      22                MR. MOSHER:         It must have been an error.                    I

      23   apologize.      They are all Vero Beach cases.

      24                THE COURT:        So the motion that you specifically

      25   filed I should ignore?


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       1                 MR. MOSHER:            Yes.

       2                 THE COURT:         And you will adopt Mr. Metcalf's?

       3                 MR. MOSHER:            Yes.

       4                 THE COURT:         Mr. Ohle?

       5                 MR. OHLE:        Good morning, your Honor.                  William

       6   Estes, 2019MM399.           Kevin Lapham, 2019MM384.                 And last I have

       7    Peter McBride which is 2019MM415.                    And I adopt Mr. Metcalf's

       8   motion.

       9                 THE COURT:         Thank you.         Mr. Power?

      10                 MR. POWER:         I    don't have the case number.s with me,

      11    Judge, but I can give you names.                   Bill Rizkallah, Ken

      12    Phillips, Bruce Purple, Neil Powers, and James Lundeen.                                  I

      13   have adopted the motion.

      14                 THE COURT:         Mr. Sercombe?

      15                 MR. SERCOMBE:            Yes, your Honor.           Congratulations.

      16                 THE COURT:         Thank you.

      17                 MR. SERCOMBE:            Your Honor, I have Mr. Anglesano,

      18    2019MM000366.        I have adopted Mr. Metcalf's motion.

      19   However, one thing that is different I think with my case is

      20   there is audio of my client.                 And I would also additionally

      21   ask you to suppress that.

      22                 THE COURT:         Did you file a separate motion?

      23                 MR. SERCOMBE:            I didn't, your Honor.

      24                 THE COURT:         You did not?

      25                 MR. SERCOMBE:            No.    I only joined at the late


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       1   hour.

       2                 THE COURT:         Do you also have Louis Kirby?

       3                 MR. SERCOMBE:           Yes, your Honor.            2019MM000339,

       4   your Honor.

       5                 THE COURT:         Mr. Stone?

       6                 MR. STONE:         Good morning, your Honor.                 I have the

       7   first page Mr. Richard Gollinge in the case of 2019-406.

       8   Harry Kaplan, 2019-343.               Harold Kemp, 2019-342.               That may be

       9   the sheriff's department.

      10                 THE COURT:         I have a Jovany Aguilera.

      11                 MR. STONE:         I think that is a sheriff's department

      12   case.     I did have one other, Judge.                   Harold Kemp, Harry

      13   Kaplan, Mr. Gollinge.

      14                 THE COURT:         Jovany Aguilera is Vero Beach.                     So

      15   that might be the one you are thinking of.

      16                 MR. STONE:         Okay, Jovany Aguilera.                I thought that

      17   was the sheriff's department.                     I do have one sheriff's

      18   department case.           I think that is it.

      19                 THE COURT:         Okay, thank you.             Kenneth Weaver, Mr.

      20   Weaver?      Mr. Ziskinder?

      21                 MR. METCALF:          Judge, he is here.              I think he might

      22   be in front of Judge Vaughn.

      23                 THE COURT:         Mr. Kibbey, did you join?

      24                 MR. KIBBEY:          Yes, your Honor.            Mr. Metcalf and I

      25   are cocounsel on Mr. Youssef's case.


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       1               MR. STONE:         Your Honor, I forgot.               I join in Mr.

       2   Metcalf's motions.

       3               THE COURT:         Okay.      And Mr. Chrzan, do you have a

       4   motion pending?

       5               MR. CHRZAN:          Just observing, Judge.

       6               THE COURT:         Is there anyone

       7               MALE ATTORNEY:           Judge, I am also co-counsel in Mr.

       8   Youssef's case with Mr. Metcalf and Mr. Kibbey.

       9               THE COURT:         Mr. Metcalf, do you have your list of

      10   all of your clients in front of you?

      11               MR. METCALF:          I don't, Judge.

      12               THE COURT:         I do have a list.             I will rattle them

      13   all off.    Will you let me know if you think I have missed

      14   somebody?

      15               MR. METCALF:          Yes.

      16               THE COURT:         Gregory Arnone, ,Justin Bauer, Paul

      17   Browning, Castro Vanderlie, Claudio DeOliveria, Ottavio

      18   Didomenico, Jon Forest, Robert Freels, Roman Gomez, Vito

      19   Gioia, David Healy, Randy Hines, Alan Lhota, John McCulley,

      20   Anthony Randazzo, Paul Rodliff, Keith Taig, Hans Wede,

      21   Kenneth Wessel, Bruce Wickers and Mark Youssef?

      22               MR. METCALF:          That sounds correct, your Honor.

      23               THE COURT:         Did I miss anybody?

      24               MR. GOLDEN:          There is one other gentleman set on

      25   your document, Shun Lee, L-E-E.                  I have a Case No. that was


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       1   a Vero Beach PD case that could certainly apply to the

       2   motion, but it hasn't been filed because it was set before

       3   you down the road.          It wasn't one of the cases originally.

       4               THE COURT:         So it is a solicitation case, and it

       5   is a Vero Beach Police Department?

       6               MR. GOLDEN:          Yes, ma'am.

       7               THE COURT:         Do you want ore tenus to adopt Mr.

       8   Metcalf's motion for purposes of today to resolve it today?

       9               MR. GOLDEN:          Yes, ma'am, I would, please.                    It is

      10    2019MM402 is the case number.

      11               THE COURT:         State, did you all get that?                     We are

      12   going to add one on?

      13               MR. GOLDEN:          Thank you.

      14               THE COURT:         You are welcome.            Mr. Metcalf, this is

      15   your motion.       I am imagining you are going to do the bulk of

      16   the heavy lifting today.

      17               MR. METCALF:          Judge, if I may, I provided the

      18   State a Xerox of this.            It is a notebook that might help you

      19   sort through all of this.              Your Honor, first,            I would invoke

      20   the rule of sequestration of the witnesses.

      21               THE COURT:         If you have been subpoenaed as a

      22   witness in this case, the rule of sequestration has been

      23   invoked.    That means you do have to wait out in the hall

      24   until you are called to testify.                  You may not discuss your

      25   testimony with anyone other than the lawyers.                         So make sure


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       1   that you do not discuss your testimony while you are

       2   waiting.       So if you have been subpoenaed as a witness to

       3   testify at any point today, I would ask that you step out

       4   into the hallway, please.

       5                 MR. METCALF:          Judge, with your permission, do you

       6   mind if I sit during this?

       7                 THE COURT:         That is fine.

       8                 MR. METCALF:          I cant' really see.              Judge, I would

       9   first like before we get too far into it, I would like

      10    recognition that we have standing, that each defendant is an

      11   aggrieved person with a right of privacy, a specific right

      12   of privacy that has been invaded in this case by government

      13   intrusion.        I assume the State has no objection to the

      14   standing?

      15                 MR. BUTLER:         No, we do.          Standing has to be

      16   proven.      Defense has the burden here.                   State v. Setzler, 667

      17   So. 2d 343.        It is a First DCA case from 1995 explains that

      18   in the context of exception, the burden of standing is on

      19   the defense.         And they have to either show that they were,

      20   in fact, recorded or at least were the owners of the

      21   premises where the recording took place.

      22                  So I know that some of the defendants in these

      23   cases are claiming it is not them, it was mistaken identity.

      24    I don't know which ones are claiming that and which ones

      25   aren't, but we are not going to waive standing at this


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       1   point.

       2                MR. METCALF:          Judge, I am happy to call at least

       3   one client today just in case the State did that.                            But I

       4   would point out if the State, it seems as though they are

       5   adopting 934 as analogous authority to do what they did

       6   here.     Is that what I just heard, Mr. Butler?

       7                MR. BUTLER:         No.

       8                MR. METCALF:          He referenced the wiretap.                    That is

       9   all.     But, Judge, under 934, if that is the analogous

      10   authority, then 934 specifically calls for a motion to

      11   suppress by aggrieved persons.                   I can establish that my

      12   clients are aggrieved.

      13                The State has alleged that each of them are in the

      14   video, but I can call a witness or I can call all

      15   twenty-four of my clients and have the Court at a later date

      16   have you reserve on the issue of standing, but I can call

      17   one just to go forward with today.

      18                THE COURT:         Yes, sir.

      19                MR. METCALF:          I call Keith Taig.

      20                BAILIFF:        Up here, sir.

      21                THE COURT:         Raise your right hand.                Do you swear

      22   or affirm that the testimony you are about to give is the

      23   truth, the whole truth and nothing but the truth?

      24   AND THEREUPON,

      25                                      KEITH TAIG,


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       1         Called as a witness on behalf of the Defendants

       2         herein, after having been first duly sworn, was

       3         examined and testified as follows:

       4                                   DIRECT EXAMINATION

       5                 THE WITNESS:          Yes, ma'am.

       6                 THE COURT:         Thank you, sir.            Have a seat.

       7   BY MR. METCALF':

       8         Q       Sir, can you state your name.

       9         A       Keith tag.

      10         Q       Where do you live, Mr. Taig?

      11         A        6886 61st Street in Vero Beach, Florida.

      12         Q       You have lived here in Vero for many years?

      13         A       Twenty-five years.

      14         Q       Did it come to pass that you visited a facility in

      15   Vero Beach, in the City of Vero Beach called East Spa during

      16   the month of either November or December of 2018?

      17         A       Yes, sir.

      18         Q       You have been charged in this case with

      19   solicitation of prostitution; is that true?

      20         A       Yes, sir.

      21         Q       Have you had the chance to review a video

      22   purporting to be you receiving a massage and sexual conduct

      23   is portrayed on that video?

      24         A       Have I seen it?

      25         Q       Are you aware that the video exists?


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       1          A       Yes, sir.

       2          Q       Do you dispute in any way that you visited East

       3   Spa, and that you were engaged in a consensual sexual act in

       4   East Spa?

       5          A        I went there.          Yes.

       6          Q       Did you have sex on a video?

       7          A       Did I have sex?            What is the definition of sex?

       8          Q        Intercourse or masturbation or in any way touched

       9   by in a sexual manner by a spa employee?

      10          A       Yes.

      11          Q       You don't deny your identity of that being you on

      12   that video.          Correct?

      13          A       No.

      14          Q       Was that a closed -- was it in a business, East

      15   Spa?       Is that a business?

      16          A       Yeah.      It was in a licensed owned therapeutic

      17   massage building.

      18          Q       Was the door closed when you were in the room?

      19          A       Yes.

      20          Q       Were there windows in that room?

      21          A       No, sir.

      22          Q       Was there anyone present other than you and the

      23   employee of East Spa?

      24          A       No.

      25          Q       Did you anticipate that you would be recorded in


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       1   any way when you went into that facility?

       2         A       No, sir.

       3         Q       When you went into that facility, did you expect

       4   to become unclothed as part of your massage?

       5         A       Yes, sir.

       6                 MR. METCALF:          Your Honor, I have nothing further.

       7                 THE COURT:         State?

       8                 MR. BUTLER:          Judge, we would agree that would

       9   establish standing.

      10                 THE COURT:         Okay.      Thank you, sir.

      11                 MR. METCALF:          Your Honor, I would certainly like

      12   to proceed and ask the Court to reserve ruling as the

      13   standing on each and every other defendant that has joined

      14   into the motion today, if that is going to be the State's

      15   stance.

      16                 THE COURT:         State?

      17                 MR. BUTLER:          Judge, I don't have any objection if

      18   he is not prepared today to establish standing.                            I think

      19   there are other defendants here, though.                         So if they are

      20   here, I think we should go ahead and establish standing for

      21   those who are present.

      22                 MR. METCALF:          I will do that on another day.                      I

      23   have got twenty-four other people to deal with.                            I don't

      24   think that is necessary today.

      25                 THE COURT:         We will reserve on that issue.                     I will


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       1   do that on behalf of all of the defendants who have adopted

       2   or have filed their own motion to suppress unless there is

       3   other lawyers here that have their clients here and would

       4   like to take care of that this morning.                      Mr. Guttridge?

       5                MR. GUTTRIDGE:           I don't, Judge, but are you going

       6   to set a date or a procedure or we can do it by affidavit,

       7   if the State is agreeable to that?

       8                THE COURT:        Yes.     I thought I saw Mr. Ziskinder

       9   walk in.     Mr. Ziskinder, for the record, will you tell me

      10   the clients that you have, sir, and if you happen to have

      11   their case numbers for the purposes of the motion?

      12                MR. ZISKINDER:           Yes, your Honor.            One is Frank

      13   DeLisi, Das in David, E-L-I-S-I.                    The Case No. is

      14   397MM2019.

      15                THE COURT:        Okay.

      16                MR. ZISKINDER:           The other one is Manuel Esquivel.

      17   That is Case 2019-422-MM.

      18                THE COURT:        Did you adopt Mr. Metcalf's or did you

      19   file your own separate motion?

      20                MR. ZISKINDER:           I filed a pleading adopting the

      21   multi motions.

      22                THE COURT:        Okay, great.

      23                MR. ZISKINDER:           And I was up in Judge Vaughn's

      24   courtroom, your Honor.

      25                THE COURT:        No problem.          Thank you, sir.             Mr.


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       1   McDonough, did you have a case this morning?

       2                 MR. MCDONOUGH:           Yes.       I join with the motion.

       3                 THE COURT:         Who is your client, sir?

       4                 MR. MCDONOUGH:           Mr. Crain, C as in Charlie,

       5   C-R-A-I-N.

       6                 THE COURT:         And the first name?

       7                 MR. MCDONOUGH:           John Crain.

       8                 THE COURT:         Do you happen to have that case

       9   number?

      10                 MR. MCDONOUGH:           Yes, ma'am, if I can get my

      11   glasses.

      12                 THE COURT:         Sure.

      13                 MR. MCDONOUGH:           I actually do not have the file

      14   with me, Judge.          I am sorry.

      15                 THE COURT:         Okay.      We will look it up, but you

      16   filed a motion adopting Mr. Metcalf's?

      17                 MR. MCDONOUGH:           Yes, I joined in.

      18                 THE COURT:         Very good, thank you.               Go ahead, Mr.

      19   Metcalf.

      20                 MR. METCALF:          Judge, just a way of brief opening,

      21   this is kind of new frontier in that the government has gone

      22   farther than I have ever seen it go in a misdemeanor case,

      23   which all of our clients are charged with misdemeanors.

      24                  I look for precedent in the State of Florida and

      25   was surprised that there was none.                     On the other hand I am


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       1   not surprised at all, Judge, because this just shocks the

       2   conscience, in my view.             There is no more invasive

       3   technique, investigatory technique that could ever be

       4   employed than to go into a business where people have a

       5   heightened right of privacy and surreptitiously install

       6   cameras with a delayed notification on the warrant.                             We call

       7   them sneak-and-peek warrants.

       8               Florida is not right with a lot of precedent on

       9   that.    There is Federal precedent.                  The Court I am sure is

      10   going to be aware in Indian River County cases, I assume

      11   that this office, the State Attorney's Office were involved

      12   with both because they are in their jurisdiction.                           They

      13   actually cite Mesa-Ricon as the gold standard for the

      14   issuance of these warrants which tracks Title 3

      15   authorization.

      16               Chapter 934 adopted Title 3 almost word for word,

      17   your Honor.      So I assume that the authority they were going

      18   to rely on today is Chapter 934, Mr. Butler did not yield

      19   that.    So now I am at a loss to what authority they are

      20   possibly looking at.           If they are not looking at 934, it

      21   would appear that they are just making up the capability to

      22   tape people.

      23                Judge, before we get into whether the warrants --

      24   you know, we don't deal with warrants in misdemeanor court

      25   that often because they are misdemeanors.                       But before we


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       1   look at warrant reviews in general and what our burden is

       2   and we look at Franks and Leon and Johnson and Jackson,

       3   before we look any of that, we have to see what is their

       4   authority to do what they did and what is the authority of

       5   the Court to issue that kind of a warrant.

       6                 You can establish probable cause that a crime is

       7   being committed and establish probable cause that you should

       8   get a search warrant, but that doesn't mean you can order as

       9   a Judge waterboarding to establish as part of the search.

      10   You can't order something that is illegal.

      11                 So in this case, without governing authority, if

      12   they were not adopting 934, if they are not adopting Title

      13   3, what is their authorization to do what they did?                             So I

      14   find no Florida authority to allow surreptitious video

      15    recording.

      16                 The other issue, your Honor, that we need to deal

      17   with before we get into hours of testimony and a hearing is

      18   who authorized this application.                   934, your Honor, deals

      19   with wiretap.       There are cases, and I have supplied in the

      20   memorandum, your Honor, that tell us this deserves a higher

      21   scrutiny.      That is what U.S. v. Mesa-Ricon stands for.                            This

      22   is more evasive than wiretap.

      23                 Men are going into a place that they don't expect

      24   a camera to be.        They are being recorded.                 And these people

      25    knew, law enforcement knew, your Honor, that they were going


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       1    to be nude.        They knew they were going to be nude.

       2                   So in Mesa-Ricon, this was a business.                        And the

       3    Court applied a medium standard of privacy.                          It was a

       4    business with blacked out windows, and they were

       5    investigating counterfeiting, but a man was caught at his

       6    desk masturbating.            And they gave that a medium level of

       7    privacy and established that other businesses could have a

       8    higher.

       9                  Your Honor, they know going into this that people,

      10    whether they are going in there for prostitution or regular

      11    massage are going to get naked in a massage parlor.                               I think

      12    we can all agree to that.                You are going to get nude by

      13    definition.        This is higher than Mesa-Ricon.                     Mesa-Ricon

      14    didn't even address anything higher than medium.

      15                   I know I am talking about cases that we haven't

      16    gone through yet, but, Judge, we need to establish in 934

      17    who authorized the warrant, the warrant application.                                And

      18    934 tells us that if it was not authorized by the State

      19    Attorney, not assistants, not them looking at it, not them

      20    saying this is okay, but the State Attorney, and it must

      21    have been done in writing, then it is gone.                          We don't go

      22    another step further if that is the authority.

      23                   So this Court adopts 934 as analogous authority,

      24    if they can't establish that Bruce Colton himself authorized

      25    this warrant in writing pursuant to State v. Birs, pursuant


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       1    to Copeland v. State, and I will give you the cites, Judge.

       2    435 So. 2d 842 is Copeland.                 For the record, 394 So. 2d 1054

       3    is State v. Birs.            If they don't establish that it was in

       4    writing by Bruce Colton, we don't go any further.                             It is

       5    over.

       6                  Your Honor, we next look at 933.08 and how it was

       7    executed.       The affiant in this case is Sean Crowley.                           Your

       8    Honor, 933.08 and the Vargas case and the Morris case, and I

       9    will give the Court a cite on that.                      Morris is 622 So. 2d

      10    67.     Vargas is 667 So. 2d 175 which is a Supreme Court case

      11    in the State of Florida.

      12                   If Officer Crowley was not present in supervising

      13    the installation of the cameras, under 933.08, those cases,

      14    we are done.         It is over.

      15                  Next, your Honor, we must look at the order

      16    itself.      Without disparaging Judge Cox at all, Courts are

      17    not to be rubber stamped or quasi law enforcement officers

      18    in issuance of warrants.               They are to look at applications

      19    and they are to provide learned educated orders either

      20    granting or not granting the authority to do what they are

      21    asking to do.

      22                   Judge Cox issued an order that requires, that

      23    allowed monitoring only.               There was no authorization to

      24    record any of these men.               Specifically, she issued a ten-day

      25    return, your Honor, where they were to come back, report


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       1    their doings to Judge Cox.               I would suppose at that point

       2    Judge Cox could determine if recording was say going to be

       3    authorized.       But they in their application, being Sean

       4    Crowley, designates a difference between monitor and record.

       5    They differentiate the two.

       6                 There are some cases out there, your Honor, that

       7    deal with the fact that if you are allowed to monitor, then

       8    you could record, but those are not in situations where

       9    there is a right of privacy.                That is an officer wearing a

      10    wire where he has been invited into a home.                         We have

      11    Article 1, section 23 establishing citizens of Florida the

      12    right of privacy.           In that situation, Judge Cox found it

      13    apropos to only give them monitoring.                      She did not allow the

      14    recording.

      15                  So I think the motion wins on those three issues

      16    right now, your Honor, but we are prepared to go forward and

      17    address Franks.         We are prepared to address Leon.                     We are

      18    prepared to address whatever authority, I am guessing 934,

      19    but they seem not, but we are prepared to go forward on that

      20    issue.

      21                 THE COURT:         State, what is your response to Mr.

      22    Metcalf's assertion that under 934 it must have been

      23    authorized by the State Attorney?

      24                 MR. BUTLER:          Chapter 934 governs the wiretaps.

      25    This is not a wiretap.


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       1                MR. METCALF:          Judge, then I would ask what their

       2    authority to proceed with this warrant is?

       3                THE COURT:         State?

       4                MR. BUTLER:          The Fourth Amendment.

       5                THE COURT:         What about with regard to Statute

       6    933.08 the fact that Crowley must have been present during

       7    the installation?

       8                MR. BUTLER:          I thought we were going to hear some

       9    testimony on that, Judge.

      10                THE COURT:         You are prepared to present that?

      11                MR. BUTLER:         Well, it is their burden.

      12                THE COURT:         All right, Mr. Metcalf.

      13                MR. METCALF:          Your Honor, I would call Officer

      14    Crowley.

      15                 Judge, I guess if they are not going under 934,

      16    just to say the Fourth Amendment, I don't know that that

      17    gets us anywhere because there is clearly analogous cases in

      18    the Federal Court system that deal with video recording.

      19    And if the Fourth Amendment, Article 1, section 12 adopts

      20    the Fourth Amendment.           And the decisions of the United

      21    States Supreme Court and the relative case law.

      22                 So Article 1, section 12 it is written in that, if

      23    I am not mistaken, in that article that we are to look to

      24    the Supreme Court and we are to look at Federal authority

      25    when it comes to that and to the Fourth Amendment.                              It has


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       1    been interpreted in Federal Court, Judge.                       This has been

       2    dealt with.

       3                 So if they are looking in the Fourth Amendment and

       4    Federal authority, we look at Mesa-Rican.                       And Mesa-Rican

       5    adopts Title 3 or Title 18 rather, Chapter 119, section 2510

       6    through 2522.       It adopts them.             Florida has adopted those

       7    under 934.      So there exists no possible other authority.

       8    You can't say Fourth Amendment.                  That is not going to fly

       9    when you have Article 1, section 12.

      10                 So I believe, your Honor, it could potentially

      11    save a lot of time, but I think the Court, I would ask the

      12    Court with all due respect to make a ruling on that issue.

      13                 THE COURT:        I imagine that they are going to rely

      14    on Mesa because they cite that in their applications for the

      15    warrant.     So I am imagining that that is going to be the

      16    foundation of their argument.

      17                 MR. METCALF:         It does not.

      18                 THE COURT:        Correct me if I am wrong, but I am

      19    anticipating that is what it is you are going to argue.                                 And

      20    I would imagine they are going to make that same argument

      21    with regard to the Vero Beach Police Department as we

      22    proceed.     I think that is what they are going to be hanging

      23    their hat on.

      24                 MR. METCALF:         If they hang their hat on that, then

      25    Title 3, Chapter 18, section 2516, 934 mimics it.                           But if


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       1    they are relying on that, I guess it doesn't require our

       2    State Attorney because they could have envisioned that.                                   We

       3    have a statute that adopts that.                     So in wiretap cases it

       4    requires the State Attorney.                  If they are saying that, then

       5    they are just relying on Mesa-Rican and not State authority.

       6                  THE COURT:         I would anticipate that is probably

       7    going to be the argument or at least one of the arguments

       8    from the State.

       9                  MR. METCALF:          Your Honor, I call Officer Crowley.

      10                  THE COURT:         Raise your right hand.                Do you swear

      11    or affirm that the testimony you are about to give is the

      12    truth, the whole truth and nothing but the truth?

      13    AND THEREUPON,

      14                                OFFICER SEAN CROWLEY,

      15          Called as a witness on behalf of the Defendants

      16          herein, after having been first duly sworn, was

      17          examined and testified as follows:

      18                                    DIRECT EXAMINATION

      19                  THE WITNESS:          Yes, I do.

      20    BY MR. METCALF:

      21          Q       Sir, can you state your name.

      22          A        Sean Crowley.

      23          Q       Officer Crowley or is it officer or detective?

      24          A       Detective.

      25          Q       How long have you been a detective?


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       1          A       Since February of 2018.

       2          Q       Since February of 2018?

       3          A       Yes, sir.

       4          Q       You were the lead detective in this case?

       5          A       Co-case agent.

       6          Q       Who was the other case agent?

       7          A       Detective Gasbarrini.

       8          Q       How did this investigation begin?

       9          A       The Vero Beach Police Department received a few

      10    citizen complaints in reference to a massage parlor in town,

      11    East Spa.

      12          Q       Who were those complaints made by?

      13          A       They were anonymous complaints.                     They wanted to

      14    remain anonymous.

      15          Q       Did they make them directly to you?                       How did you

      16    become aware of it?

      17          A       One was made directly to our chief of police who

      18    alerted myself and, well, actually both of them were to the

      19    chief of police.           And he alerted myself and Detective

      20    Gasbarrini.

      21          Q       And that spawned all of this?

      22          A       Yes, sir.

      23          Q        So you had no knowledge at all of what was going

      24    on in the sheriff's office or down in Jupiter and Palm Beach

      25    or in Martin County?


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       1            A       No.

       2            Q        It wasn't all one big thing?

       3            A       Not initially, no.

       4            Q        So it just all happened coincidentally at the same

       5    time?

       6            A       Yes, sir.

       7            Q       At some point, and we will get to it later, you

       8    made an application for a search warrant; is that correct?

       9            A       v~es,    '
                                    sir.

      10            Q       You are the affiant in that case?

      11            A       Yes, sir.

      12            Q       Who authorized that application?

      13            A       As far as what Judge signed it?

      14            Q       Well, no.         Did you work with the State Attorney?

      15            A       Yes, ASA Butler.

      16            Q       Did you ever have any dealings with Mr. Colton

      17    himself?

      18            A       No, sir.

      19            Q       What is your, if you have any, what is your

      20    specific experience with regards to prostitution?

      21            A       Nothing beyond my years as a detective in the

      22    special investigations unit that deals with vice crimes in

      23    the city.         And then I have had basically in-service training

      24    throughout my nine-year career that related to prostitution

      25    here and there and made prostitution arrests on patrol.


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       1          Q        So you have never investigated, I mean, had you

       2    ever made a prostitution arrest?

       3          A       Um, no, I don't believe I made an arrest for

       4    prostitution.         No.

       5          Q       You at this point had been a detective for a

       6    couple of months, a few months?

       7          A        Seven or eight months.

       8          Q       Had you had any investigations with regards to

       9    human trafficking or money laundering?

      10          A       Not as lead to anything.                  I have assisted in

      11    cases.

      12          Q       As a detective?

      13          A       No, sir.

      14          Q       When the warrant was -- I am going to jump ahead,

      15    and I will come back.             When the warrant was finally issued

      16    in this case and executed and the cameras were being

      17    installed, that happened.                Right?

      18          A       Yes.

      19          Q       Were you present?

      20          A       Yes.

      21          Q       And you supervised the installation of the

      22    cameras?

      23          A        I was present on scene.

      24          Q       What does that mean?

      25          A        I didn't put the cameras in the building myself,


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       1    but I was on scene assisting.

       2            Q       Where were you?

       3            A       Throughout the process, I was I either in the

       4    adjoining business.               I was in the actual business itself

       5    briefly and then also out in front of the business.

       6            Q       When you said briefly, you were actually in the

       7    room when they were installing them, but, otherwise, you

       8    were in the building next door?

       9            A       As it was being set up,                I was in the building next

      10    door.

      11            Q       Out in the front?

      12            A       Yes, sir.

      13            Q       Who assisted             you said it was you and Gasbarrini

      14    that started it after you received this complaint from Chief

      15    Curry?

      16            A       Yes, sir.

      17            Q       What is the first thing you did after you received

      18    the complaint?

      19            A        Initially, we conducted surveillance at the

      20    location just kind of checking out, observing what goes on

      21    there.

      22            Q       Was there already a special investigative unit set

      23    up or was it just at this point you and Gasbarrini?

      24            A       That is our special investigations unit at Vero

      25    Beach Police Department.


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       1          Q       Had you ever drafted, been a part of a warrant

       2    application process before?

       3          A       Search warrants, not installation orders.

       4          Q       The order that was executed in this case, was that

       5    a proposed order that you provided to the Judge or is that

       6    something the Judge drafted herself?

       7          A        I drafted it.

       8          Q       You drafted it?

       9          A       v~es,    '
                                  sir, it was proposed.

      10          Q       Was there any questions from Judge Cox after you

      11    gave it to her or she just signed it?

      12          A        She read it.         I can't recall any specific

      13    questions.

      14          Q       Were there any amendments that you to needed to

      15    make or any clarifications?

      16          A       No, sir.

      17                  MR. METCALF:          Your Honor, if I can approach?

      18                  THE COURT:         Yes.

      19    BY MR. METCALF:

      20          Q        I am going to show you what has been marked as

      21    Defense Exhibits 1, 2, 3 and 4, and ask you if you know what

      22    those are?

      23          A       Those are the applications and orders for the

      24    installation.

      25          Q       You are familiar with these documents?


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       1           A       Yes, sir.

       2           Q       Those are true and accurate copies of those

       3    documents?

       4           A       Yes, sir.

       5           Q       The order in this case that was executed, it

       6    called for a ten-day inventory, did it not?

       7           A       Yes, sir, I believe it did.

       8           Q       Did you provide an inventory?

       9           A       No.     We didn't remove anything from the business

      10    so there was no inventory.

      11           Q       Did it require a ten-day report back to report

      12    your doings?

      13           A        I believe it did, but like I said, we didn't have

      14    anything to return to the Court.

      15           Q        I am not asking anything to return.                      You had

      16    something to report, though.                  You took some action, did you

      17    not?

      18           A       Yes.

      19           Q       Did you ever report back to Judge Cox?

      20           A       No.

      21           Q       Within that order, was there any instruction about

      22    termination once your investigatory goals were obtained or

      23    was there just a thirty-day cap?

      24           A       Thirty days on how long we could actually do the

      25    monitoring of the video.


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       1                    MR. METCALF:          Your Honor, I would render these

       2    into evidence.            I think they are in your packet.                     The State

       3    has the same copy.

       4                    THE COURT:         Any objection from the State?

       5                    MR. BUTLER:         No objection.

       6                    THE COURT:         It will be admitted as 1, 2, 3 and 4

       7    without objection.

       8                    THE CLERK:         We need to verify the first one.

       9                    MR. METCALF:          1, 2, 3 and 4.            Do you need them

      10    back?

      11                    THE CLERK:         Yes.

      12                    MR. METCALF:          The affidavits are 1 and 3.                    The

      13    orders are 2 and 4.               Judge, for the record, Exhibit 1 is the

      14    11/27 application.              Exhibit 2 is the 11/27 order.                   Exhibit 3

      15    is the extension application which is December 28.                                  And

      16    Exhibit 4 is the order.

      17            (Defendant's Exhibit Nos. 1, 2, 3 and 4 were admitted

      18    into evidence.)

      19    BY MR. METCALF:

      20            Q        So you started some surveillance, you and

      21    Gasbarrini?

      22            A       Yes, sir.

      23            Q       At some point, Department of Homeland Security

      24    became involved.             When was that?

      25            A        I am not sure the exact date.                   It was the


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       1    beginning of September.

       2          Q       Was it right out of the gate?

       3          A       Within the first couple of weeks of the

       4    investigation.

       5          Q       What kind of surveillance did you take?

       6          A        Initially, myself and Detective Gasbarrini just

       7    did it in a covert vehicle in the area of the exterior of

       8    the business.

       9          Q       Who was supervising you?                 Anybody in the

      10    investigation, you and Gasbarrini or were was anyone

      11          A       Our Detective Sergeant Huddy and Detective

      12    Lieutenant Pedersen.

      13          Q       At some point, moving along in your application

      14    under the facts that led up to all of this, you engaged a

      15    Department of Health Inspector?

      16          A       Yes, sir.

      17          Q       Tell us about that?

      18          A       Detective Gasbarrini is the one who actually spoke

      19    to the inspector, Carla Sutherland, and basically made her

      20    aware of the complaints that we received.                         She advised that

      21    she would do like an annual inspection of the business.

      22          Q       Did she do that?

      23          A       Yes, sir.

      24          Q       When did she do that?

      25          A       That was on September 10, 2018.


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       1            Q       What was the result of her insertion into the

       2    business and her inspection?

       3            A        She advised that she encountered two female

       4    massage therapists working in the business.                            They had

       5    up-to-date licenses and provided us with information on

       6    them.       And that was it.

       7            Q        So you sent her in there; is that correct?

       8            A       We advised her of the complaint that we had, and

       9    she advised that she could do that.                        We didn't tell her to

      10    go in there.

      11            Q        She had been doing this all throughout the circuit

      12    and down in Palm Beach as well.                      Correct?

      13            A        I can't speak on that.                I am not sure.

      14            Q       You had no idea about other investigations going

      15    on?

      16            A        I don't know if Carla Sutherland was involved in

      17    that.

      18            Q       But this was the MO that each agency used, insert

      19    an inspector

      20            A       At this point in the investigation I had no idea

      21    about any other agency's investigations.

      22            Q       You sent her in there under your direction.

      23    Correct?

      24            A       No.

      25            Q       No?


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       1           A       No.     We just advised her of the complaint.                          She

       2    advised that she would do an inspection.

       3           Q       Did she find anything out of the ordinary

       4    whatsoever?

       5           A        I believe she stated that there was like daybeds

       6    in there, but she didn't say that anything necessarily stuck

       7    out to be too off the wall.                   No.

       8           Q        In fact,     one of the questions is whether people

       9    are domiciling within the facility,                       is it not?

      10           A        I believe so.          Yes.

      11           Q       And she said no, didn't she?

      12           A        I don't recall.           I don't remember her necessarily

      13    saying that, but I also don't remember her telling me that

      14    people were.

      15           Q       Did she provide you with the inspection 369 with

      16    the Department of Health that goes in there and goes through

      17    a checklist?          Did she go through a checklist with you?

      18           A        She briefly explained to that us.                      Yes.

      19           Q       There were no violations?

      20           A       No.

      21           Q       One of the questions in the checklist is whether

      22    people are living in the place or domiciling in the place;

      23    is that right?

      24           A        I don't have it in front of me, but it could be.

      25    Yes.


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       1           Q       Do you know who Cynthia Pagano is?

       2           A        I believe she is Ms. Sutherland's partner.

       3           Q       Are you aware she did an inspection the very next

       4    day?

       5           A        She went in -- I don't believe that is accurate.

       6    She went in there with Ms. Sutherland.

       7           Q       Did she go in the same day?

       8           A       Yes, sir.

       9           Q       Ms. Pagano?

      10           A        I believe so.          Yes, sir.

      11           Q       And she did the inspection, and you were given a

      12    copy of that?

      13           A       Yes.

      14                   MR. METCALF:          Your Honor, if I could approach?

      15                   THE COURT:         Yes.

      16    BY MR. METCALF:

      17           Q       Let me show you what has been marked as Defense

      18    No. 5 and see if your recognize that.

      19           A       Yes, sir.

      20           Q       What is that?

      21           A       The health inspection.

      22           Q       What is the date on that, the date of the

      23    inspection?

      24           A        It says 9/11/18.

      25           Q       But the date that you said Ms. Sutherland went in


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       1    was September 10?

       2          A       Yes, I believe so.

       3          Q        So were there two inspections or just one?

       4          A       There was only one inspection.                     There was either

       5    an error on her part or an error on our part.

       6                  MR. METCALF:          Your Honor, I offer into evidence

       7    Defense Exhibit No. 5.

       8                  THE COURT:         Any objection?

       9                  MR. BUTLER:         No objection.

      10                  MR. METCALF:          It is in your packet.

      11                  THE COURT:         Exhibit 5 will be admitted without

      12    objection.

      13           (Defendant's Exhibit No. 5 was admitted into evidence.)

      14    BY MR. METCALF:

      15          Q        So at this point with the complaints you have sent

      16    in the Department of Health person, and there is no

      17    violations.        Has your suspicion been quelled?

      18          A       No, sir.

      19          Q       Why not?

      20          A       Like I said, we did surveillance of the spa.                              The

      21    clientele in and out of the spa was predominantly male.                                   I

      22    don't think we saw any females go in the spa within the time

      23    of physical surveillance.

      24          Q       How much time of physical surveillance had gone

      25    by?


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       1          A       We did surveillance every single day from the

       2    beginning of the complaint throughout the investigation.

       3          Q       As of September 11.                 Do you have a start date in

       4    the investigation?            We are talking about September 11.

       5          A        It was the fourth week of August is when we

       6    started.       I don't remember the exact date.

       7          Q       Maybe two weeks you had been investigating so far?

       8          A       Could be, yes, two weeks.

       9          Q        Is that the only suspicion you have now?

      10          A       No, sir.        I also conducted a search of the

      11    business' phone number online which immediately produced,

      12    just a Google search produced a number of advertisements for

      13    escorts and basically sexual favors for money.

      14          Q       How did you obtain the phone number?

      15          A        It is on the front door of the business.

      16          Q       You confirmed.           So that phone number matched the

      17    front door?

      18          A       Yes, sir.

      19          Q       The one that you Google searched?

      20          A       Yes, sir.

      21          Q       When you say advertisements and you write that in

      22    your application, are these paid for advertisements by that

      23    spa or do they just happen to be advertisements on websites

      24    that review people?

      25          A       They are a paid for advertisement.                        At that time,


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       1    I can't 100 percent say who paid for the advertisement, but

       2    generally it is the business advertising itself.

       3          Q       How do you know they are paid for advertisements

       4    and not up by a third party that reviews spas?

       5          A       Because throughout the investigation we observed,

       6    and there is certain specific review sites, but then there

       7    is also -- these aren't just review sites.                          These are actual

       8    ads that are placed online.

       9          Q       You did some financial work later on in the case?

      10          A       Yes, sir.

      11          Q       Did you ever uncover any payments to these sites?

      12          A       Yes,    I did.

      13          Q       The review site, but at the time you had the

      14    application, did you subpoena any of those records?

      15          A       Not initially, no.

      16          Q       You did that after you got the video?

      17          A        I don't know if the subpoenas were sent out prior

      18    to the video or they were in the middle of the

      19    investigation.

      20          Q       Did you send out any subpoenas in this case,

      21    period, before you put that video up?

      22          A        I did not personally.

      23          Q       Did anybody?

      24          A       Not that I recall.              I am not sure.

      25          Q        So you had no, in your mind there was no


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       1    confirmation that they had paid for anything at this point?

       2    You didn't issue one single subpoena prior to that video?

       3          A       No.

       4          Q       You talked about numerous citizen complaints.                               Did

       5    you review with Ms. Sutherland and now Ms. Pagano whether

       6    there had been any Department of Health complaints?

       7          A        I am sure we did.            I don't recall.

       8          Q       There is a public portal that is maintained by law

       9    that is accessible to you just like it is to me that does

      10    complaints of every massage parlor; is that right?                                Do you

      11    degree with me on that?

      12          A        I am not sure of that.

      13          Q       Floridahealthsource.gov?

      14          A        I am not sure.          I am not aware of that.

      15          Q        So the Department of Health didn't tell you we can

      16    put our fingers on whether or not there has been any

      17    complaints of this spa?

      18          A        I never had that conversation with anyone.

      19          Q       You didn't ask, did you?

      20          A       Not that I recall, no.

      21          Q        So you are not aware that there has never been a

      22    single complaint against East Spa through the Department of

      23    Health?      Not one?

      24          A       No,    I am not aware of that.

      25          Q       Did you go to SunBiz.org and look up the business


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       1    structure?

       2           A       Yes, sir.

       3           Q        So you knew who owned the spa?

       4           A       Yes.

       5           Q       Or who at least was designated to be -- does it

       6    say the owner on SunBiz.org?

       7           A        I believe it says president on the SunBiz.                           Yes,

       8    sir.

       9           Q       Who was that?

      10           A       Yongzhang Yan was the male's name.

      11           Q       Did it have anyone listed on SunBiz.org?

      12           A       No,    I don't believe so.

      13           Q       You mention in your application that there was an

      14    ad on Backpage?

      15           A       Yes, sir.

      16           Q       Backpage, are you aware that Backpage was shut dun

      17    to the public in April of 2018?

      18           A       Yes, sir.

      19           Q       How were you able to see that?

      20           A       When you Googled the phone number, as I did, there

      21    is still links to specific Backpage ads.                          I attached the

      22    specific Backpage ad that I located in the warrant.                                And it

      23    is on page 2 of the warrant,                 I believe.

      24           Q       This is one of those ads that you never confirmed

      25    through any kind of subpoena work that linked it back to the


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       1    business itself; is that correct?

       2          A       Correct.

       3          Q       The other people working within the spa, Ms. Zhang

       4    and Lanfen Ma or Lanyun Ma, how did you become aware of

       5    their identity?

       6          A       Of Ms. Zhang?

       7          Q       Yes.      Was that through the infiltration with the

       8    Department of Health?

       9          A       Ms. Sutherland provided us with her name.

      10          Q        So the business had a valid license.                       Correct?

      11          A       Yes, sir.

      12          Q       Those two women had valid licenses.                       Correct?

      13          A       Yes.

      14          Q       Did you review any NCIC records at this time with

      15    regards to Lanfen Ma and Ms. Zhang?                      I can't pronounce her

      16    first name.

      17          A        I believe we accessed their, um, we ran them to

      18    get their driver's license information.

      19          Q       Was there any criminal history record of either of

      20    these two women?

      21          A       No, I don't believe so.

      22          Q       No links to prostitution whatsoever?

      23          A       For Lan fen and Ms. Zhang?

      24          Q       Correct.

      25          A       No, I don't believe so.


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       1          Q        So did that quell your suspicions at this point?

       2    There is no complaints?               There is nothing in their past?

       3          A       No, sir.

       4          Q        Is it fair to say at this point all you have are

       5    advertisements that you didn't doublecheck at this point?

       6          A       No.     We had complaints from concerned citizens.

       7    We had our physical surveillance that we did.                           And then we

       8    always had the advertisements.

       9          Q       And the physicals surveillance is the men?                            It

      10    just seems to be a lots of men going there?

      11          A       Yes, sir.

      12          Q       At some point Homeland Security identified Lanyun

      13    Ma?

      14          A       Yes, sir.

      15          Q       How did that happen?

      16          A       After getting in contact with Special Agent

      17    McCreary with Homeland Security, she conducted a search of

      18    one of their applications that we don't have access to and

      19    advised that had Lanyun Ma was married to the owner

      20    Yongzhang Yan and provided us with information on her.

      21          Q       What kind of information?

      22          A       Gave us a photograph of her, advised us that she

      23    had a massage license.              And she previously ran spas in other

      24    states and was arrested in other states for different

      25    charges related to her running the spas.


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       1          Q       Any related to prostitution?

       2          A       Yes.      She was arrested for prostitution and human

       3    trafficking.

       4          Q       Were you provided the disposition of those cases?

       5          A       Yes, sir.

       6          Q       Was she convicted of them?

       7          A       Yes.      She was convicted of prostitution.

       8          Q        Is that just simple prostitution?

       9          A       Yes.      And that was noted in the warrant.

      10          Q        It was noted in the application?

      11          A       Yes, sir.

      12          Q       That she had a prostitution conviction?

      13          A       Yes, sir.

      14          Q       But you placed in there that she had a criminal

      15    history of human trafficking?

      16          A       Yes.      She was arrested for that.

      17          Q       But she was acquitted of that or that charge was

      18    dropped?

      19          A       Yes, sir.

      20          Q       Did you inform the Court of that?

      21          A       That wasn't specifically noted.

      22          Q       But you did note there was a criminal history

      23    leading the Court to believe she was involved with human

      24    trafficking?

      25          A        Just advised she was arrested for human


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       1    trafficking.

       2          Q        It doesn't say that, does it?                   What does it say in

       3    the application?

       4          A        It says she has a criminal history that included

       5    charges of human trafficking and prostitution.

       6          Q       And you provided no disposition outlining that

       7    that charge was dropped; is that right?

       8          A       No.     I just provided the prostitution charge she

       9    was convicted of.

      10          Q       But you knew that charge of human trafficking had

      11    been dropped, didn't you?

      12          A        I knew there was a plea deal of some sort.

      13          Q       That case had been dropped as part of whatever?

      14          A       Yes, sir.

      15          Q       Ms. Lanyun Ma resides with Mr. Yan?

      16          A        She did.       Yes, sir.

      17          Q       Was Lanfen Ma and Ms. Zhang, were they seen

      18    exiting, coming and going from the spa?

      19          A       No, they were not unless in the company of Lanyun

      20    ma.

      21          Q       Where was your surveillance set up?

      22          A       We would park in different locations around in the

      23    area of the spa.

      24          Q       Did you have 360-degree surveillance of the spa at

      25    all times?


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       1          A       No, but we always had visual on the front door.

       2    And there is only one exit.

       3          Q       There is no backdoor to this spa?

       4          A       No, sir.

       5          Q       No side entrance?

       6          A       No.

       7          Q       Only one exit and one entrance?

       8          A       Yes.

       9          Q       That is the front door?

      10          A       Yes, sir.

      11          Q       Did you ever see either of Lanfen Ma or Ms.                           Zhang

      12    with cell phones in their hands?

      13          A       We did throughout the investigation, yes.                           I am

      14    not sure when, but yes.

      15          Q       They were able to call?

      16          A       They had cell phones.

      17          Q       Did you ever prior to putting in a camera or

      18    requesting cameras, did you do any kind of pen registers or

      19    trap and traces on their cell phones?

      20          A       No, sir.

      21          Q       Did you ever have an opportunity to know what

      22    their cell phone was?

      23          A       No,    sir, not at that point.

      24          Q       You sent in an undercover.                  Right?

      25          A       Yes.



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       1          Q       Who was that?

       2          A       Detective Brock.

       3          Q       Tell us about that.

       4          A       Detective Brock went in on the 14th of September

       5    and the 18th of September.                He was equipped both with audio

       6    and visual surveillance equipment to monitor the events that

       7    took place inside, was given department-issued funds.                                 Went

       8    in there asked for, I believe, a thirty-minute massage both

       9    times.     Received a massage, and then was propositioned for

      10    sex acts following the massage.

      11          Q        So he was solicited?

      12          A       Yes.

      13          Q       The genitalia was actual touched?

      14          A        I believe he advised that he was grazed over his

      15    boxer briefs.

      16          Q        So is it fair to say that Ms. Zhang -- was it both

      17    times Ms. Zhang or was it each?

      18          A        It was both of them, one each time.

      19          Q        So the two people working, let's get this clear,

      20    in the spa is Lanfen Ma and Ms. Zhang?

      21          A       At this time, yes.

      22          Q       Lanyun Ma is just coming and going?

      23          A       At this point, we would observe her coming and

      24    going from the spa.             So we assumed she worked there, but at

      25    the time of the undercover operation she was not inside the


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       1    spa.

       2           Q       And Lanyun, her connection is she lives with the

       3    owner?

       4           A       Yes, sir.

       5           Q       When Brock went in, he was solicited and otherwise

       6    offered to commit a sex act for money?

       7           A       Yes, sir.

       8           Q       They went through an entire price list with him?

       9           A       Yes, sir.

      10           Q       And both times the female was the initiator?

      11           A       Yes.

      12           Q       Not Officer Brock?

      13           A       No.

      14           Q       The second visit on September 18, was Officer

      15    Brock provided the opportunity to have Ms. Zhang's phone

      16    number?

      17           A        I believe he stated that she told him she could

      18    give him her phone number.

      19           Q       Did he take it?

      20           A       No.

      21           Q        So he had an opportunity to obtain a phone number

      22    where you could do a pen registry or a trap and trace,

      23    subpoena records for the phone, and he didn't take it; is

      24    that right?

      25           A        I suppose so.          He didn't take the phone number.


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       1          Q       Did you guys talk about how important maybe

       2    getting a phone number would be to furthering identify the

       3    people that are part of some alleged criminal enterprise?

       4          A       No, we didn't.

       5          Q        In your experience, wouldn't that be very valuable

       6    if you had the phone number where you could do a trap and

       7    trace or pen registry to see who is calling that person?

       8          A        It could be beneficial to see who is calling the

       9    person, but it wouldn't be beneficial to prove the charge of

      10    racketeering what we were trying do.

      11          Q        Part of racketeering is to identify the

      12    enterprise.         Right?      That is the first step; isn't it?

      13          A       Correct, but just getting the phone number of who

      14    she is calling, we didn't feel --

      15          Q       Have you ever applied for a pen registry or a trap

      16    and trace?

      17          A       No.

      18          Q       Do you know what I am talking about when I say pen

      19    registry and trap and trace?

      20          A        I know what you are talking about, but at that

      21    point in the investigation we didn't think to do that.

      22          Q       No.     You thought to go get a camera first.                         Right?

      23          A       Not at that exact point, no.

      24          Q       After Officer Brock goes in there and he is

      25    propositioned by the two women, you then have some


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                                                                                                      Page
       1    interaction with two civilian men that come out; is that

       2    correct?

       3            A       Yes, sir.

       4            Q       What are their names?

       5            A        I don't recall their names off the top of my head.

       6            Q       Did you have direct interaction with either one of

       7    them?

       8            A       Yes, sir.

       9            Q        Is this Michael Gary and Oscar Gomez?

      10            A       Yes.

      11            Q       How did you have contact with them?                       How did that

      12    come about?

      13            A       We were doing surveillance at the spa.                         We

      14    observed Mr. Gary, that is who we spoke to first, we

      15    observed him leaving the spa and approached him and made

      16    contact with him after he left the spa.

      17            Q       What did you tell him?

      18            A       Detective Gasbarrini had the conversation with him

      19    initially, but basically we advised him that we had

      20    complaints at that spa that he just came from.                              And we would

      21    like if, he was willing, to make a statement for us of what

      22    took place inside.

      23            Q       This is Mr. Gary you are talking about now?

      24            A       Yes, sir.

      25            Q       Was Mr. Gomez stopped that same very day?


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       1          A       Yes, sir.

       2          Q       How many other stops had you done prior to that?

       3          A       Those are the only two.

       4          Q       How many stops did you do after that?

       5          A       Those are the only two.

       6          Q       The only two guys you ever talked to in this whole

       7    thing, both readily without any hesitation talked to you and

       8    told you exactly what are you needed to know?

       9          A       v~es,    '
                                  sir.

      10          Q       And you guys made the conscious decision not to

      11    mind that source of information any further by doing any

      12    other stops like that.              Right?

      13          A       No.     We didn't want to stop too many individuals

      14    and possibly have somebody alert the people inside the

      15    business of police stopping and talking to individuals about

      16    what goes on.

      17          Q       Did you give them some sort of offer of immunity

      18    if they talked to you?

      19          A       No.     We made it clear that there is no promises or

      20    anything like that, and there was no threats or anything.

      21          Q       You didn't tell them if you talk to us, we are not

      22    worried about what you did in there, we are not going to

      23    bother?      You didn't tell them that?

      24          A       Not that I recall, no.

      25          Q       Did Detective Gasbarrini?


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       1          A       Like I say,        I don't recall that.               I know that we

       2    said we can't make any promises and we can't threaten you.

       3    If you are willing to make a statement to us, we appreciate

       4    it.

       5          Q        So no comments at all about we are not worried

       6    about what you did, we just need to know?

       7          A       Not that I recall.              I don't recall making that

       8    statement.

       9          Q       Did the men to the exact T tell you exactly what

      10    Brock told you, that they were the onces soliciting?

      11          A       Very similar accounts.                Yes.

      12          Q       They made it clear it was the female prostitutes

      13    that initiated the contact?

      14          A       That is what they told us.                   Yes.

      15          Q       Did you ever send in another undercover after

      16    Brock had two successful visits?

      17          A       No, sir.

      18          Q       No other one was willing to do it or you guys

      19    thought you are not going to do it?

      20          A       We didn't want to send in an undercover too many

      21    times.     Even the second time he was in there, she was

      22    suspicious of him and was saying she thought he may be

      23    police.      So we didn't want to send in an undercover again

      24    and possibly compromise the investigation.

      25          Q       Between these two women you have four acts of


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                                                                                                      Page 57
       1    solicitation; is that correct?

       2            A       We have the two undercover and then the statements

       3    of the individuals that exited.

       4            Q       You had the ability to get her phone number, but

       5    you didn't; is that right?

       6            A       Detective Brock was offered her phone number.

       7            Q       You know the corporate structure.                      Yan owns it.

       8    You have got Lanfen Ma.                 Right?

       9            A       We know Yongzhang Yan owns the spa, but he was

      10    never seen at this point at the spa.                         So we didn't really

      11    know who ran the day-to-day operations or who collected

      12    money or anything like that.

      13            Q       And he has never been charged, right, because you

      14    couldn't get enough evidence on him?

      15            A       Yes, sir.        He hasn't been charged.

      16            Q       You never got a trap and trace on his phone at

      17    all, did you?

      18            A       No,    sir.

      19            Q       At this point, did you become aware that Indian

      20    River County Sheriff was running an investigation as well at

      21    the exact same time?

      22            A        I am not sure the exact date that we were aware of

      23    that.       We were initially advised that Martin County had an

      24    investigation at the exact same time as us that I believe

      25    they started prior to ours that we were unware of.                                  Then I


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       1    believe Indian River County began an investigation around

       2    the same time.          I am not sure when exactly.

       3          Q       The State Attorneys that you were working with,

       4    who were you working with?

       5          A       Ryan Butler and Jeff Hendriks was working with the

       6    Martin County case.

       7          Q       Did they not share information with the sheriff

       8    who was running the investigation?

       9          A       No.     Like I said,        I know they were running an

      10    investigation.          I am not sure at what time Indian River

      11    started their investigation.

      12          Q       How many different prostitutes up until the point

      13    we are at now which is after Brock and after the two men,

      14    how many prostitutes were you aware of working at each spa?

      15          A       The two that Brock encountered.

      16          Q        So after the two men visit, what do you do next?

      17          A       We just continued surveillance at that point and

      18    began to observe Lanyun Ma frequent the business more so

      19    than she had prior.

      20          Q       At some point you followed her to a store where

      21    she made purchases; is that correct?

      22          A       Yes, sir.

      23          Q       Where did she go?

      24          A        She went to the Wal-Mart Grocery on U.S. 1 and

      25    17th Street.


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       1            Q        She made some purchases with a debit card?

       2            A       Yes, sir.

       3            Q       After she left, you had contact with loss

       4    prevention or someone working within Wal-Mart?

       5            A       Yes, sir.

       6            Q       They agreed to provide you video?

       7            A       Yes.

       8            Q       You were aware at that point she did use a card to

       9    make payments?

      10            A       Yes, sir.

      11            Q       Did you issue any sort of subpoena for her credit

      12    card?

      13            A       Those were subpoenaed at some point.

      14            Q       But after you got the cameras?

      15            A        I am not sure.

      16            Q       What would you need to look at to tell me when you

      17    got it?

      18            A        It was either Detective Evans or Detective Eder

      19    who subpoenaed those records.                       I am not sure the exact date.

      20            Q       Earlier,       I thought we established that you guys

      21    didn't issue a single subpoena prior to going in and getting

      22    cameras?

      23            A        I am not sure the exact dates of the subpoenas

      24    being issued.

      25            Q       Let me ask the question this way.                      Did you issue


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       1    one single subpoena prior to asking Judge Cox to give you

       2    permission to install cameras at each spa?

       3          A       Again, I am not sure of the exact date.                         So I

       4    can't say yes or no.

       5          Q        I know you are not sure of the exact dates.                            I    am

       6    asking you if you issued any subpoenas prior to the

       7    installation of cameras.               I don't need the exact date.

       8          A        I cant' answer that.               I don't know because I don't

       9    know the dates.

      10          Q       After this visit to Wal-Mart, you didn't issue the

      11    debit card subpoena.             That was done later.               We can say that.

      12    Right?     The debit card subpoena, that was done later?

      13          A        I am not sure on the dates of the subpoenas.

      14          Q       For the purposes of the hearing, who is going to

      15    be able to answer my question when I call them?

      16          A       Detective Evans and Detective Eder are the ones

      17    that subpoenaed financial records.                      So they would be the

      18    ones to answer that.

      19          Q       You then conduct some trash pulls?

      20          A       Yes, sir.

      21          Q       Within those trash pulls, did you find any

      22    receipts?

      23          A       Yes, sir.

      24          Q       For purchases?

      25          A       Receipts that were -- the name Lanyun Ma was on


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       1    the receipts.         There were no purchases, customer purchases

       2    in the trash pulls we completed.

       3          Q       You found evidence of used condoms and semen?

       4          A       Yes, sir.

       5          Q       Did that solidify your belief that there is

       6    prostitution going on which you already knew.                           Right?

       7          A       That assisted us in that belief.                      Yes, sir.

       8          Q       Were there any appointment notebooks or ledgers or

       9    anything in those trash pulls?

      10          A       Yes, sir.

      11          Q       What were they?

      12          A       There was different sheets of like notebook paper

      13    that had apparent ledgers on them handwritten with a

      14    Sharpie.

      15          Q       You would agree that cameras within the massage

      16    room were not going to produce any kind of evidence like

      17    that, right, ledgers, receipts, notebooks?                          You are just

      18    going to capture sex.              Right?

      19          A       Well, no.        You are going to capture money

      20    transactions in the massage rooms.                     At that point,         I didn't

      21    know where they kept their ledger.                      It could have been in

      22    the massage room.            It could have been anywhere.

      23          Q       After the very first day, you knew that.                            Right?

      24          A       The very first day?

      25          Q       You knew where the ledgers were kept after the


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       1    first day?

       2          A       Of the?

       3          Q        Installation?

       4          A       We knew there was a ledger at the front desk.

       5          Q       You guys looked around when you installed the

       6    cameras.      Right?

       7          A       Briefly.        It wasn't a search of the business.                         We

       8    were just in there to install the cameras.

       9          Q       How did you do that?                If women were never leaving,

      10    tell me how you installed the cameras.

      11          A       We went to the business under the ruse of a power

      12    issue.     With the assistance of City of Vero Power, the women

      13    came out of the business, and we went in and installed it.

      14          Q       Up in the roof, in the ceiling?

      15          A       Yes, sir.

      16          Q       Were you there?            You said you were in and out.

      17    Right?

      18          A       Yes, sir.

      19          Q        So a lot of installation was being done while you

      20    were outside or in another room?

      21          A       Yes, sir.

      22          Q       Did you actually see, were you actually able to

      23    see them installing the cameras?

      24          A       Yes.

      25          Q        Physically see them?


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       1          A       Yes, at different points.

       2          Q       Did you tell them where to put it?                       Who is they

       3    anyway?

       4          A       The Department of Homeland Security tech officers.

       5          Q        It was their decision where to put the cameras?

       6          A       Yes, sir.

       7          Q       They were climbing up in the ceiling to do it?

       8          A       They were feeding stuff through the ceiling and

       9    then from below the ceiling.                 They weren't crawling in the

      10    ceiling.

      11          Q       The women were in the room when that was

      12    happening?

      13          A       No.     The women came outside.

      14          Q       With you?

      15          A       With me.        Yes, sir.

      16          Q       You talked to them about what was going on in

      17    there?

      18          A       Yes.

      19          Q       Did you see any evidence anyone was living in

      20    there when you went in there?

      21          A       No, not at that time.

      22          Q        So the cameras get installed.                   What are the hours

      23    that you are to record?

      24          A       The initial twenty, the first twenty days we

      25    recorded from 8:00 a.m. or we viewed it from 8:00 a.m. until


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       1    11:00 p.m. each day.

       2          Q        In your application, in your affidavit, that was

       3    drafted by you?

       4          A       Yes, sir.

       5          Q       What were you using as authority?

       6          A        I am sorry?

       7          Q       Like what statute?             What were you trying to

       8    outline?      What were you following?                  There is a lot of very

       9    specific things about the details of the offense and the

      10    description of the location.

      11          A       The possible racketeering enterprise.

      12          Q        I mean, who came up with the language in obtaining

      13    in the affidavit?           Was it you or was it the State Attorney?

      14          A        It was with the assistance of the State Attorney.

      15          Q       Did you have an identifying authority?                         The

      16    wiretap statute or Title 3?                 What did you guys uses as

      17    authority?

      18          A        I don't recall the exact which one it is.                           It

      19    wasn't a wire, not a T3.

      20          Q       What is that?

      21          A        It wasn't a wiretap because there was no audio.

      22          Q        I know it is not.            So what statute did you use; do

      23    you know?

      24          A        I can't cite the exact.

      25          Q       Was it a Federal statute or a State statute?


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       1          A        I am not sure.

       2          Q        In your application you discussed -- if you will

       3    look at, I will give you Exhibit No. 1.                        Within the

       4    application you start making paragraphs it is requested, it

       5    is further requested.              That is going to be about page 13 in

       6    the application.

       7          A       Yes, sir.

       8          Q       Did you inform the Court in the application

       9    exactly where you were going to put the cameras?

      10          A       No, sir.

      11          Q       Did you inform the Court in the application that

      12    you were going to put a camera in a massage room where

      13    people were getting massages?

      14          A        It wasn't specifically stated which rooms they

      15    were placed in.

      16          Q       Did the order instruct you where specifically to

      17    put any cameras?

      18          A       No.

      19          Q       Did you ask the Court to monitor the authority to

      20    monitor and record?

      21          A       Did I ask the Court for that?

      22          Q       Yes.      In your application?

      23          A       Yes.      On the last page I stated the recording and

      24    monitoring.

      25          Q       You made it explicit that there would be no


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       1    monitoring or recording of audio?

       2          A       Of audio, yes, sir.

       3          Q       That is on page 13 under the first it is

       4    requested?

       5          A       Yes, sir.

       6          Q       Can you read that paragraph?

       7          A        It is requested that your affiant is allowed to

       8    surreptitiously enter the described location for the purpose

       9    of covertly conducting electronic video surveillance of the

      10    interior location of the location to identify participants

      11    in the criminal enterprise commonly referred to as a visual

      12    surveillance warrant.              There shall be no capability on any

      13    of the installed equipment to allow audio monitoring or

      14    recording.

      15          Q       At that point, there is a difference between

      16    monitoring and recording.                Right?       You call it out as two

      17    separate things.           You are not going to monitor or record

      18    audio.     Right?

      19          A        I stated there shall be no capability of audio

      20    monitoring or recording.

      21          Q       Monitoring is something totally different than

      22    recording.        Correct?

      23          A        I suppose it could be.

      24          Q        I mean, you are an educated man.                     The word monitor

      25    means something different than record to you, doesn't it?


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       1           A       Specifically, it is not the same definition.                              No.

       2           Q        It is two different things.                  If they meant the

       3    same thing, you wouldn't say two words.                         Right?

       4           A        I said two words.            I don't know.

       5           Q       The order, did it ever give you the authority to

       6    record?

       7           A        I believe the exact language was monitor in the

       8    order.

       9           Q        So I am asking you a different question.                           Did it

      10    give you the authority to record?

      11           A        It was a criminal case, and that is evidence of

      12    the crime.         So I believe there was authority to record.

      13    Yes.

      14           Q       You believe there was?

      15           A       Yes.

      16           Q        I understand that.            Did the order give you

      17    authority to record?

      18           A       Yes.

      19           Q        It says that in the order?

      20           A       The specific word of record was not stated, but --

      21           Q        So I can have you read the order, but I don't want

      22    to do that.         Did the order say you could record?

      23           A       Not specifically record, no.

      24           Q       You knew going into this, you made it clear in the

      25    application that you were going intercept in massage rooms.


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       1    Was that implicit in your order?                    You didn't specifically

       2    call it out.          Was that what you wanted?

       3          A       Yes, sir.

       4          Q       You knew people by definition would become nude

       5    even if they are innocently going in to get a massage?

       6          A        I knew that was a possibility.

       7          Q       Women take their tops off, their bras off.                            Men

       8    take their shorts off, underwear off?

       9          A       v~es,     '
                                   sir.

      10          Q       The Judge called -- you asked for the Judge to

      11    specifically require you guys to take steps to minimize the

      12    invasion of privacy to any parties not participating in

      13    criminal conduct?

      14          A       Yes, sir.

      15          Q       That was put in the order?

      16          A       Yes.

      17          Q       That was asterisked and highlighted?                        There was an

      18    asterisk put there by Judge Cox.                    Correct?

      19          A       Yes, sir.

      20          Q       Did you guys ever record people that were in there

      21    not partaking in sex?              Did that ever happen?

      22          A       There was three individuals throughout the entire

      23    time of surveillance that did not receive a sex act.

      24          Q       Were they recorded, too?

      25          A       Yes, sir.


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       1          Q        So you didn't minimize that invasion of their

       2    privacy, did you?

       3          A       We took steps to minimize, but the sex act

       4    sometimes happened at the end of the massage.                           So we had to

       5    watch the entire massage to see if that was going to take

       6    place.

       7          Q       Who were the three people that you recorded?

       8          A       There was one individual who came in the room and

       9    received a legitimate massage and then exited.

      10          Q       What is their name?

      11          A        I have it in our notes.                I am not sure.

      12          Q       Do you know any of their names?

      13          A        I know the other two names.                  Yes, sir.

      14          Q       What are they?

      15          A       Louis Crook and Paul De Lisi because they also

      16    came back on other occasions or previously received sex acts

      17    at the spa.

      18          Q       But on these two occasions they did not?

      19          A       Yes.

      20          Q       But you recorded them anyway?

      21          A       Yes, sir.

      22          Q       Was anyone actually sitting there watching the

      23    live feed?

      24          A       Yes.

      25          Q       At all times?


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       1          A       Yes, sir.         It would be minimized if there was no

       2    one in the room.

       3          Q       But there was never, the Department of Homeland

       4    Security set up a recording to take place starting at

       5    8:00 a.m. and terminating at 11:00 p.m.                        Correct?

       6          A       The video recorded at all times, but it was

       7    minimized.       When no one was in the room, the room wasn't

       8    being observed.          The desk was always being watched between

       9    hours we were conducting the surveillance.                          So the initial

      10    twenty days, yes, 8:00 a.m. to 11:00 p.m. myself and

      11    Detective Gasbarrini were the ones doing that surveillance.

      12    And the desk would be being viewed during those hours.                                  The

      13    room being viewed when individuals entered.

      14          Q       What did minimize mean to you?

      15          A       To minimize the invasion of privacy of individuals

      16    in the location.

      17          Q        So you felt like you had to watch all the way up

      18    until the person left?

      19          A       Yes, sir.        Like I said, some people received

      20    massages first and then the sex act took place at the end of

      21    the massage.         So if we minimized it at the beginning of the

      22    massage, there is potential that you could have missed a

      23    crime being committed.

      24          Q       How many men were assigned to watch these videos,

      25    the live feed?


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                                                                                                      Page
       1            A       Only two at the time.                It was myself and Detective

       2    Gasbarrini the entire investigation except for two hour

       3    periods on one day each.

       4            Q        So you were in there from 8:00 until 11:00 every

       5    day other than you missed two hours?

       6            A       Yes, sir.         That was on the first twenty days.

       7    Later in the investigation, we didn't stay until 11:00 p.m.,

       8    but it would be from 8:00 a.m. until late afternoon.

       9            Q       How many sex acts were recorded in first thirty

      10    days?

      11            A        In the first thirty days?                 I don't have the exact

      12    number.        It was upwards of 100.

      13            Q       Outside of the people we named, were there any

      14    other prostitutes identified in the first thirty days?

      15            A        In the first thirty days?                 There was other, there

      16    were other prostitutes in the business.                          They were not

      17    identified at that point.

      18            Q       Were they observed co1mni tting sex acts?

      19            A       Yes, sir.

      20            Q       Why weren't they identified?

      21            A       Because all we had was video of them at that

      22    point.       We didn't have any way to identify them at that

      23    point.

      24            Q       How many women were there that you can't identify

      25    in the first thirty days?


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       1          A       Five,     I believe, four in the first thirty days.

       2    One was later identified.                Three of them we never

       3    identified.

       4          Q       What was her name that you later identified?

       5          A       Yan Xu, Y-A-N X-U.

       6          Q       Were these women ever arrested or charged with a

       7    crime?

       8          A        She was, yes, sir.

       9          Q       Other than that, the other ones?

      10          A       Other than her?

      11          Q       The other women?

      12          A       There was other women arrested.                     Yes, sir.

      13          Q        In the first thirty days, any women in the first

      14    thirty days?

      15          A       No one was arrested in the first thirty days.

      16          Q        I am saying that you knew about in the first

      17    thirty days?

      18          A       A warrant was issued for Lanfen Ma who was

      19    previously identified.              The other three women, we did not

      20    identify and Yan Xu that later identified was arrested.

      21    They were all observed in the first thirty days.

      22          Q       How did these other women arrive at the spa?

      23          A       Yan Xu was picked up and driven to the spa by

      24    Lanyun Ma.        The other women arrived by unknown males

      25    dropping them off in front of the spa.


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       1          Q       Of those three women that you are not able to

       2    identify, how far into the thirty days did the first one

       3    appear?      My question is this:                 Outside of Zhang and Lanfen

       4    Ma who you knew about before you ever went in there?

       5          A       Yes, sir.

       6          Q       How many days go by before you find another?

       7          A        Zhang was transported away from the spa and

       8    replaced by another female who we did not identify within

       9    the first two days of viewing.

      10          Q       The camera goes in on November 27?

      11          A       The 29th it was installed.

      12          Q       The 29th it is installed.                   You are watching.              And

      13    when the is the first time you see someone that you don't

      14    know come into that spa?               You know Lanyun Ma.               You know

      15    Lanfen Ma and you know Zhang.                     So when is the first time you

      16    see someone come in?

      17          A        I believe the first day we were actually observing

      18    which is the second -- the camera was put in on the 29th.

      19    We started observing on the 30th.                      There was a new female in

      20    the spa.

      21          Q       Who was that?

      22          A        She was never identified.

      23          Q       Other than simple payments, tips, whatever you

      24    want to call it after the sex act is consummated, that it

      25    happened, did you ever see on video in the room transactions


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       1    of racketeering or money laundering or human trafficking?

       2          A       Women would collect money in the room.                         And then

       3    they would give money to Lanyun Ma who was primarily at the

       4    front desk throughout the investigation.                         And she would put

       5    money in different envelopes which we were able to observe

       6    via that camera and different things like that that we would

       7    then be able to know when she was leaving with money and

       8    making bank runs, things of that nature.

       9          Q       You are able to identify women handing money to

      10    Lanfen Ma?

      11          A       Yes, sir.

      12          Q       Did you see the other women with cell phones as

      13    well, the unidentified women?

      14          A        I don't know if all of them did, but we did

      15    observe women with cell phones.                    Yes, sir.

      16          Q       The application in this case, was it ever

      17    authorized in writing to you by anybody?

      18          A       Are you waiting on me?

      19                  THE COURT:         Is that a question?

      20    BY MR. METCALF:

      21          Q        I asked you a question.

      22                  THE COURT:         It seemed like an unfinished question.

      23    BY MR. METCALF:

      24          Q       Was it ever authorized by anyone in writing?                              Did

      25    anyone authorize your application in writing?


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       1            A        I guess I don't understand the question.

       2            Q       Did the State Attorney, Mr. Colton, did he

       3    authorize the issuance of this warrant in writing to you?

       4            A       No, sir.

       5            Q       The application?

       6            A       No, sir.

       7            Q       Never signed off on it?                 Never reviewed it?

       8            A       Not that I am aware of, no.

       9            Q       You knew within the room you are not going to see

      10    this corporate structure of this spa.                         Right?      That is not

      11    something you are going to get a camera in the room.                                  Right?

      12            A       We didn't know exactly what we would see in the

      13    rooms.

      14            Q       Was there any discussion about just employing

      15    maybe an alternative investigative technique like just a

      16    simple audio wiretap so you can hear what is going on in the

      17    room?       You kind of already know.                 Right?

      18            A       Well, we wanted to be able to actually visually

      19    observe the crimes taking place and see where the money and

      20    things like that were -- how the transactions and the

      21    structure of the business from inside.

      22            Q       You don't have to see it to know it is taking

      23    place, do you?

      24            A        I feel as though seeing it would have been a

      25    better option than just hearing audio.                          I don't think that


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       1    would allow us to know exactly what is going on inside.

       2          Q       Your goal was to identify women engaging in

       3    prostitution and deriving funds?                     Is that basically it?

       4    That was your goal, your investigatory goal?

       5          A        It was to identify the racketeering enterprise and

       6    then the deriving support from the prostitution and the

       7    prostitution.

       8          Q       As you said, the payments to Lanyun Ma and to

       9    Lanfen Ma, those are happening at the desk.                          Correct?

      10          A       There is both payments at the desk and payment in

      11    the room.

      12          Q        Payments in the room are between the man and the

      13    woman.     Right?

      14          A       Generally, yes.

      15          Q       They go out.          And the payments that are then given

      16    to the house, that is done at the desk?

      17          A        Some individuals paid directly at the desk.                            They

      18    may have not paid in the room.                    Some paid just in the room

      19    and did not pay at the desk.                  Payment happened in both

      20    spots.

      21          Q        I am talking about when the prostitute pays the

      22    house their cut, that is done at the desk.                          Right?

      23          A       Generally, yes, sir.

      24          Q       You knew you had Brock go in and identify two

      25    women soliciting him and otherwise asking him to engage in


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       1    prostitution?

       2          A       Yes.

       3          Q       You had the two men?

       4          A       Yes, sir.

       5          Q       Was there any thought put into, hey, if a new

       6    woman comes in and we have to identify yet another player,

       7    we could send in an undercover because that is a new woman?

       8    She wouldn't know.

       9          A       Like I said, every time you send in an undercover,

      10    that heightens the chance that they may be identified.

      11    After the first time when the female he had just met wasn't

      12    the same girl as the first time advised that she thought he

      13    may be police, that made us believe that that was a risk

      14    that could jeopardize the investigation.

      15          Q        It is the same guy you sent in there twice.                            You

      16    could use another guy?

      17          A       Right.       That was the reason why we did not.

      18          Q       Maybe if his behavior is consistent with other

      19    people, they would say this is normal?

      20          A       That is the reason we did not send in an

      21    undercover an additional time.

      22          Q       But undercovers, the times you sent in, they

      23    worked and you were able to identify two separate

      24    individuals soliciting?

      25          A       Yes, sir.


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                                                                                                    Page
       1          Q       As far as wiretaps into the phones, did you guys

       2    ever ask for that?

       3          A       No, sir.

       4          Q       Was that contemplated prior to issuing

       5    surveillance video?

       6          A        It was spoken about, but we found this was the

       7    best option.

       8          Q       Your agency is famously involved with a wiretap

       9    that captured 100,000 calls in the local pill mill case.

      10    Right?

      11          A        I believe that took place.                  I wasn't working here.

      12          Q       But you are aware that 100,000 different phone

      13    calls that exposed the entire racketeering, allegedly

      14    exposed an entire racketeering organization was captured

      15    from taps on phones.             Right?

      16          A        I can't speak on that.

      17          Q       Did you guys ever discuss that?

      18          A        I haven't discussed that with anyone.                       No.

      19          Q       No inventory was provided to the Judge telling her

      20    where you install cameras.                Correct?

      21          A       No, sir.

      22          Q       No report backs ever happened about what you were

      23    finding out, what you were discovering.                        Correct?

      24          A       No, sir.

      25          Q       You didn't talk about how it would be minimized.


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       1    Right?

       2          A       That was discussed at the initial her signing it.

       3          Q        So you would agree that within that order, both

       4    orders, the extension which is Exhibit 4 and the original

       5    order which is Exhibit 2, you would agree that there was a

       6    requirement that you forthwith make return of your doings

       7    upon executing this warrant?

       8          A       Yes, sir.

       9          Q       That never happened.                You agree with me?

      10          A       Yes.

      11          Q       Did anyone tell you why that provision exists?

      12          A       No.     Due to the fact that we didn't take anything

      13    out of the spa, that is why we did not.

      14          Q       They didn't ask you tell us what you took out of

      15    the spa.       It says report back your doings.

      16          A       Right.       I am just telling you why we didn't.

      17          Q       The things that you did after you got the cameras,

      18    they include GPS tracking.                Correct?

      19          A       Yes.

      20          Q        Subpoenaing bank records.                 Correct?

      21          A       Yes.

      22          Q       You even had a situation where you went into the

      23    business next door and began listening through the walls.

      24    Right?

      25          A       Yes, I believe Detective Eder did.


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       1            Q       And Detective Eder audio recorded it.                         Correct?

       2            A       Yes.

       3            Q       Was that ever authorized?

       4            A       No.     It is in the adjoining business.                      So he is

       5    allowed to record in there.

       6            Q       Did he use any amplification to record or you are

       7    saying he could hear the conversation through the walls?

       8            A       He could hear it through the wall.

       9            Q        So no microphone, nothing?

      10            A       No, sir.

      11            Q       Did you see the device he used to record with?

      12            A       Yes.      It was just his handheld recorder.

      13            Q       Were you able to overhear for yourself?

      14            A        I never did surveillance from that room, but while

      15    we were in that room, in that adjoining business looking in

      16    there prior to the install and during the install, you could

      17    hear through the wall.                Yes, sir.

      18            Q        So we have GPS tracking.                 We have subpoenas going

      19    out to banks?

      20            A       Yes, sir.

      21            Q       That wasn't done prior to this.                      Right?

      22            A        I don't remember the exact dates.                      They were done

      23    throughout the investigation.                       So they were done after as

      24    well.

      25            Q       You are now traditionally just tailing people,


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       1    right, following them around?

       2          A       Yes, sir.

       3          Q       That is after the warrant?

       4          A       Yes.

       5          Q       Did you discuss in the order -- there is a

       6    thirty-day cap.          We talked about this briefly.                    But was

       7    there any language in there that says it shall terminate

       8    when the described communication is obtained?                           Once you are

       9    able to, not communicate each individual time, but once you

      10    get enough evidence to document the crimes you were looking

      11    at, was there any language about terminating surveillance?

      12          A       No, sir.

      13          Q        So it was just a thirty-day cap?

      14          A       Yes, sir.

      15          Q       Do you know how many predicate acts are required

      16    to show racketeering?

      17          A       Two.

      18          Q       You had 100 after the first thirty days?

      19          A       Yes, sir.

      20          Q       Were you aware that the Palm Beach County Sheriff,

      21    you became aware that they issued delayed notification for

      22    video surveillance.            Correct?

      23          A       Yes, sir.

      24          Q       Their observation lasted five days.                       Does that

      25    sound right?


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       1            A        I am not familiar with exactly how long theirs

       2    lasted.

       3            Q       You are not familiar?

       4            A        I am not.       No, sir.

       5            Q       Yours went on for sixty days.                    Right?

       6            A       Yes, sir.         Thirty days of actual monitoring the

       7    room and forty-two days of monitoring the desk, but there

       8    were two thirty-day warrants.

       9            Q       Did there come a point in time where you were

      10    contacted by the Office of the State Attorney saying, hey,

      11    enough is enough.             Stop looking in the rooms.                  On

      12    January 10, did that happen?

      13            A       Yeah.      January 9 was the last day we monitored the

      14    actual room.           That was basically due to the fact that we

      15    were building the case, following the money more at that

      16    point.

      17            Q       But the whole basis of keeping the warrant going

      18    for the extension was that there was, what, new females

      19    coming in and out?

      20            A       New females coming in and out as well as the owner

      21    Yongzhang Yan emerged and started showing up at the business

      22    more.       And there was another gentleman who emerged as a

      23    possible part of the enterprise.

      24            Q       Those two guys weren't in massage rooms soliciting

      25    prostitution, were they?


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       1            A       No, but like you said, there was other girls

       2    coming in as well.

       3            Q       Did the girls stop?                 On January 10 did that all

       4    stop?

       5            A       No.

       6            Q        So you guys just decided, you were told by the

       7    State Attorney enough is enough, stop videoing in the room?

       8            A       No.     It was just a decision that was made jointly.

       9    We could have continued.                 We weren't told not to.                 We felt

      10    it was at that point in the investigation that we didn't

      11    need to.

      12            Q       Did you have a suspect that you guys believed was

      13    engaged in human trafficking?

      14            A       Yes, sir.

      15            Q       Have you found any victims of human trafficking?

      16            A       Yes, sir.        We interviewed one individual who

      17    advised that she did it, committed the acts against her will

      18    and was in fear.

      19            Q       Who is that?

      20            A       What is her name?

      21            Q       Yes.

      22                    MR. BUTLER:          Judge,     I am going to object.                There

      23    is a protective order signed by Judge Vaughn prohibiting the

      24    release of that victim's name.                       I think also under the

      25    Florida Constitution she has a right to keep confidential.


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       1                   THE COURT:         Sustained.

       2    BY MR. METCAIS:

       3           Q       Was this prostitute working within the spa?

       4           A       Yes, sir.

       5           Q       What about the other unidentified one?

       6           A       They were unidentified because they left prior to

       7    the execution of our search warrant at the end.

       8           Q       This last one, the one you are referring to, she

       9    was identified when you executed the search warrant at the

      10    end?

      11           A        She was identified that day.                    Yes, sir.

      12           Q       By logic, are you saying that the other women

      13    could have been alleged victims?                      You guys just didn't

      14    decide to stop it and find out who they were?                             Is that what

      15    you are saying?

      16           A       The reason we didn't stop it is because we were

      17    still building our racketeering case.

      18           Q       That was more important than human trafficking

      19    victims potentially?

      20           A       At that point we didn't know if anyone was a

      21    victim.

      22           Q        I want to be clear.                You didn't receive a

      23    directive from the State Attorney, Ryan Butler, to stop

      24    filming prostitution on January 10, 2019?

      25           A        It was a joint decision.                  It wasn't a direct order


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       1    or anything like that.

       2          Q       Did he call you and say I think you should stop?

       3          A        I don't recall that conversation.                     I think it was

       4    just in talking about the case we decided that.

       5          Q       You would agree that the second order, the

       6    extension order which is Exhibit 4 had the exact same

       7    language as the order in Exhibit No. 1.                        Correct?

       8          A       Much of it.          Yes, sir.

       9          Q       Anything different?

      10          A       There is additional probable cause added in

      11    reference to movement of girls, the emergence of the male

      12    who was possibly involved and things related to movement of

      13    money.

      14          Q        I am talking about the order, not your

      15    application.

      16          A       The order itself, no, sir.

      17          Q       The order itself is the exact duplicate.                            Correct?

      18          A       Yes, sir.

      19          Q       Of the first one.             Correct?

      20          A       Yes.      With the standard changes of dates and

      21    stuff.

      22          Q       Again, it authorizes you to monitor.                        It wants you

      23    to report back to this Judge within ten days?

      24          A       Yes.

      25          Q       Did you report back?


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       1          A       No, sir.

       2          Q       By this time, you have got a ton of videos.

       3    Before, you said you just installed cameras.                            Now you have

       4    got a lot of videos.             You referenced a couple of them, but

       5    did you report back anything to them?

       6          A       No, sir.

       7          Q       This is a separate and distinct order, would you

       8    agree?

       9          A       Yes.

      10          Q        I want to be clear.                That is two orders because we

      11    have two orders.           So we have two warrants, two orders?

      12          A       Yes.

      13          Q       Earlier, you discussed that you drafted that

      14    order?

      15          A       Yes, sir.

      16          Q       When you say you drafted it, what I mean,                            I mean

      17    you typed it up?

      18          A       Yes.

      19          Q        Is it something you cut and pasted from something

      20    else or is it something you typed up?

      21          A       No,    I typed it up.

      22          Q       Did you look at some other order?

      23          A        I looked at other examples of this type of order.

      24    Yes, sir.

      25          Q       You had other examples of video surveillance


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       1    orders?

       2          A       Yes, sir.

       3          Q       Where from?

       4          A        Indian River County Sheriff's Office had a case

       5    prior.

       6          Q       When?      Like fifteen years ago?

       7          A        I am not sure of the exact date.                     It was previous

       8    to this case.

       9          Q       This order seems to be identical to the one used

      10    in Martin County, the exact same words.                        Is that just a

      11    coincidence?

      12          A       No,    I don't believe that is accurate.

      13          Q        So you got the order from Indian River County

      14    Sheriff?      You asked them to send you an order?

      15          A        I honestly do not recall who sent me the order,

      16    but it was an Indian River County Sheriff's Office order.

      17                  MR. METCALF:          Judge, at this time I don't have any

      18    other questions.           A lot of other men, lawyers here who have

      19    joined in are certainly free to.

      20                  THE COURT:         Does anyone else have any questions?

      21    Any of the other defense lawyers on behalf of any --

      22                  MR. ZISKINDER:           I do, your Honor.

      23                  THE COURT:         Mr. Ziskinder.

      24                  MR. ZISKINDER:           He mentioned one of my clients.

      25                                   CROSS-EXAMINATION


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       1    BY MR. ZISKINDER:

       2          Q       Detective, you said that Mr. DeLisi --

       3          A       Yes, sir.

       4          Q        -- came in for a legitimate massage?

       5          A       Yes, he came in.            I don't know.           I don't have the

       6    exact dates off the top of my head.                      I believe in December

       7    he came in and did not receive a legitimate massage and got

       8    a sex act and then came in on a later date and at that time

       9    he got a legitimate massage.

      10          Q       Was it Frank DeLisi?                You said different first

      11    names.

      12          A        I may have said the wrong name.                    I know his last

      13    name was DeLisi.

      14          Q       There was only one DeLisi that you encountered?

      15          A       Yes.

      16          Q        So the first time you videotaped him there was a

      17    sex act involved?

      18          A       Yes, sir.

      19          Q       And then there was one other time where you saw

      20    him come in and there was none?

      21          A       Yes, sir.

      22          Q       Did you speak with him after he was videotaped?

      23          A       No, sir.

      24          Q       What about the other time?

      25          A        I have never spoken to him.                  No, sir.


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       1          Q       To your knowledge, did any other law enforcement

       2    officer speak with him?

       3          A       Not to my knowledge.

       4          Q       Do you recall whether payment was made on that

       5    video?

       6          A       On which one?

       7          Q       The first one?

       8                  MR. BUTLER:          Judge, that is not something that is

       9    pled in the motion to suppress.

      10                  THE COURT:         Sustained.

      11                  MR. ZISKINDER:           Nothing further.             Thank you.

      12                  THE COURT:         Mr. Sercombe?

      13                  MR. SERCOMBE:           I do, your Honor.

      14                                   CROSS-EXAMINATION

      15    BY MR. SERCOMBE:

      16          Q       My client Mr. Anglesano, he was mentioned in

      17    discovery for audio.             Did you have a warrant for that audio?

      18                  MR. BUTLER:          Judge,     I am going to object to also

      19    there has been no motion filed as to that.

      20                  THE COURT:         Sustained.         Mr. Sercombe, if you have,

      21    since you didn't file a separate motion, obviously the State

      22    has not been put on notice that you perhaps were going to

      23    challenge some audio.              So I am going to ask if you do have a

      24    challenge to that, we will hear that separately.

      25                  MR. SERCOMBE:           So I can file that, your Honor?


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       1                  THE COURT:         Yes.     Anybody else?           Mr. Golden?

       2                                   CROSS-EXAMINATION

       3    BY MR. GOLDEN:

       4          Q        Just briefly.

       5                  Officer, in the application you mention that you

       6    put in the language monitor and record; is that correct?

       7          A       Yes, sir.

       8          Q       That was your doing?

       9          A       Yes, sir.         I wrote the order.

      10          Q       And you also prepared the order, too.                        Correct?

      11          A       Yes, sir.

      12          Q       Did you draft it yourself?                   Did you type it?

      13          A       Yes, sir.

      14          Q       Your order specifically left out the word record;

      15    is that correct?

      16          A        I don't believe the word record is in there.

      17          Q        I mean, so you intentionally left it out.                          You

      18    omitted it?

      19          A        I don't believe I intentionally left it out.

      20          Q       But you did?

      21          A       Yes.      I wrote -- I didn't put record in there.

      22          Q       When the Judge reviewed the application, she saw

      23    you intended to monitor and record, but then relied on your

      24    order that you would only be monitoring.                         Correct?

      25          A        I don't know what the Judge believed.                       I don't


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       1    know how to answer that.

       2          Q       The Judge didn't cross out record?

       3          A       Okay.

       4          Q       Right?

       5          A       No.

       6          Q       You did by leaving it out?

       7          A        I didn't cross out record.                  It wasn't written.

       8          Q       Right.       So the Court had every reason to believe

       9    that you would not be recording but only monitoring based on

      10    your preparation of that order?

      11          A        I don't believe that is, I don't, I mean, I don't

      12    believe that is true.

      13          Q       You told Mr. Metcalf that there was some idea that

      14    monitor meant record or you would have that authority to

      15    record, but you are the one that actually recognized the

      16    distinction when you prepared the application?

      17          A       Again, I don't know how to answer that.                         Record

      18    was not written in the order itself.                      No.

      19                  THE COURT:         Any other lawyers?              Mr. Kennedy.

      20                                   CROSS-EXAMINATION

      21    BY MR. KENNEDY:

      22          Q        Just a couple on behalf of Josef Jorg.

      23                  Good morning, Detective.                  You testified that

      24    despite the order instruction to report back within ten

      25    days, you did not do that.                Correct?


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       1            A       Yes, sir.

       2            Q       Within the first ten days of -- you began

       3    recording in November of 2018.                      Correct?

       4            A       Yes, sir.

       5            Q       Within the first ten days of recording, you had

       6    quite a number of examples of sex acts from the massage

       7    room.       Correct?

       8            A       Yes, sir.

       9            Q        Is it fair to say that those acts were all of a

      10    similar ill?           They were all sort of the same?                    They involved

      11    different acts, but involved an act and perhaps a payment?

      12            A        I wouldn't say they were all that.                      I wouldn't say

      13    they were the same.               Some people received a massage and then

      14    a sex act and vice versa.                  Some people just received a sex

      15    act.        I wouldn't say they were the same.

      16            Q       They were all acts that you subsequently could

      17    charge as solicitation of prostitution, perhaps engaging in

      18    prostitution.           Correct?

      19            A       Yes, sir.

      20            Q       But you didn't see any sort of coercive activity

      21    as it relates to human trafficking, correct, during the

      22    first ten days?

      23            A        In the massage room?

      24            Q       Yes.

      25            A       No.


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                                                                                                      Page
       1            Q       You didn't see any business enterprise activity

       2    within the massage room other than the act of prostitution

       3    itself?

       4            A       The acts of prostitution as well as the collection

       5    of money that was then given to the person who emerged as

       6    the one running the spa.

       7            Q       That was given outside of the massage room?

       8            A       And collected, but previously collected in the

       9    massage room.           Yes.

      10            Q       Everything that happened, is it fair to say that

      11    what happened inside the massage room was consistent with

      12    the crime of prostitution?                  Yes?

      13            A        Prostitution occurred in there, but there was also

      14    the collection of money that aided our investigation into

      15    the racketeering and the other charges.

      16            Q        In terms of numbers you said, without holding you

      17    to it, upwards of 100 acts occurred in the first thirty

      18    days?

      19            A       Yes, sir.

      20            Q        Is it fair to say something like five to ten acts

      21    per day occurred in the first ten days?

      22            A        I would say that is fair.                 I don't know the exact.

      23            Q       Whatever it was, but it was a substantial number

      24    of these similar acts.                Correct?

      25            A       Yes, sir.


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       1          Q       All of which could have been reported back to the

       2    Court for modification or limitation of your authority.

       3    Correct?

       4          A       Yes, they could have been.

       5                  MR. KENNEDY:          Nothing further.

       6                  THE COURT:         Anybody else?           Mr. Kibbey, yes, sir.

       7                                   CROSS-EXAMINATION

       8    BY MR. KIBBEY:

       9          Q       Sir, is it your testimony this morning that when

      10    you prepared the order that Judge Cox signed that you would

      11    be surprised if it matched the wording of the Martin County

      12    order?

      13          A       Yes, I would be, I guess.                  They are similar

      14    orders.      I don't know.

      15          Q       But you didn't have any access to the Martin

      16    County order to prepare your order?

      17          A       Not that I recall.

      18          Q       When you say you prepared it, what equipment did

      19    you prepare it on?

      20                  MR. BUTLER:          Judge, what is the relevance of this?

      21                  MR. KIBBEY:          It goes to his credibility, your

      22    Honor.

      23                  MR. BUTLER:         What equipment he prepared it on?

      24                  MR. KIBBEY:          Yes.

      25                  MR. BUTLER:          How is that relevant to his


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       1    credibility?

       2                  MR. KIBBEY:          You will see.

       3                  MR. BUTLER:         A typewriter versus a computer?

       4                  THE COURT:         What are you showing him, Mr. Kibbey?

       5                  MR. KIBBEY:          I am going to show him, your Honor,

       6    the order from Martin County signed by Judge Belanger about

       7    forty days prior.

       8                  THE COURT:         Show that to Mr. Butler.

       9                  MR. KIBBEY:          The State has got a copy.

      10    BY MR. KIBBEY:

      11          Q        I would like to show you Exhibit A.                      You have

      12    already seen it.           That is your order.              Correct?

      13          A       Yes, sir.

      14          Q       Exhibit B is one from Judge Belanger.                        You are

      15    saying you haven't seen Exhibit B before?

      16          A       Like I said, not that I recall.                     No.

      17          Q       Getting back to the equipment, what printer did

      18    you use to print the order on?

      19                  MR. BUTLER:          Objection, relevance.

      20                  THE WITNESS:          I don't recall.

      21                  THE COURT:         Overruled.

      22    BY MR. KIBBEY:

      23          Q       You don't recall.             Was it in your department or

      24    was it at the State Attorney's Office?

      25          A        I would have printed it in my department.


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       1          Q        So is there any explanation for why Judge

       2    Belanger's order looks to have been printed exactly the same

       3    way on the same equipment?                Did you print his order?

       4          A        I have no idea.

       5          Q       Wait a minute.           You don't know if you printed

       6    Judge Belanger's order?

       7          A       Like I said, I don't recall seeing the order.                               No.

       8                  MR. KIBBEY:          Your Honor, we would move to have

       9    these both admitted as exhibits.

      10                  THE COURT:         Any objection?            The one order is

      11    admitted already.

      12                  MR. BUTLER:          Right.         I believe the witness

      13    couldn't identify Judge Belanger's order.                         What is the

      14    relevance of that?            He says he hadn't seen it before.

      15                  MR. KIBBEY:          Your Honor can draw the relevance

      16    when you look at they are identical, wording, type font,

      17    spacing, etc.

      18                  MR. BUTLER:          That is a smoking gun as to what?

      19                  MR. KIBBEY:          It goes to credibility of this

      20    witness, your Honor.

      21                  THE COURT:         We will allow it over objection.

      22                  MR. KIBBEY:         No further questions.

      23                  THE COURT:         Let's continue.            Mr. Kibbey is with

      24    Mr. Metcalf.         So we will number his next exhibit, whatever

      25    that next number is.


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       1                  THE CLERK:         Six and 7.

       2           (Defendant's Exhibit Nos. 6 and 7 were admitted into

       3    evidence.)

       4                  MR. METCALF:          Judge, I don't think there is any

       5    further questions.

       6                  THE COURT:         Any other questions?               Mr. Butler, do

       7    you have any questions of Detective Crowley?

       8                                   CROSS-EXAMINATION

       9    BY MR. BUTLER:

      10          Q        Just a couple of questions, Detective.                        When you

      11    were talking about the complaints that you had received

      12    prior to getting the actual warrant signed by Judge Cox, did

      13    you receive complaints from any of the adjoining businesses?

      14          A        I believe one of the people that called the chief

      15    was of the adjoining business.

      16          Q       What was the nature of that complaint?                         What was

      17    that person complaining about?

      18          A       The frequency of men in and out.

      19                  MR. METCALF:          Judge, I am going to object.                    If it

      20    is not in the application, then it doesn't really matter.                                     I

      21    am asking questions that were in the application.                             It

      22    doesn't matter what is in his mind.                      It matters that he

      23    wrote numerous citizen complaints.                      So it really doesn't

      24    matter who made them.              I don't see the relevance.                 If it is

      25    in the application, it is what is in the application.


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       1                    MR. BUTLER:          Judge, he has questioned him for two

       2    hours about things that weren't in the application.

       3                    MR. METCALF:          Because, Judge, I have to prove

       4    omissions.          I have to.        They can't -- I have to prove

       5    omissions under Franks and misleading statements.                               So I am

       6    allowed to ask that.

       7                    MR. BUTLER:         And I am allowed to followup.

       8                    THE COURT:         Overruled.

       9    BY MR. BUTLER:

      10            Q       You can answer.

      11            A       There was basically a frequency of men in and out

      12    of the business.             They could also hear what they thought

      13    were sex, I guess sex noises taking place in the spa.                                   That

      14    was basically the complaint.

      15            Q        I am sorry?

      16            A       That was basically the complaint.

      17            Q       When you were describing the actual installation,

      18    at some point you said that you were in the building next

      19    door.       I just wanted to clarify that.                    Was there a separate

      20    physical structure next to the spa?

      21            A        It is basically a strip of offices.                      Directly next

      22    door there is another office that shares a wall.

      23            Q        So it is one building with multiple businesses in

      24    the building?

      25            A       Yes, sir.


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       1            Q       Were you in the office next door to the spa at

       2    some point?

       3            A       The office directly next to it.                     Yes.

       4            Q       You were asked about the Wal-Mart purchase.                             Do

       5    you recall what it was that Lanyun Ma purchased with the

       6    debit card?

       7            A       Yes.      She purchased assorted food.                   Then she also

       8    purchased a box of condoms.

       9            Q       Did she pay for the condoms with the debit card?

      10            A        I will have to refer to the order.                      I don't recall

      11    exactly.

      12            Q       Look at paragraph 10 of your application.                           You

      13    have a photograph in there of Lanyun Ma bending down and

      14    picking up a box of condoms at the Wal-Mart.                             Do you see

      15    that?

      16            A       Yes, sir.

      17            Q       Right above that you talk about how she paid for

      18    the condoms?

      19            A        She paid for the condoms with cash.                       And she made

      20    the other purchases with a card.

      21            Q       For how many total days were you authorized

      22    between Judge Cox and Judge Kanarek to watch what was going

      23    on inside the business?

      24            A       Sixty days.

      25            Q       How many days did you actually watch what was


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       1    going on inside the massage rooms?

       2          A       Thirty days.

       3          Q       How many additional days did you watch the cash

       4    register area?

       5          A       A total of forty-two days.

       6          Q       You described already how from the first twenty

       7    days or so you and Detective Gasbarrini monitored for about

       8    fifteen hours a day?

       9          A       v~es,    '
                                  sir.

      10          Q       After that, did you monitor for less?

      11          A       Yes.

      12          Q       Can you give us a breakdown of that?

      13          A       Yes, sir.        We didn't monitor -- we monitored the

      14    first two weekends.             Following that, we would monitor the

      15    week and then Saturdays and Sunday we no longer monitored.

      16    As of the 26th of December, we monitored from 8:00 a.m. to

      17    9:00 p.m.       That was on the 26th and 27th.

      18                  The 28th we monitored from 8:00 a.m. until 16:30

      19    hours.     We did not monitor the 29th and 30th.                        The 31st we

      20    monitored from 8:00 a.m. to 5:00 p.m.                       We did not monitor on

      21    January 1.       And then the remaining days that was monitored

      22    was no later from 8:00 a.m. to no later to 17:00.                             The last

      23    two days were 4:00 in the afternoon.

      24          Q       During the time, the thirty days that you were

      25    monitoring what was going on inside the massage room, how


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       1    many times did you monitor an individual going into the

       2    massage room receiving some kind of service?

       3          A       That was 145.

       4          Q       Of those 145, how many of those involved sex acts?

       5          A        142.

       6          Q        I think you have already said that the three that

       7    didn't involve sex acts, two of those were actually repeat

       8    customers who had previously or subsequently involved in a

       9    sex act?

      10          A       Yes, sir.

      11          Q       And there was one individual that didn't come back

      12    that was not involved in a sex act?

      13          A       Yes, sir.

      14          Q       Of the 142 sex acts that you were observing, how

      15    many of those sex acts began with a massage, a regular

      16    massage?

      17          A       Eighty-three.

      18          Q       How many of those sex acts involved a sex act

      19    occurring first?

      20          A       Fifty-nine.

      21          Q        So the majority of the time people received a

      22    legitimate massage and then a sex act followed?

      23          A       Yes, sir.

      24          Q       Yet there were fifty -- I am sorry.                       How many?

      25          A       Fifty-nine.


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       1          Q       Fifty-nine different times when people came and

       2    just had the sex act up front.                    Was that then followed by a

       3    massage?

       4          A        Some the sex act was up front and then followed by

       5    a massage and some they came and just received a sex act.

       6                  MR. BUTLER:          Thank you, Judge.

       7                  THE COURT:         Any redirect, Mr. Metcalf?

       8                                  REDIRECT EXAMINATION

       9    BY MR. METCALF:

      10          Q       As far as you mentioned being next door, and we

      11    are talking about,           I want to talk about specifically when

      12    the cameras are being installed.                     So the times you were next

      13    door in that office building?

      14          A       Yes, sir.

      15          Q       Not with the guys installing the cameras?

      16          A       Correct.

      17          Q       A lot of the time you were outside with the women?

      18          A       Yes.

      19          Q       Distracting them?

      20          A       Yes.

      21          Q       That was your job, to kind of dupe them while the

      22    guys were in there installing the cameras?

      23          A       Yes, sir.

      24          Q        Is that correct?

      25          A       Yes.


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                                                                                                   Page
       1           Q       As far as you eluded to the fact that a lot of

       2    this was only visited by men during that twenty-one-day

       3    period?

       4           A       Yes, sir.

       5           Q       Did you guys look at what the national average is

       6    on how many men go to spas as opposed to women?                             Was that

       7    something abnormal?

       8           A       The fact that there was no women clientele at all,

       9    I found that abnormal.               Yes.

      10           Q       Based on what?           Just your personal gut?

      11           A        Just based on I believe common knowledge that both

      12    sexes receive massages.

      13           Q       That debit card, whether what it was purchased

      14    for,   you knew there was a debit card and you knew it was

      15    used at Wal-Mart.            And you had subpoena power with Wal-Mart

      16    to theoretically get those records.                       Right?

      17           A       Yes, sir.

      18           Q       And you later did get those records on that debit

      19    card, didn't you?

      20           A       Yes, sir.

      21           Q       By this time, the use of this debit card and

      22    through your surveillance, you knew there were two

      23    undercover visits?

      24           A       Yes, sir.

      25           Q       Two men who had gone in there.                     So you knew there


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       1    was prostitution going on?

       2          A       Yes, sir.

       3                  MR. METCALF:          Nothing further.

       4                  THE COURT:         Any other defense lawyers have any

       5    other questions?           May this witness be excused?

       6                  MR. METCALF:          Judge, I would ask him to stick

       7    around.

       8                  THE COURT:         Okay.      If you will wait in the

       9    hallway, sir.         Do not discuss your testimony with anybody.

      10    Call your next witness.

      11                                    (END OF VOLUME I OF II)

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       1    STATE OF FLORIDA
                                                   SS
       2    COUNTY OF INDIAN RIVER

       3

       4                                           CERTIFICATE

       5

       6                 I, KATHY DUNCOMBE, a Shorthand

       7     Reporter and Notary Public of the State of Florida

       8    at Large, do hereby certify that I was authorized to and

       9    did report stenographically the foregoing proceedings and

      10    that the transcript is a true and correct transcription of

      11    those proceedings.

      12                DATED this 24th day of                          2019.

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                                              IN THE CIRCUIT COURT OF THE
                                              NINETEENTH JUDICIAL CIRCUIT
                                              IN AND FOR INDIAN RIVER COUNTY
                                              STATE OF FLORIDA

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            FUAD S. ALJADAANI                          CASE     NO.:    3119MM572A
            GARRETT M. ALLEN                           CASE     NO.:    3119MM561A
            JOSEPH R. ANGLESANO                        CASE     NO.:    3119MM366A
            GREGORY ARNONE                             CASE     NO.:    3119MM367A
            JUSTIN L. BAUER                            CASE     NO.:    3119MM421A
            DAVID RAY BLACK                            CASE     NO.:    3119MM350A
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            MICHAEL GRIGGS                             CASE     NO.:    3119MM420A


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            JOSEF JORG                              CASE    NO.:   3119MM345A
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       6    LOUIS G. KIRBY                          CASE    NO.:   3119MM33 9A
            MARK LOUIS KIRK                         CASE    NO.:   3119MM438A
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      18    ANTHONY RANDAZZO                        CASE    NO.:   3119MM433A
            GREGORY ALAN READER                     CASE    NO.:   3119MM376A
      19    BILL MICHAEL RIZKALLAH                  CASE    NO.:   3119MM562A
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      24    LUIS R. VEGA                            CASE    NO.:   3119MM352A
            GEORGE TIMOTHY WARD                     CASE    NO.:   3119MM3 61A
      25    CHARLES WATERHOUSE                      CASE    NO.:   3119MM454A




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       3    DEANGILO LARAYE WILLIAMS                   CASE     NO.:    3119MM400A
            MARK YOUSSEF                               CASE     NO.:    3119MM363A
       4
               Defendants.
       5                                                                                   I
                                                                                       I



       6

       7                     TRANSCRIPT OF HEARING PROCEEDINGS

       8                                 MOTION TO SUPPRESS

       9                        THIS CAUSE came on for hearing before

      10          the Honorable Nicole P. Menz, Judge of the

      11          above court at the Indian River County

      12          Courthouse, Vero Beach, Florida, on the 23rd

      13          day of April, 2019.

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       1    THE APPEARANCES were as follows:
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      19                           Stuart, Florida 34994
                                   BY: Richard Kibbey, Esquire
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            FOR DEFENDANT:         Law Office of Edward J. Mosher, P.A.
       5                           210 South Depot Drive
                                   Fort Pierce, Florida 34950
       6                           BY: Edward J. Mosher, Esquire
       7    FOR DEFENDANT:         Ohle & Ohle
                                   423 Delaware Avenue
       8                           Fort Pierce, Florida 34950
                                   BY: Michael R. Ohle, Esquire
       9
            FOR DEFENDANT:         John    H. Power, attorney at Law
      10                           2182    Ponce De Leon Circle
                                   Vero    Beach, Florida 32960
      11                           BY:     John H. Power, Esquire
      12    FOR DEFENDANT:         Sercombe Law
                                   601 21st Street, Suite 300
      13                           Vero Beach, Florida 32960
                                   BY: Daniel Sercombe, Esquire
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            FOR DEFENDANT:         Stone & Stone
      15                           1964 14th Avenue
                                   Vero Beach, Florida 32960
      16                           BY: Robert E. Stone, Esquire
      17    FOR DEFENDANT:         Law Office Kenneth N. Weaver
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      18                           Melbourne, Florida 32935
                                   BY: Kenneth N. Weaver, Esquire
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            FOR DEFENDANT:         Steve Ziskinder Law Office, P.A.
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                                   Fort Pierce, Florida 34950
      21                           BY: Steve Ziskinder, Esquire
      22
      23
      24
      25


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       1           (The above-entitled hearing continued as follows in

       2    Volume II.)

       3                 MR. METCALF:         Judge, at this time before we go any

       4    further, under State v. Morris,                 622 So. 2d 67, it is a

       5    Fourth District Court of Appeals case.                      I can provide it to

       6    the Court and Mr. Butler a copy.

       7                 THE COURT:        Can you just give me the cite again?

       8                 MR. METCALF:         622 So. 2d 67.            The companion case

       9    to that is Vargas which is a Supreme Court of Florida case,

      10    667 So. 2d 175.        Your Honor, I direct you to footnote 3 on

      11    Morris on the first page, but it goes onto the second page

      12    which is actually page 68 of the opinion.

      13                 Basically while a police officer waited in a

      14    separate room, it did not take part in the search or take

      15    custody of the records.             That is a search for records, but

      16    933.02 deals with search warrants and what you have to do.

      17                 You can't go and apply for a search warrant and be

      18    the affiant and then have nothing to do with execution.                                The

      19    execution of this warrant, Judge, was the installation of

      20    the cameras.       That was the execution.                They were

      21    installing cameras.

      22                 It had to be done in such a way as to minimize the

      23    invasion of privacy and to follow the exact prescription of

      24    the order.      That is what happened in this case.

      25                 They went in and searched a doctor's office.                            The


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       1    officer waited in a separate room and let the solicitor

       2    general do the search.            The Court said, the Fourth DCA said,

       3    no, you can't do that.            You were the one who applied.                    You

       4    are the one who asked for the search warrant.                         And you are

       5    the one authorized to execute the search warrant.

       6                 The delay here, Judge, the search is when they

       7    installed the camera.            The notification comes later.                   He

       8    didn't have anything to do really with the installation of

       9    those cameras.        I just asked him five times.

      10                 He was in the room next door.                   He was outside as

      11    the dupe.     He was the guy faking out the women.                       He had

      12    nothing to do.        He wasn't in there supervising.                    And you

      13    can't delegate that to anyone else.                    He had to be there to

      14    make sure the order was followed.                   He can't let the

      15    Department of Homeland Security do it.                      He cut them loose.

      16    He can't do it.

      17                 Under Morris, the prescription for the cure for

      18    this is suppression.           The warrant is gone.               It is not a

      19    wishy-washy case, Judge.             In that case, under 933.08 it

      20    provides search warrants to be served by officers mentioned

      21    therein.     These guys weren't mentioned in the application.

      22    They weren't the affiants.

      23                 The search warrant shall in all cases be served by

      24    any of the officers mentioned in its discretion, in its

      25    direction.     No one else was authorized in the order.                          No


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       1    one, but by no one other person except in the aid of the

       2    officer requiring it.

       3                That is what is written in there, but Morris goes

       4    on to say if you delegate the authority of other people,

       5    that is the end of it.            So he did exactly that.                He went

       6    outside and tricked these women into coming outside with

       7    him, hung out with them while he delegated it to the

       8    Department of Homeland Security.                  They are not mentioned

       9    anywhere in this order as being authorized to install or to

      10    execute the warrant.           So I would say we stop right here and

      11    that is the end of it under Morris.

      12                THE COURT:         State?

      13                MR. BUTLER:          Florida Statute 933.08 specifically

      14    says that officers who are serving the warrant can be aided

      15    by other officers, other people.                  That is exactly what

      16    Detective Crowley said.             He was present.            He served the

      17    warrant.    He was inside the actual building.                       He was

      18    outside.    He was next door.             He was clearly there.                 He was

      19    conducting the search.            He was serving it.              He was aided by

      20    I think he said technicians from Homeland Security who were

      21    crawling around in the ceiling installing the cameras.                               That

      22    is complete authorized by the statute.

      23                MR. METCALF:          Judge, Morris interprets the

      24    statute, and it is a Fourth District Court of Appeals case.

      25                THE COURT:         What about the paragraph on the bottom


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       1    of page 3?      Obviously, I just was handed this case so I am

       2    only looking at it for the first time.

       3                 But in the first column at the bottom where it

       4    says under the statute it essentially says that the person

       5    who authorizes the warrant must participate in or supervise

       6    the search even where he requires the assistance of others

       7    to do so.     Isn't that exactly what happened here?

       8                 MR. METCALF:         Judge, if you are outside, you are

       9    not supervising the search.               That is exactly right.                He must

      10    participate in or supervise.

      11                 THE COURT:        Right.      So isn't his presence being

      12    there, would that not be supervising others or assisting him

      13    with the installation?

      14                 MR. METCALF:         Judge, if you look at the Morris

      15    case, what he did is he went there and he said to the

      16    solicitor general or whoever it was I will wait in another

      17    room.   That is exactly --

      18                 THE COURT:        He didn't say that.              I don't think

      19    there was any testimony that the detective said that.

      20                 MR. METCALF:         Judge, he left the room.                 How do you

      21    supervise from outside?             How do you participate in the

      22    installation of cameras from outside?                     What we are talking

      23    about, Judge, is --

      24                 THE COURT:        I can think of a number of ways you

      25    can participate.         You can have a discussion about how you


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       1    are going to install those cameras.                    The person installing

       2    the cameras can come back and say this is how we installed

       3    those cameras.        I can think of any number of ways you could

       4    participate in the execution of the installation of

       5    the cameras.

       6                MR. METCALF:          Judge, I would ask the Court to

       7    examine carefully that case.                It appears that he showed up

       8    that day.     He was there and then basically turned over the

       9    search to other people and went into another room.                              I am

      10    sure he could have had discussions, too, about what they

      11    were going to look for and what to do, but that is not what

      12    the Court says.

      13                The Court distinguished it when you leave the room

      14    and turn it over to someone to execute your warrant and you

      15    are not in the same room, that is it.                     Vargas is the same

      16    exact thing in a Supreme Court setting, your Honor.

      17                THE COURT:         Mr. Butler, any additional argument?

      18                MR. BUTLER:         No, Judge.

      19                THE COURT:         I don't think Statute 933.08 and the

      20    Morris case states the proposition that you are proposing,

      21    Mr. Metcalf.       So I am going to deny your request to grant

      22    the motion to suppress at this time under those reasons,

      23    sir.

      24                MR. METCALF:          Your Honor, I think Mr. Butler

      25    referred to Mesa-Ricon.             Again, he simply answered the


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       1    Fourth Amendment allows us to install cameras.                           I take great

       2    issue with that statement, but the specific Mesa-Ricon is a

       3    Tenth Circuit Case that derives, it sets the standard for

       4    the five things that must be present if you are going to use

       5    video.    It is the only case that I know of that specifically

       6    deals with that on a Federal level.

       7                  It derives its authority from United States

       8    Code 18, Chapter 119, section 2516 which is the

       9    authorization of a wiretap.                Your Honor, Mesa-Ricon doesn't

      10    exist without an authorizing statute.                      That case would not

      11    be able to -- it doesn't exist without it.                         So it draws from

      12    that.

      13                  2516 on the Federal level requires that the

      14    warrant be authorized in writing by in this case the

      15    Attorney General, the Deputy Attorney General, the Associate

      16    Attorney General or any Assistant Attorney General.                              It goes

      17    through a list of that.

      18                 Florida, if we are going to allow this kind of

      19    behavior in Florida by the government to go in and tape, we

      20    are going to be making new case law I guess because

      21    Mesa-Ricon is the Federal.               So here the State is analogous

      22    authority going to 934.              934 requires the State Attorney in

      23    wiretap cases to in writing authorize applications.

      24                  So Mr. Butler cannot just get away with saying the

      25    Fourth Amendment.          Mesa-Ricon, there is only one case out


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       1    there that authorizes surreptitious video surveillance, and

       2    that is it.      And it derives it from an enacting statute in

       3    the Federal law.

       4                 Here, we are in the State of Florida now.                          934 is

       5    the enacting statute.            It requires Bruce Colton, only Bruce

       6    Colton to authorize in writing this application.                           It was not

       7    done here.      That is the testimony that has been elicited.

       8                 The State doesn't get to pick and choose and throw

       9    out, hey, we are allowed to do this and you guys figure out

      10    why.   The Fourth Amendment doesn't give them permi.ssion to

      11    do this, Judge.        They have to have an authority.                     And that

      12    is the only possible authority they can draw on.

      13                 So I am asking the Court to grant the motion to

      14    suppress at this time citing 2516 as the acting authority

      15    for Mesa-Rican and 934 for the state wiretap statute.                              It is

      16    the only possibly enacting statute.

      17                 THE COURT:        State, your response?

      18                 MR. BUTLER:        Are we done with the evidentiary

      19    portion?

      20                 MR. METCALF:         No.

      21                 MR. BUTLER:         I prefer to -- I think for purposes

      22    of the record, it is more work for us.                      I think that

      23    submitting a written closing, a written brief at the end,

      24    apply case law would be a better practice than doing

      25    piecemeal.


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       1                THE COURT:         I think Mr. Metcalf is trying to

       2    shorten the motion to suppress by indicating it should be

       3    granted at this time based on the testimony that we have

       4    already heard under Mesa.              Right?

       5                MR. METCALF:          Yes.     And I am also trying to figure

       6    out what direction to go with witnesses because the State,

       7    with all due respect to Mr. Butler, the game they are

       8    playing is we don't have to tell you why we are authorized

       9    to do this.      They can solve the whole mystery if they tell

      10    us under what authority do they think they can put video

      11    cameras in a place where people have a right of privacy.

      12                MR. BUTLER:         Mesa-Rican which is a Tenth Circuit

      13    Case, and there are other numerous other Federal Appellate

      14    Court cases that talk about the use of covert surveillance

      15    cameras that don't capture audio.                   But what Mesa-Ricon talks

      16    about and they discuss this is that Title 3 which is the

      17    Federal Wiretap Code provision doesn't apply to non-audio

      18    surveillance.

      19                But they do say in the opinion that nevertheless,

      20    the general Fourth Amendment requirements are still

      21    applicable to video surveillance and suppression is required

      22    when the government fails to follow these requirements.

      23                 So then what the Court does is the Court says

      24    let's figure out what provisions the Fourth Amendment

      25    requires for video surveillance.                  And they look to some of


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       1    the provisions in the wiretap statutes for guidance such as

       2    the provision that the applicant show that they used other

       3    investigative methods short of installing the cameras.                               So

       4    they adopt that.         In fact, what they say is that we adopt.

       5    We adopt these five requirements.

       6                 So they are not saying that suddenly Title 3

       7    applies.     In fact, they are saying the opposite, that Title

       8    3 does not apply.         Chapter 934 is virtually identical to

       9    Title 3, but there are numerous provisions in 934 that go to

      10    wiretaps.     They don't all apply to video surveillance.

      11                 The general constitutional principles that the

      12    Rican Court adopted seemed to be what the Federal Courts say

      13    should apply when you are dealing with a covert video

      14    surveillance camera.           It still goes back to the Fourth

      15    Amendment.

      16                 So this idea that there is a reliance on Chapter

      17    934 is incorrect.         That is not what the case says.                       In fact,

      18    there is a Florida case.             It is Paul Minotty v. Baudo;

      19    B-A-U-D-0.      It is 42 So. 3d 824, a Fourth DCA from 2010

      20    where the Fourth DCA dealt with the issue of a surveillance

      21    camera that was installed in a business that did not -- it

      22    wasn't supposed to record audio.

      23                 And what the Court said, I will go to the actual

      24    page number here.          I am looking at page 832 of the opinion.

      25    We agree with our sister circuits and they are quoting from


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       1    United State v. Larios which is a First Circuit Court of

       2    Appeals case.       We agree with our sister circuits that by

       3    explaining meaning the text of Title 3 does not apply to

       4    silent video surveillance.

       5                There is no question that every requirement of 934

       6    Title 3 doesn't apply to video surveillance.                         What does

       7    apply are general Fourth Amendment principles which the rack

       8    case lays out pretty well, the ones that they have adopted.

       9                MR. METCALF:          Judge, in Rican, No. 5 in it, the

      10    order does not allow the period of interception to be longer

      11    than necessary to achieve the objective of the authorization

      12    or in any event no longer than thirty days.

      13                 934, the State is saying Rican is cherrypicking

      14    what it wants out of the wiretap statute when the case is

      15    riddled with just saying, look, factually,                      this is more

      16    intrusive than wiretaps.             The safeguards that are in place

      17    for wiretaps, this is even worse to take someone's video.

      18    You are audio recording someone here.                     They are taking

      19    images of naked people.             What more invasiveness could you

      20    be.

      21                Rican codifies, puts into their five-step

      22    procedure, Judge, that that is the order that has to have

      23    that limiting instruction.              It is written within 934 that

      24    you have to have it.           If you don't have it, and there are

      25    cases dealing with wiretaps that if you don't have that


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       1    language in there, if you just put a thirty-day cap, that

       2    defeats the warrant.            Rican doesn't extinguish the

       3    safeguards of 2316.            It amplifies them.             The State is

       4    saying, hey, if you get these five things of Rican, that is

       5    all you need, but you still have to look at the authorizing

       6    analogous statutes because those are there to protect us.

       7                 Rican doesn't just eliminate those protections.

       8    There is no law.          So Ricon is just an interpretation.                       They

       9    basically begged the Federal Government, I think, in their

      10    wording to pass a law if they want to.                       Until then they are

      11    borrowing from the wiretap statute.                     That is what Ricon is

      12    all about.

      13                 Ricon is not necessarily controlling here.                           This

      14    is the State of Florida.              We have Article 1, section 23.

      15    And we have a specific right of privacy in this state.

      16    Article 1, section 12, you can't ignore the Fourth

      17    Amendment, but Judge, Ricon is an amplification of enacting

      18    statutes that govern wiretap.

      19                 Here, there is reasons that you have the State

      20    Attorney do it.         They didn't do that.               These guys were cut

      21    loose.    And they submitted an order that is just some

      22    generic junk.        We are talking about invading the right of

      23    privacy of people in the most intimate setting.                           And Ricon

      24    only deals with -- also is not controlling over this case

      25    because it deals with a medium level of the right to


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       1    privacy, just a medium level.                    We have a high level here.

       2    This was an office.            This is a massage place.

       3                  I disagree with Mr. Butler that you can ignore the

       4    governing statutes because that is what Ricon looked to.

       5                 THE COURT:         Mr. Butler, did you want to make any

       6    further argument?

       7                 MR. BUTLER:         No, your Honor.

       8                 THE COURT:         I am not going to grant the motion to

       9    suppress at this point.              I will take that point under

      10    advisement.       I do know the State wants to submit some case

      11    law with to that.          So for purposes of the hearing --

      12                 MR. METCALF:          We will plod on.              Judge, could we

      13    call John Pedersen?

      14                 THE COURT:         Would you raise your right hand.

      15    Do you swear or affirm that the testimony you are about to

      16    give is the truth, the whole truth and nothing but the

      17    truth?

      18    AND THEREUPON,

      19                                      JOHN PEDERSEN,

      20          Called as a witness on behalf of the Defendants

      21          herein, after having been first duly sworn, was

      22          examined and testified as follows:

      23                                   DIRECT EXAMINATION

      24                 THE WITNESS:          I do.

      25                 THE COURT:         Thank you, sir.


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       1    BY MR. METCALF:

       2          Q       Sir, can you state your name.

       3          A        John Pedersen.

       4          Q       You are employed at the Vero Beach Police

       5    Department?

       6          A        I am.

       7          Q       What is your role?

       8          A        I am the supervisor of the detective division,

       9    lieutenant.

      10          Q       With regards to this case that revolves around the

      11    investigation arrest arising out of conduct at East Spa, did

      12    you supervise in that investigation?

      13          A        I was, and I was assisted by Sergeant Phil Huddy.

      14          Q       Was there anyone above you other than the Chief of

      15    Police?      Was the State Attorney involved in the

      16    investigation?

      17          A       We received assistance from the State Attorney's

      18    Office.      I reported to my captain, Captain Kevin Martin and

      19    Chief David Curry.

      20          Q       Who did you receive assistance from at the State

      21    Attorney's Office?

      22          A       We met with ASA Ryan Butler and Steve Wilson and I

      23    believe there was ASA Hendriks.

      24          Q       Were you working in concert with Indian River

      25    County Sheriff's in their investigation going on as well?


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       1    Were you familiar with that?

       2          A       We were not working their case.

       3          Q       Were you guys reporting back and forth to each

       4    other about your finding and what was going on?

       5          A       What is your exact question?

       6          Q       Were you and the sheriff liaisoning back and forth

       7    about what was happening in your case?

       8          A        I was not, no.          I mean, some of my detectives

       9    might have had conversations with other detectives, but, no,

      10    I was not meeting with other sheriff's department detectives

      11    and asking them about their ongoing case.

      12          Q       The application and orders, there are two

      13    applications for search warrant executed by Vero Beach

      14    Police Department.            There is two orders authorizing the

      15    search warrant.          Did you have any supervisory role in

      16    drafting those applications or orders?

      17          A       No,    I did not.        The detectives, they drafted the

      18    orders and they took them to the State Attorney's Office.

      19          Q       Do you know how they drafted them?                       Did they type

      20    them out or did they cut and past them from some other

      21    order?

      22          A        I don't know.          They would have typed the order and

      23    taken them to the State Attorney's Office for approval and

      24    then to a Judge.

      25          Q       As far as your active role in the investigation,


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       1    did you have any like on a day-to-day basis with monitoring

       2    or following witnesses, anything like that?

       3            A       On a day-to-day basis I monitored the case.                            On

       4    some days I assisted with field surveillance.                             I followed

       5    suspects, persons of interest.                      I assisted other detectives.

       6    I reviewed reports.

       7            Q       Did you apply for any subpoenas or for records or

       8    anything like that?

       9            A       No,    I did not.

      10            Q       You actively covertly followed people, like tailed

      11    them in your car?

      12            A       As best as I can in the unmarked police car that I

      13    have.       I don't know how covert it was, but, yes, I do follow

      14    people in my unmarked police car.

      15            Q       Were you present the day the video was installed?

      16            A        I was not present on scene.

      17            Q       Were you present the day that the notification was

      18    provided and the arrests were made at the spa?

      19            A       Was I present at East Spa on the date that the

      20    warrant was served?

      21            Q       Right.

      22            A        I was at the bank that morning on February 19.                              I

      23    later went to East Spa that morning while our officers were

      24    still there conducting the search and arrest warrant.

      25                    MR. METCALF:          Nothing further.


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       1                  THE COURT:         No other attorneys have questions?

       2    Mr. Butler?

       3                  MR. BUTLER:          No questions.

       4                  THE COURT:         May this witness be excused?

       5                  MR. METCALF:          Yes.

       6                  THE COURT:         Thank you.         You may go about your day.

       7                  MR. METCALF:          I call Detective Chip Brock.

       8                  BAILIFF:        What was the last name, sir?

       9                  MR. METCALF:          Brock.

      10                  THE COURT:         Would you raise your right hand.

      11    Do you swear or affirm that the testimony you are about to

      12    give is the truth, the whole truth and nothing but the

      13    truth?

      14    AND THEREUPON,

      15                                        CHIP BROCK,

      16          Called as a witness on behalf of the Defendants

      17          herein, after having been first duly sworn, was

      18          examined and testified as follows:

      19                                    DIRECT EXAMINATION

      20                  THE WITNESS:          I do.

      21                  THE COURT:         You may have a seat.

      22    BY MR. METCALF:

      23          Q       Good afternoon, sir.

      24          A       Good afternoon.

      25          Q       Good morning.           Can you state your name.


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       1            A       Detective Chip Brock.

       2            Q       You are a detective obviously with the Vero Beach

       3    Police Department?

       4            A       Yes, sir, I am.

       5            Q       You were employed back last year during the

       6    investigation of East Spa?

       7            A       Yes.

       8            Q        It is our understanding that you went in East Spa

       9    as an undercover?

      10            A       Yes, sir, I did.

      11            Q       You went to East Spa.                Did you arrive in your

      12    personal vehicle or an unmarked car?

      13            A        It was an unmarked.

      14            Q       How were you dressed?

      15            A        I was dressed I believe in shorts and a T-shirt I

      16    think is what it was.

      17            Q       Were you aware that East Spa existed prior to

      18    this?

      19            A       No, sir.

      20            Q       When you were brought into this, were you part of

      21    the investigation ongoing or did they bring you in to be an

      22    undercover?

      23            A        I was the undercover.               I did some surveillance

      24    after that.

      25            Q       What kind of surveillance did you do after your


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       1    undercover?

       2          A        Just sitting in the parking lot just observing

       3    cars coming and going.

       4          Q        Preparing applications and warrants, you had

       5    nothing to do with that.               Right?

       6          A       No, sir, I did not.

       7          Q        In the day-to-day operations of the investigation,

       8    you had no supervisory role or anything like that?

       9          A       No, sir.

      10          Q       As far as September 14 and September 18, those are

      11    the dates you went in as an undercover?

      12          A       Yes, sir.

      13          Q       You go in, and you are wearing shorts and T-shirt?

      14          A        Something like that.               Street clothes.

      15          Q       Were you familiar at this time with who you

      16    thought would be inside of the spa?

      17          A       Yes, sir.

      18          Q       Who were you told would be in there?

      19          A        I was told it was going to be Lanfen Ma.

      20          Q       Were you provided a photograph of her?

      21          A       Yes, sir.        Her driver's license.

      22          Q       Anyone else?

      23          A       Not that day it wasn't.                 That day it was Lanfen Ma

      24    is who I was told.

      25          Q       When you went there, was there any other female


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       1    present?

       2          A        I didn't see anyone else.                 When I first walked in,

       3    I heard Lanfen Ma speak to someone else.                         There was like a

       4    curtain, and someone was behind the curtain.                           I heard her

       5    speak to someone.

       6          Q       You were not told about Ms. Zhang?

       7          A        I had, but I don't know the exact if it was during

       8    that time or if it was that or what.

       9          Q        I guess for the record Liyan Zhang?

      10          A       Yes, it was -- I don't know how you say it.                            Zhang

      11    is the last name.

      12          Q        So those are the two people that you thought could

      13    be there?

      14          A       Yes.

      15          Q       Were you told to ask for Lanfen Ma?

      16          A       No, sir.

      17          Q       When I asked you who would you expect to be there

      18    and you said Lanfen, why did you --

      19          A       That was the person that day that they said would

      20    probably be there.            I just knew from the driver's license

      21    photo I had seen.

      22          Q        So they were coming and going.                    You were told that

      23    was going to be the day that Ms. Ma would be the one

      24    working?

      25          A        I don't know who was coming and going.                        I just


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       1    know that they had shown me the driver's license and said

       2    that is probably who is going to be there.                          And I went in

       3    there, and that was who it was.

       4          Q        I don't want to beat a dead horse, but they didn't

       5    show you a picture of Ms. Zhang?

       6          A        I don't know if they did or not, sir.

       7          Q        So on September 14 you go in there.                      Tell us what

       8    happens.      When you walk in the door, what happens?

       9                  MR. BUTLER:          If I could just interpose an

      10    objection.       My understanding of the motion is there is a

      11    motion which challenges the overall probable cause to issue

      12    the warrant which we know is limited to the four corners of

      13    the affidavit.          So you have to go just on the affidavit.

      14                  And then there is another part of the motion which

      15    alleges there were certain material omissions of exculpatory

      16    material.       I know that one of those was a claim that

      17    Detective Brock didn't get the phone number of this woman.

      18    But I am not aware of any other claims regarding his work as

      19    an undercover.          So this sounds more like a deposition than a

      20    motion to suppress that really deals with a fairly discreet

      21    issue that is pled in the motion.

      22                  MR. METCALF:          Judge, I should be afforded the

      23    opportunity.         We are in a misdemeanor case where, A, we have

      24    an escalated time period.                This Court, this county doesn't

      25    afford a gazillion continuances to accommodate a misdemeanor


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       1    case.       I was told by Judge Morgan this case is going to be

       2    over in June.           We have moved as quickly as we can.

       3                     So we don't have depositions.                   I can't possibly

       4    know if there is an omission based on 2,000 pages of

       5    discovery provided by the State because they saw fit to

       6    give me everybody's discovery.                      So I should be able to ask

       7    Detective Brock some questions to see if he omitted anything

       8    from the report because that is under Johnson, one of the

       9    ways to attack a warrant.

      10                    THE COURT:         Overruled.         You may proceed.

      11    BY MR. METCALF:

      12            Q       Sir, when you went in, tell us what you saw.

      13            A        I walked in the door.               There was like a desk right

      14    there.       They had the prices of the different times, you

      15    know, the different lengths of massage you could get.

      16            Q        So they had a menu?

      17            A       Yes, sir.

      18            Q       What were the prices?

      19            A        I don't remember all of the prices.                      From my

      20    report, I remember what I had written down which was a

      21    thirty-minute massage for $50.

      22            Q        Is that what you paid?

      23            A       Yes, sir.

      24            Q       Was that the price on the menu?

      25            A       Yes, sir.


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       1            Q       You walked in.           You now know you are with Lanfen

       2    Ma?

       3            A       Yes.      I was greeted by her.               She escorted me to a

       4    room.

       5            Q       Once inside the room -- I don't need every

       6    blow-by-blow detail, but basically what happened?

       7            A        I went inside.          She told me.

       8                    MR. BUTLER:         Again,      I am going to object.                You

       9    have to specifically plead the motion to suppress.                                  If I

      10    understand correctly, he wants to fish.                          So what that means

      11    is if he hears something which he says is a material

      12    omission, then he is suddenly going to add that to his

      13    motion to suppress.

      14                    The rule is very specific that we are entitled to

      15    know why we are here.               We are entitled to know what the

      16    claims are.          He has filed a motion which specifically lays

      17    out a number of claims that he says are material omissions.

      18    It is unfair to the State to allow them to go and conduct a

      19    deposition and then just Willy-Nilly ad hoc amend motions to

      20    suppress from the middle of a hearing.                          That is a lack of

      21    notice to the State.               How can we prepare for something like

      22    that?

      23                    MR. METCALF:          Your Honor, he didn't prepare the

      24    application.           I don't know if he even knows what is in the

      25    application.           He didn't have anything to do with it.                         His


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       1    testimony, his direct testimony could show that the

       2    applicant misled the Court by misinterpreting everything he

       3    said.

       4                     I have every right to ask him about it.                         And to

       5    find out in advance is impossible.                         I can't know what his

       6    testimony is.           Depositions aren't allowed in a misdemeanor

       7    case.       So how in the world can I accommodate Mr. Butler.

       8                    MR. BUTLER:          He could file a motion for a

       9    deposition because Courts do allow depositions in

      10    misdemeanor cases.              And it would certainly shorten the

      11    length of the hearing if we are going to have to sit here

      12    and listen to a deposition of the fifteen people he has

      13    waiting outside.

      14                    MR. METCALF:          Judge, I am not going to call all

      15    fifteen people.            Detective Brock is a material witness to

      16    what happened in there that established probable cause.

      17                    THE COURT:         I will overrule the objection, but

      18                    MR. METCALF:          We will go quick.

      19    BY MR. METCALF:

      20            Q       Sir, you paid what was on the menu?

      21            A       Yes, sir.

      22            Q       Went into the room.                 Did you receive a half-hour

      23    massage?

      24            A       Yes, sir.

      25            Q       At the end of that massage, what happened?


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       1           A        I got dressed and left.

       2           Q       Were you ever solicited for sex?

       3           A       Yes.

       4           Q       Tell me about that.

       5           A       Well, it started off like any normal massage.                              I

       6    go in there.          I disrobe down to my boxers.                   She tells me to

       7    lay on my stomach.             I laid on my stomach.               She started

       8    rubbing my back.            I thought this is no different than any

       9    other massage.

      10                   Then at one point I felt the bed kind of rock.

      11    And I look and I see one knee on one side of my head,

      12    another knee on the other side of my head.                           She is wearing a

      13    little bitty miniskirt.                I just kind of looked up and her

      14    crotch is right basically on top of my head, maybe this

      15    close from me.

      16           Q       At some point it progresses into did she touch you

      17    in your genitalia?

      18           A       Yes.

      19           Q       You elude to in your, well, you don't elude.                             It

      20    is eluded to that you go through some price structure for

      21    sex?

      22           A       Yes, sir.

      23           Q       What was that?           How did you do that?

      24           A       Well, she, of course, she flipped me over on my

      25    back and she started rubbing my legs and then came up and


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       1    rubbed my penis,           just kind of brushed over it.                    Then she

       2    crawled up like straddling my legs.                        So she is in a little

       3    Spandex minidress now up to her waist so all I see is just

       4    panties.

       5                     She is giggling really awkwardly.                     She asked me

       6    what I wanted.            I played dumb.            I was like I don't know.

       7    What are you talking about?                   Then she started pointing.                   She

       8    wasn't saying anything, but she would be pointing like at

       9    her mouth or at her crotch or the hand job.                            That is what

      10    she would do.

      11            Q       You did nothing to solicit her?

      12            A       No, sir.

      13            Q        She solicited you?

      14            A       Threw it right out there.

      15            Q       You would agree that she at that point had

      16    solicited you for sex or offered to commit sexual acts for

      17    payment?

      18            A       Yes, sir.

      19            Q        She discussed the acts with motions?

      20            A        She was doing the motions, and I kept playing

      21    dumb.       I don't know what you are saying.

      22            Q        She discussed money and sex?

      23            A       Yes.

      24            Q       The transaction, how did it end?                      Obviously, you

      25    didn't have sex with her.                  So how did you get out of there?


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       1          A        I told her I didn't bring enough money with me

       2    that day.

       3          Q       Did that raise any problems that you told her that

       4    that or you just walked out?

       5          A       No, that was it.            She said get dressed.

       6          Q       Did she offer to provide you a phone number?

       7          A       No, sir.

       8          Q       The second time on September 18, now it is with

       9    Ms. Zhang?

      10          A       Yes, sir.

      11          Q       The same thing?

      12          A        Same basic thing.            She was a little more

      13    aggressive, but the same basically.

      14          Q        So she came on to you even harder than Ms. Ma?

      15          A        I think so.

      16          Q       At the end of that, any problems?                      Did you use the

      17    same excuse I don't have any money?

      18          A       The same thing.

      19          Q       Any issue with that?

      20          A       No.     She said check, make sure.                  So I went over

      21    and looked in my pocket and I said no.                        She said, yeah, you

      22    do.   I said, no, I don't.               I said because I want all of it.

      23    I don't want the cheap stuff.

      24          Q       Did she tell you to do it next time?

      25          A       Yeah.


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       1          Q       Did she have any problem with that?

       2          A       No, she didn't seem to.                 She seemed to be okay

       3    with it.

       4          Q       Did she offer to give you her phone number?

       5          A        She did.       Yes, sir.

       6          Q       Did you accept it?

       7          A       No, sir.        I just got -- I don't know.                  For

       8    whatever reason I was getting dressed.                       At one point she

       9    reaches over.         I thought she was going to whisper something

      10    to me so I kind of turned and she kissed me which was kind

      11    of, you know, I wasn't ready for it.                      And I think everything

      12    just kind of got lost from there.                     I just kind of forgot

      13    about it.       And she didn't mention it anymore.

      14          Q       Over the years of your training and experience,

      15    have you ever investigated criminal enterprises, you know,

      16    racketeering, money laundering, any of that?

      17          A       No, sir.        I was always at the street level as a

      18    patrolman.

      19          Q       Were you given any instruction when you went in

      20    there?     If you can obtain information, let us know what it

      21    is.

      22          A       My whole job was just to go in there and, of

      23    course, report everything that I had seen, witnessed and

      24    stuff.

      25          Q       You were solicited twice.                  You were being told


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       1    what to do by Crowley?

       2          A        I mean, they are the ones that told me to go in

       3    and who the people were and what to kind of expect.

       4          Q       Was there no discussion since now they had engaged

       5    in prostitution twice and soliciting you both of just

       6    shutting it down and making an arrest right then and there?

       7          A        I don't know what they discussed.                     They didn't

       8    discuss it with me.            No, sir.           I just went in, and I did my

       9    report.      I was pretty much done with it other than, like I

      10    said, the surveillance once in a while.

      11          Q        So you watched some of the videos, live feeds?

      12          A       Yeah.

      13                  MR. METCALF:          Nothing further.

      14                  THE COURT:         Any questions from any other of the

      15    defense counselors.            Mr. Butler?           I am sorry, Mr. Guttridge.

      16                                   CROSS-EXAMINATION

      17    BY MR. GUTTRIDGE:

      18          Q       Officer Brock, when you first went in there, you

      19    sat down.       You went there.           She solicited you.              There was no

      20    problem with that.            You didn't follow through with that and

      21    you left on good terms.               Right?

      22          A       Yes, sir.

      23          Q       And the second time you went in there the same

      24    thing.     Correct?

      25          A       Yes, sir.


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       1            Q       Did you get the number at the end of the second

       2    time?       Did she give you the number?

       3            A       No, sir.        That is what I told Mr. Metcalf is I

       4    think it just kind of went over my head.                           I didn't even

       5    really pay attention to it other than she asked for it.                                    I

       6    just, I didn't ask her for it.                      She didn't give it to me or

       7    anything like that.

       8            Q       That was at the end?

       9            A       That was at the end.

      10            Q       At the end of the second one?

      11            A       The second one.

      12            Q       At any point in time was there any kind of

      13    uncomfortable, were you put in an uncomfortable position

      14    where she thought you were a law enforcement officer?

      15            A       Yeah, she kept saying -- because she was trying to

      16    explain to me like once again doing the gestures.                               I was

      17    just playing dumb, like I don't understand what you want.

      18    She is like you trouble, you trouble, you are police, you

      19    are police, you trouble, stuff like that.

      20            Q        Is that how it ended?

      21            A       Like I said, it ended she kissed me on the lips,

      22    you know.

      23            Q       Notwithstanding this idea that you are trouble,

      24    you are trouble, which is sort of a term of art with them,

      25    they don't want to get arrested by the police?


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       1          A       Yes, sir.

       2          Q        It ended with her kissing you.                    So she wasn't very

       3    suspicious at that point.                Correct?

       4          A        I guess not.         Even after she was saying you

       5    trouble, you trouble, she was still discussing money.                                And

       6    then, like I say, gave me the peck on the lips at the end.

       7          Q        So based on those two encounters, you would expect

       8    if you went in there again, they would give you a massage

       9    and still see you again.               Correct?

      10          A       Well, if they didn't recognize me, yes, sir, I

      11    would think so.

      12          Q        If they didn't recognize you -- they would

      13    recognize you as being the same person that came in if they

      14    didn't recognize you as a law enforcement officer?

      15          A       Right.

      16          Q       But you had no reason to believe she recognized

      17    you as a law enforcement officer because of the fact she

      18    kissed you?

      19          A       No, sir.

      20                  THE COURT:         Any other defense attorneys have

      21    questions?

      22                  MR. METCALF:          I have one.

      23                                  REDIRECT EXAMINATION

      24    BY MR. METCALF:

      25          Q       Sir, you are not the only officer at Vero Beach


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       1    Police.        Right?

       2            A       No, sir, I am not.

       3            Q       They could have pooled from a different guy.

       4    Right?

       5            A       Absolutely.

       6                    THE COURT:         Mr. Butler, any questions?

       7                    MR. BUTLER:         No questions.

       8                    THE COURT:         May this witness be excused?

       9                    MR. METCALF:          Yes, sir.

      10                    THE COURT:         Thank you.         You are free to go about

      11    your day.

      12                    THE WITNESS:          Thank you, Judge.

      13                    THE COURT:         Call your next witness, Mr. Metcalf.

      14                    MR. METCALF:          Your Honor, can I call Carla

      15    Sutherland.

      16                    BAILIFF:        Face the Judge and raise your right

      17    hand.

      18                    THE COURT:         Do you swear or affirm that the

      19    testimony you are about to give is the truth, the whole

      20    truth and nothing but the truth?

      21    AND THEREUPON,

      22                                     CARLA SUTHERLAND,

      23            Called as a witness on behalf of the Defendants

      24            herein, after having been first duly sworn, was

      25            examined and testified as follows:


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       1                                    DIRECT EXAMINATION

       2                  THE WITNESS:          Yes, I do.

       3                  THE COURT:         Thank you.         Have a seat.

       4    BY MR. METCALF:

       5          Q       Can you state your name, ma'am.

       6          A       Carla Sutherland.

       7          Q       Where do you work?

       8          A       For the Florida Department of Health.

       9          Q       How long have you been there?

      10          A       Since 2015.

      11          Q       You are familiar with why you are here?

      12          A       Yes, sir.

      13          Q       On September 10 or 11 did you conduct an

      14    inspection of East Spa?

      15          A        I did not conduct the inspection.                     No.

      16          Q       Did you go inside East Spa?

      17          A       Yes, I did.

      18          Q       Why did you go in there?

      19          A        I went in to do a compliance inspection along with

      20    the inspector that was inspecting, doing an inspection of

      21    the spa.

      22          Q        Is that normal that the two of you go in there?

      23          A        Sometimes.

      24          Q       The other person with you was who?

      25          A       Cynthia Pagano.


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       1          Q       Did an inspection get done?

       2          A       Cynthia conducted an inspection.

       3          Q       Was there any violations at all during the

       4    inspection?

       5          A        I did not conduct the inspection so I cannot say

       6    on that.

       7          Q       Are you aware of any complaints that have ever

       8    been filed against East Spa with the Department of Health?

       9          A       Yes.

      10          Q       Are there any?

      11          A       There were some in the past.                    Yes.

      12          Q       What kind of complaints?

      13          A       There were unlicensed medical activity going on

      14    which means there were individuals that could have been

      15    practicing and was practicing medicine without a license

      16    which means they were supposed to be licensed as a

      17    therapist.       And some of the therapists were not licensed,

      18    but this was in the past.

      19          Q       Did that shut them down or what happened?

      20          A       No.     Typically, when an individual is practicing

      21    without a license, they are issued a notice to cease and

      22    desist and sometimes a citation.

      23          Q       Did you see any indication of people domiciling in

      24    East Spa?

      25          A        I did not get past the reception area.


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                                                                                                 Page
       1          Q        If an officer said that you reported back that,

       2    that would not be correct?

       3          A       That I seen --

       4          Q       Yes.

       5          A        I did not see if anybody was living there because

       6    I was only in the reception area.

       7          Q       As far as any other complaints, has there ever

       8    been any complaint ever about prostitution in East Spa?

       9          A        I was contacted by Vero Beach PD back in July of

      10    last year that they had received a complaint that there was

      11    prostitution going on in that facility.

      12          Q       From these anonymous sources.                    Right?      Is that

      13    what they told you, from anonymous sources?

      14          A       They didn't say where the complaint came from.

      15    They just said they had received a complaint.

      16          Q       DOH doesn't have any those kind of complaints, do

      17    they, from anybody?

      18          A       Solicitation complaints?

      19          Q       Right.

      20          A        Sometimes the public does file a complaint with

      21    DOH alleging that there is prostitution going on in an

      22    establishment.

      23          Q       Did that ever happen with East Spa?

      24          A       Not to my knowledge.

      25          Q       The women inside East Spa were licensed massage


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       1    therapists?

       2          A       On the day that I went in, yes, sir.

       3                  MR. METCALF:          Nothing further.

       4                  THE COURT:         Any questions from any other defense

       5    attorneys?       No?     Mr. Butler, any questions?

       6                  MR. BUTLER:         No, ma'am.

       7                  THE COURT:         May this witness be excused?

       8                  MR. METCALF:          Yes.

       9                  THE COURT:         Thank you.         You are free to go about

      10    your day.

      11                  THE WITNESS:          Thank you.

      12                  MR. METCALF:          Judge, can I call Kyle Eder.

      13                  THE COURT:         Good morning.           Would you raise your

      14    right hand.        Do you swear or affirm that the testimony you

      15    are about to give is the truth, the whole truth and nothing

      16    but the truth?

      17    AND THEREUPON,

      18                                          KYLE EDER,

      19          Called as a witness on behalf of the Defendants

      20          herein, after having been first duly sworn, was

      21          examined and testified as follows:

      22                                    DIRECT EXAMINATION

      23                  THE WITNESS:          I do.

      24                  THE COURT:         Thank you.         You may have a seat.

      25    BY MR. METCALF:


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       1           Q          Can you state your name, sir.

       2           A          Kyle Eder.

       3           Q          You work for Vero Beach Police?

       4           A          That is correct.

       5           Q          Were you involved with the investigation with East

       6    Spa?

       7           A          Yes.

       8           Q          What was your role?

       9           A          I sent out subpoenas and I did surveillance at the

      10    spa.

      11           Q          When did you send out subpoenas?

      12           A          Multiple times.         Probably a dozen.

      13           Q          What kind of subpoenas?

      14           A          Bank records, credit cards, statements.

      15           Q          When you say multiple times, did this happen after

      16    the video was already installed at East Spa?

      17           A          Which one?      Throughout the whole investigation I

      18    sent out subpoenas.

      19           Q          I understand.        On November 28 there was an order

      20    entered I believe within a day or so that cameras were

      21    installed at East Spa?

      22           A          Okay.

      23           Q          You are aware of that.             Right?

      24           A          I am aware there was video surveillance at East

      25    Spa.       Yes.


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       1           Q       Did your subpoena start after the cameras were

       2    already put in there?

       3           A        I can't recall.

       4           Q       When did you become aware that there was cameras?

       5           A       When we started doing surveillance over there.

       6           Q       You don't have any idea when your first subpoena

       7    got issued?

       8           A        I could find out.            I don't know off top of my head

       9    which one.

      10           Q       You wouldn't have been doing things without

      11    Officer Crowley knowing about it, would you?

      12           A       No.

      13           Q        If you had subpoenaed things, you would think that

      14    Officer Crowley would have put that in the application,

      15    right, if he knew that you had already subpoenaed records?

      16                   MR. BUTLER:          Objection, calls for speculation.

      17                   THE COURT:         Sustained.

      18    BY MR. METCALF:

      19           Q       Tell me about your surveillance.                      Did there come a

      20    time that you were next door to East Spa during working

      21    hours?

      22           A       Yes, sir.

      23           Q       What was the purpose of that?

      24           A       To get a better view of the people coming in and

      25    out.     And I was also recording audio.


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       1            Q       Was there a pole camera already installed

       2    recording people coming in and out?

       3            A       Yes.

       4            Q       There was only one entrance?

       5            A       That is correct.

       6            Q       What better angle did you need than the pole cam?

       7            A       To see them when they are coming in towards the

       8    door.       The camera is not a high-resolution camera.                             You

       9    definitely get a better view yourself when you are standing

      10    right there less than five feet away from the door.

      11            Q       You needed a person to do that?                     You couldn't have

      12    put a camera there?

      13            A        I wasn't involved with the camera install.

      14            Q       How many times did you go next door?

      15            A        Probably about eight.

      16            Q       How did you get in there?

      17            A        I had a key.

      18            Q       Who gave you the key?

      19            A        I got it from the special investigation office.

      20            Q       Did they get permission from the landlord to have

      21    that key or do you know?

      22            A        I don't know.

      23            Q       They didn't tell you whether you were entering

      24    unlawfully or not?

      25            A       They did not.


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       1           Q       You went in and listened.                  You went inside there.

       2    Correct?

       3           A       That is correct.

       4           Q       The purpose of that was to audio?

       5           A       To get a better view of the people coming in and

       6    out.       During that,       I happened to hear audio from the

       7    neighboring business so I recorded it.

       8           Q       How many times did that happen?

       9           A       Every time I was in there.

      10           Q       Did anyone know you were doing that?

      11           A       At my department?

      12           Q       Yes.

      13           A       Yes.

      14           Q       They knew you were audioing?

      15           A       Yes.

      16           Q       Did you use any kind of enhancing equipment?

      17           A       No.

      18           Q        So you could hear through the walls?

      19           A       No.

      20           Q       Do you know the business that used to be there?

      21           A        I do not.       No.

      22           Q       Do you have any idea how long it was vacant?

      23           A        I think it was pretty recent, but I don't know.

      24    It looked like they were doing work in there.

      25           Q       Do you know how many different men you audioed?


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                                                                                                   Page
       1                    MR. BUTLER:          Judge,     I am going to object as to

       2    relevance.          There has been no motion filed with respect to

       3    audio recordings.

       4                    THE COURT:         Sustained.

       5                    MR. METCALF:          I will move on.

       6    BY MR. METCALF:

       7            Q       When you audio recorded, when you did, could you

       8    here acts of sex going on?

       9                    MR. BUTLER:          Same objection, Judge.

      10                    MR. METCALF:          Judge, at this point it is not

      11    included.         There is a material omission and a misleading,

      12    they are misleading the Court by saying we explored all

      13    possible, I mean, that is not the exact language, but

      14    alternative less invasive means.                      This is an alternative

      15    less invasive means.               And if it is working for him, then I

      16    want to know when he started it and why he didn't do it.

      17    And then he can testify.

      18                    MR. BUTLER:         Was that pled in your motion?

      19                    MR. METCALF:          Absolutely.

      20                    THE COURT:         They do articulate several lists of

      21    intrusive means.

      22                    MR. BUTLER:          Is this one of the ones that was pled

      23    they should have recorded the audio from the business next

      24    door?

      25                    MR. METCALF:          Judge, I don't have to specifically


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       1    call out every less invasive means in the motion.

       2                   THE COURT:         I will overrule the objection at this

       3    point.      I will let you go into that.

       4    BY MR. METCALF:

       5           Q       Was the camera already installed when you were

       6    listening in there?

       7           A       Yes.

       8           Q       And you could hear just fine in there?

       9           A        I can't say hear everything, but there are times

      10    when you could hear very clearly.

      11           Q       Did you ever go in there before the cameras were

      12    installed?

      13           A       No.

      14           Q       Do you know if anyone from Vero Beach did or had

      15    access before the cameras were installed?

      16           A        I don't know.

      17           Q       Could you hear sex acts?

      18           A       You could hear noise associated with sex acts.

      19    Yes.     Moaning, yes.

      20           Q       One person in particular, could you hear them

      21    negotiate for sex or talk about sex?

      22           A        I heard them ask for how long they wanted.                          Most

      23    of them said an hour.               Then some guys asked to see what

      24    girls were working.              So they brought the girls out.                    Some

      25    people asked for more than one.


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       1          Q       And then heard them have sex?

       2          A        I heard moaning, yes.               From the front entrance

       3    from when they walk in,             I heard them talking.               And then they

       4    go back and down the hall is where I hear them.

       5          Q       How many men were in there at one time when you

       6    were doing it?          There wasn't like twenty men in there, were

       7    there?

       8          A       No.
       9          Q        Just one?

      10          A       Most of the time just one.

      11          Q       You had seen that specific person come in?

      12          A       Yes.

      13          Q       You watched them come in?

      14          A       Yes.

      15          Q        So you could identify them?

      16          A       Yes.

      17          Q       And then you could hear them negotiate for sex and

      18    have sex just by listening?

      19          A        I don't hear the negotiation for sex.                       I hear

      20    asking about other girls working and then people going back

      21    in the room.

      22          Q       Did you say someone said what do you want?

      23          A       Yeah.      That is that commonly asked.                   They asked

      24    about time, like an hour long, half hour.                         Usually they

      25    would just say times, like I want an hour.


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       1          Q        If you had an amplifying source, do you think you

       2    could have heard better?

       3          A       Maybe because you don't hear everything that is

       4    going on.

       5          Q       When you went into the room, did you have to get

       6    closer to the wall or put your ear up against the wall?

       7          A        I didn't put my ear up against the wall.

       8    Obviously, the closer I was to the wall the better I could

       9    hear, but I never had to physically touch the wall to hear.

      10          Q       Have you reviewed your recordings?

      11          A        Some of them.

      12          Q       You can clearly hear people talking?

      13          A        Some are better than others.                   Some are very clear.

      14          Q       You are able to attribute to that specific person,

      15    the defendants in this case, those conversations because you

      16    were able to identify them.                 Correct?

      17          A       For a couple of them, yes.

      18                  MR. METCALF:          Nothing further.

      19                  THE COURT:         Any questions from any other defense

      20    attorneys?       Mrs. McCain?

      21                                   CROSS-EXAMINATION

      22    BY MRS. MCCAIN:

      23          Q       Sir, when did you send out your first subpoena in

      24    this case?

      25          A        I don't know.


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       1          Q       You didn't bring any of your information with you

       2    today?

       3          A       No.

       4          Q       About when you sent out for a subpoena?

       5          A       No.

       6          Q       Were you assisting Detective Crowley in preparing

       7    the application for the search warrant?

       8          A        I did meet Evans.            The other detective was the one

       9    that completed the subpoenas for the search warrants.

      10          Q        I am asking about the application for the search

      11    warrant.      You are saying that Lee Evans prepared the

      12    application for the search warrant?

      13          A       For the bank records?                 What are we talking about?

      14          Q       No.     For the search warrant to put the cameras in?

      15          A        I did not do the cameras.                  No.

      16          Q       Did you assist Detective Crowley in doing that?

      17          A        I don't believe so.                No.

      18          Q       Who assisted Detective Crowley in doing that?

      19          A        I don't know.

      20          Q       You are saying that Lee Evans --

      21          A        I thought you were talking about bank records.

      22          Q       Lee Evans subpoenaed the bank records?

      23          A       We were both doing subpoenas for the bank records.

      24    You were asking about a search warrant.                         He did the search

      25    warrant to lock the funds in the banks.


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       1          Q       What was the first search warrant you did, without

       2    giving me the date, which is the first subpoena that you

       3    sent out in this case?

       4          A       The first subpoena?

       5          Q       Yes, sir.

       6          A        I don't know.          It was probably for the Wal-Mart

       7    purchases.

       8          Q       For the Wal-Mart purchases?

       9          A        If I had to guess.             I am only guessing.

      10          Q       Which one was the second one?

      11          A        I don't know.

      12          Q       How many did you prepare?

      13          A        Probably a dozen.            Possibly more.

      14          Q       When did you first begin working on this case?

      15          A        I believe it was October.

      16                  MRS. MCCAIN:          I don't have any further questions.

      17                  THE COURT:         Mr. Sercombe, yes, sir.

      18                                   CROSS-EXAMINATION

      19    BY MR. SERCOMBE:

      20          Q       Detective, who were you able to specifically

      21    identify listening through the wall?                      Which defendants?

      22          A        I don't know off the top of my head.

      23          Q       Do you know Anglesano?                Was he one?

      24          A       The name.

      25          Q       How were you able to identify him based on


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       1    listening through the wall?                 How did you do that?

       2          A       As I said,        I was watching them coming in and out

       3    of these businesses.

       4          Q        So you timed him going in and then be able to know

       5    that it was him?           Could there have been other customers in

       6    there as well?

       7          A        I don't know if there were any other customers in

       8    there at the time.

       9          Q        So did you identify him based on the fact that he

      10    was the only one who went in?

      11          A        If I was at the business next door or I was in

      12    close proximity to where I had eyes on him.

      13                  THE COURT:         Mr. Golden, yes, sir.

      14                                   CROSS-EXAMINATION

      15    BY MR. GOLDEN:

      16          Q        I just want to make sure we are seeing the same

      17    thing you are saying.              You are in the adjoining business or

      18    property monitoring what is occurring next door.                             Right?

      19          A       Yes.      It is a strip plaza.

      20          Q       Yes, sir.        And the business that you are in, does

      21    it run as deep as the spa business next door?

      22          A        I don't know if it has the same layout, but it

      23    runs just as deep.            There is a long hallway that goes all

      24    the way back.

      25          Q        So when you are listening, you are able to change


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       1    locations within the premises you are in.                           Correct?

       2            A       Correct.

       3            Q        So when someone walks into the business next door

       4    where the front desk is, you are positioned,                           I am assuming,

       5    more up front?

       6            A       Correct.        I am still close to the door where they

       7    first walked in.

       8            Q       When they are taken farther back to one of the

       9    interior rooms, you are able to change your location, also?

      10            A       Yes.

      11            Q       When you tell us that you are able to hear, you

      12    are not hearing as you state put up front where you were

      13    initially or I am assuming you are moving back, also?

      14            A        I get a better view back further into the

      15    business.

      16            Q        So you are able to do that on each occasion

      17    depending on where you think they are moving next door,

      18    also?

      19            A       Yes.

      20            Q       Are you wired in at all visually to any of

      21    the cameras or monitors that are set up there?

      22            A       No.

      23            Q       At all?

      24            A       Correct.

      25            Q        So you are doing this by guesstimation, if you



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       1    will.       Once you assume that the business is done or

       2    concluded at the front desk and they are moved to the back,

       3    you are moving along inside?

       4            A       That is correct.

       5            Q       Are there adjoining walls to any of the those

       6    massage rooms to where you are standing inside?

       7            A       Are there adjoining walls?

       8            Q       Well,     I mean, any of the massage rooms that you

       9    are talking about, are they adjoining

      10            A       They share a wall?

      11            Q       Yes, sir.

      12            A       Like am I on the other side of the wall directly?

      13    I don't know.           I have never been in the East Spa.

      14            Q       But that is how you are able to hear what you have

      15    described.          Correct?

      16            A       Yes.      I am trying to get as close as possible so I

      17    can get the best audio.

      18                    THE COURT:         Mr. Chrzan,         I think you are here as an

      19    observer, sir.

      20                    MR. CHRZAN:         Well, no, actually, Judge, about an

      21    hour and a half ago I filed motions to join.                             I just haven't

      22    had an opportunity to put that on the record.

      23                    THE COURT:         Who is your client?

      24                    MR. CHRZAN:         My clients are Jon Peshke,

      25    P-E-S-H-K-E, 2019MM358.                 Brian Olaisen, 2019-411.                Rong Li,


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       1    L-I, 2019MM398.            John Broecker, 2019MM353.                  And Louis Crook,

       2    2019MM417.

       3                    THE COURT:         Say the second again, sir.

       4                    MR. CHRZAN:          Brian Olaisen, 0-L-A-I-S-E-N.                   Rong

       5    Li was L-I.           And Broecker was B-R-0-E-C-K-E-R.

       6                    THE COURT:         Okay.      Yes, sir.

       7                                     CROSS-EXAMINATION

       8    BY MR. CHRZAN:

       9            Q       Three brief questions.                You said you moved

      10    throughout to get a better view?

      11            A        I could never see what was going on.                       If I said

      12    that, I misspoke.

      13            Q       What was the type, and I know that said this so if

      14    you did I apologize, the type of recording device that you

      15    used?

      16            A        It is a small one you can buy at the store.

      17            Q       Like a little micro recorder?

      18            A       Yes.

      19            Q       Did you hold that up against the wall?

      20            A       No.     I held to close to the wall.                   I never held it

      21    against the wall.

      22                    MR. CHRZAN:          I have nothing further.

      23                    THE COURT:         Mr. Golden.

      24                                     CROSS-EXAMINATION

      25    BY MR. GOLDEN:


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       1            Q        I have just a couple of followups.

       2                    The premises that you were in, do you know when

       3    you were able to gain access to that location?

       4            A       Can you explain further?

       5            Q       Sure.      When were you first able to have access to

       6    that?

       7            A       That business?           The adjoining business?

       8            Q       Yes, sir.

       9            A        I believe it was in December.                   I don't remember

      10    the specific dates.

      11            Q       Was how that obtained?

      12            A        I don't know.

      13            Q       Was that anything you did or you were just told --

      14            A        I was told that the next door place was vacant and

      15    that they had a key for it.                   I forgot how they said they got

      16    the key, but they had the key for it.                         And we were able to

      17    go this in there.

      18            Q        I think you indicated that it had been vacant for

      19    quite some time.             Correct?

      20            A        I don't recall saying that.                  I don't know how long

      21    that was vacant.

      22            Q       Do you recall what business was there previously?

      23            A       No.

      24            Q       Do you know why access wasn't obtained earlier?

      25            A       No.


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       1                  MR. GOLDEN:          Thank you.

       2                  THE COURT:         Mr. Sercombe, did you have another

       3    question?

       4                  MR. SERCOMBE:           Chrzan asked my exact question.

       5                  THE COURT:         Any other defense attorneys with

       6    questions?       Mr. Kessler, yes, sir.

       7                                   CROSS-EXAMINATION

       8    BY MR. KESSLER:

       9          Q       Can you tell us how many different patrons or

      10    customers that you audio recorded?

      11          A        I believe it was only three that I could identify.

      12          Q       How many additional that you did not identify?

      13          A       There were times I took recordings where there

      14    weren't even customers in there.                    When the employees were

      15    talking amongst each other and I could hear it barely, I

      16    would record that, also.

      17          Q       But how many customers or patrons do you believe

      18    that you also recorded that you have not identified?

      19          A        I don't know.

      20                  MR. KESSLER:          Thank you, Judge.

      21                  THE COURT:         Any other defense attorneys?                     Mr.

      22    Butler, any questions?

      23                  MR. BUTLER:         No, your Honor.

      24                  THE COURT:         May this witness be excused?

      25                  MR. METCALF:          Yes, your Honor.


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       1                THE COURT:         Thank you, sir.            You may go about your

       2    day.

       3                MR. METCALF:          Your Honor, I would call Joseph

       4    Cappetta.

       5                THE COURT:         Okay.

       6                MR. METCALF:          Homeland Security probably ignored

       7    by subpoena.       Let me just confirm that I gave him the list.

       8                BAILIFF:        There is no response in the hall.

       9                MR. METCALF:          Dedre McCreary.

      10                BAILIFF:        No response.

      11                MR. METCALF:          Xavier Martinez.

      12                BAILIFF:        No response.

      13                MR. METCALF:          The last guy is Mark Phillips.

      14                BAILIFF:        No answer.

      15                MR. METCALF:          Gasbarrini.

      16                THE COURT:         Raise your right hand.                Do you swear

      17    or affirm that the testimony you are about to give is the

      18    truth, the whole truth and nothing but the truth?

      19    AND THEREUPON,

      20                                MICHAEL GASBARRINI,

      21           Called as a witness on behalf of the Defendants

      22           herein, after having been first duly sworn, was

      23           examined and testified as follows:

      24                                  DIRECT EXAMINATION

      25                THE WITNESS:          I do.


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       1                  THE COURT:         Go ahead.         Thank you have a seat.

       2    BY MR. METCAIS:

       3          Q       Can you state your name.

       4          A       Michael James Gasbarrini.

       5          Q       You are a detective with Vero Beach Police

       6    Department?

       7          A        I currently do crime scene investigation.

       8          Q       What was you assignment back in November or

       9    December of last year?

      10          A        I was assigned special investigations unit.

      11          Q       Were you a detective then?

      12          A       Yes, sir.

      13          Q       You were, I guess, kind of co in charge with this

      14    investigation along with Sean Crowley?

      15          A       Yes.      I worked with Detective Crowley.

      16          Q       How did you become involved?                   Was it assigned to

      17    you by the Chief?

      18          A        I would say probably in the fall of 2018 Detective

      19    Van D'Huynslager who was a detective at the time had

      20    received a couple of anonymous complaints about East Spa.

      21          Q       Today, detective Crowley came back out, and you

      22    haven't discussed any of your testimony with him, have you?

      23          A       No, sir.

      24          Q       The videos, were you present the day they were

      25    being installed by the Department of Homeland Security?


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       1          A       Yes, sir.

       2          Q       Where were you located when that was happening?

       3          A       Outside the building.

       4          Q       Where was Detective Crowley?

       5          A       He was partially inside the building and partially

       6    outside the building.

       7          Q       Who installed the cameras?

       8          A       Homeland Security.

       9          Q       Who decided where to put the cameras?

      10          A       Homeland Security.

      11          Q       Where did you get the cameras?

      12          A       Homeland Security.

      13          Q       Did you and Officer Crowley in any way participate

      14    in the installation of those cameras?

      15          A       Minimally.

      16          Q       How is that?

      17          A       Getting the ceiling tiles where the cameras were

      18    placed for Homeland Security as the Department rented the

      19    suite next door for a few months.                     So while they were in

      20    there working, we had been responsible for the suite.                                So we

      21    just kind of managed the suite for them.

      22          Q        So the suite had nothing to do,                   I mean, the suite

      23    was next door.          Right?

      24          A       Yes, sir.        We installed all of the cameras in the

      25    suite next door and then had moved them over to East Spa.


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       1          Q       Okay.      So you kind of stored them there?                        What do

       2    you mean?

       3          A       Earlier in the day, we had taken the ceiling tiles

       4    and the video and had put the video into the actual tiles.

       5    And then once installation was going to occur, moved the

       6    tiles to East Spa.

       7          Q       Who did that?

       8          A        I think partially Detective Crowley and mostly

       9    Homeland Security.

      10          Q        So he helps stage it next door and put the cameras

      11    inside the ceiling tiles?

      12          A       Yes, sir.        He may have helped him, you would have

      13    to ask him, but he may have helped them pass the tiles from

      14    building to building because they did it through the

      15    ceiling.

      16          Q       As far as the location and the decision making,

      17    that was delegated over to Homeland Security?

      18          A       Yes, sir.

      19          Q       Detective Crowley wasn't in there with them when

      20    they were doing that?              He was next door?

      21          A       You would have to ask Deputy Crowley.

      22          Q       Did you ever see him go outside?

      23          A       Yes, sir.

      24          Q       What was that for?

      25          A       The females that were working at the spa were


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       1    outside.      They had some questions.                  So he was helping to

       2    answer some questions.

       3          Q       Were you out there with him?

       4          A       Yes, sir.

       5          Q       What were the questions?

       6          A       They had questions of when they could go back in.

       7    If they had a vehicle there, they wanted to go in the

       8    vehicle because it was a little chilly outside.                            So they

       9    wanted to go in and get warm.

      10          Q       This all started from numerous citizen complaints.

      11    Were you privy to those complaints?

      12          A        Some of them, yes.

      13          Q       They were made to you?

      14          A       Through either the Chief or through email.

      15          Q        So you don't know who made the complaints?

      16          A       The owner of Vero.com was probably our main

      17    complaint.

      18          Q       Like the newspaper Vero.com?

      19          A        It is Vero.com.           They originally had the suite

      20    next door.

      21          Q       Okay.      Were you present when Carla Sutherland and

      22    Cynthia Pagano entered from the Department of Health?

      23          A        I was not present at the spa.                   No.

      24          Q       Do you know when the first subpoena was issued in

      25    this case?


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       1            A       No, sir.        You probably would have to ask either

       2    Detective Eder or Detective Evans.

       3            Q       Are you safe in saying that it was the

       4    installation of the cameras?

       5            A        I actually can't say.

       6            Q       Did you have dealings with the two men that were

       7    stopped outside of East Spa?

       8            A       Yes,    I did.

       9            Q       Did you attempt to stop anyone else other than

      10    those two men in the entire history of this case?

      11            A       Yes.      Once the installation of the cameras

      12    occurred, we had stopped some men leaving.

      13            Q       That were not arrested?

      14            A       No, sir.

      15            Q       What were you stopping them for?

      16            A       No.     We had arrested the ones we had stopped once

      17    the cameras were installed.

      18            Q        So guys would go in -- I don't understand what you

      19    are saying.           What are you saying?

      20            A        It is my understanding you asked if we had stopped

      21    anyone after the installation of the cameras, and my answer

      22    was yes because we had stopped some gentlemen leaving the

      23    spa after they had attended.

      24            Q        So you confirmed who they were and stuff like

      25    that?


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       1            A       Yes, sir.

       2            Q        So if you couldn't get them on a pole camera, you

       3    would pull them over?

       4            A       Yes, sir.

       5            Q       The sole purpose of that stop was to identify

       6    them?

       7            A       Yes, sir.

       8            Q       As far as the installation of the cameras, going

       9    back to that, is it fair to say that the Detective Crowley

      10    delegated that task to the Department of Homeland Security?

      11            A        I wasn't inside the building so you would have to

      12    ask Detective Crowley what he did.                       Like I said, when he was

      13    on the outside of the building, he was helping with the

      14    females that worked at the spa.

      15            Q       The equipment was all Homeland?

      16            A       Yes, sir.        We didn't own any of the equipment,

      17    Vero Beach Police.

      18            Q        So the subpoenas you say are Eder and that is Lee

      19    Evans?

      20            A       Yes.

      21            Q       Did all of the subpoenas?

      22            A       Yes, sir.

      23            Q       Did you do any surveillance?

      24            A        I did.

      25            Q       Going back to those two men, though, they were


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                                                                                                 Page
       1    stopped before the camera.                Do you know who I am talking

       2    about?

       3          A        I do.

       4          Q       That is in September some time?

       5          A        I know the gentlemen you are speaking of.                          Yes.

       6          Q       Were there any other male subjects stopped prior

       7    to the installation of the cameras?

       8          A       Detective Van D'Huynslager and I had stopped

       9    one gentleman coming out of there probably six months prior

      10    before Detective Crowley and I even started with

      11    investigation.

      12          Q       How was that?           What happened there?

      13          A       We started a brief investigation and Detective Van

      14    D'Huynslager was sent back to road patrol.                          And we didn't

      15    have anyone else working the unit.

      16          Q       What did the guy tell you?

      17          A       He advised that he was there from Orlando

      18    installing I think elevators, I believe.                         He had found the

      19    website.       I think it was Romance.                That he had received a

      20    hand job.

      21          Q       That was six months prior?

      22          A       Yes, sir.

      23          Q       Did that find its way into the affidavit?

      24          A        I don't believe so.

      25          Q       Did you tell that to Detective Crowley?


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       1          A       Yes, sir.

       2          Q       This man, did you threaten him with prosecution if

       3    he didn't talk you or arrest if he didn't talk to you?

       4          A       We didn't make any threats or promises.

       5          Q        I am talking about the one guy.

       6          A       Correct, no.

       7          Q       The same with the other two guys?

       8          A       Correct.

       9          Q       Did he tell you that the actions were initiated by

      10    the women inside?

      11          A       He didn't say.           He just advised that there was a

      12    payment involved.

      13          Q       Do you know if it was the same women?

      14          A        I do not know if it was the same women.

      15          Q       What made you stop that guy?

      16          A       The same thing.            We received like a citizen

      17    complaint or through the Chief.                    I don't recall which.               We

      18    had done some surveillance out there and decided just to

      19    stop someone that was leaving and just ask them.

      20          Q       Because of Van D'Huynslager kind of moved onto

      21    something else, it just died?

      22          A       Yeah.      I was in the unit by myself.                   I started

      23    working some general crimes cases.                      So I didn't have time or

      24    the manpower to re-pick up the investigation.

      25          Q       Outside of that third guy, any other stops?


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       1          A       No, sir.

       2          Q       The videos, as far as minimizing what you

       3    captured, every minute that they were on was someone

       4    watching the video live?

       5          A       No, sir.        Only the time that we were manning the

       6    computers.        If we weren't at the computer station or at

       7    home, we had logged off the portal.

       8          Q       There would be times where the spa was open and

       9    functioning and running where you guys logged off?

      10          A       Yes, sir.

      11          Q       Were they still recording, the cameras?

      12          A       Yes, they were recording.

      13          Q       Then what would you do, go back and watch them

      14    later?

      15          A       No, sir.        No one has seen the videos.

      16          Q        So there could be a whole lot of people captured

      17    on video that you know nothing about?

      18          A       Correct.

      19          Q       On civilians?

      20          A       Yes, sir.

      21          Q       There has been no minimization efforts at all with

      22    regard to those people.               Right?

      23          A       No one has looked at the video.                     So I believe

      24    there has been some minimization.

      25          Q       But no one has looked at those videos.                         How much


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       1    footage is there?           How many hours?

       2          A        I wouldn't know the hours or the amount of time or

       3    footage in this.           I haven't gone back and looked at it.

       4          Q        So the cameras never stopped recording.                        They were

       5    set by Homeland Security to record from 8:00 a.m. to

       6    11:00 p.m.        Does that sound right?

       7          A       No, sir.        They recorded twenty-four hours a day.

       8    We were just viewing a certain portion of each day.

       9          Q       Okay.      So they didn't stop ever recording while

      10    they were up?

      11          A       Yes, sir, that is correct.

      12          Q       Do you know where those videos are today, the

      13    recordings?

      14          A       Yes.      They are stored on a hard drive that is in

      15    the Vero Beach Police Department evidence.

      16          Q       They were recording the entire time.                        Were you

      17    guys watching that place the entire time?                         I mean, you took

      18    Sundays and Saturdays off.                Right?

      19          A       Yes.      We had taken days off.

      20          Q        If people, if a little old lady went in there and

      21    received a massage, that is captured and recorded?

      22          A       Theoretically.

      23          Q       Anyone that went in there on your day off, it got

      24    recorded?

      25          A       Yes, sir.


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       1          Q       Were you aware of the directives in the order or

       2    was that mostly Crowley?

       3          A       Detective Crowley wrote the order.

       4          Q       When you say he wrote it, he like came up with

       5    those words or he like cut and pasted from somewhere else?

       6          A       We had used some guidelines from an Indian River

       7    County case.         I don't recall the exact case.

       8          Q        So the minimization requirement that is within

       9    that that says that you guys are to take minimization

      10    efforts to make sure that -- it says while monitoring the

      11    premises to be searched, the executing officer shall take

      12    steps to minimize the invasion of privacy to any parties not

      13    engaged in the unlawful act set forth in the affidavit?

      14          A       Yes, sir.

      15          Q       Realistically, that didn't happen, did it, if you

      16    guys are recording all the time?

      17          A        I believe it did.

      18          Q       How so?

      19          A       We were only viewing the video when we are

      20    actually at the computer desk.                    So we are minimizing any

      21    time, you know, when there is no one in front of the screen.

      22          Q        So your definition of minimization is when you are

      23    watching it?

      24          A       There is only a certain portion of the time that

      25    we are watching.           So at the time we are not at the screen or


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       1    the desk,      like I said, we are not viewing the footage.                            No

       2    one has seen the footage.

       3          Q       Was there any discussion amongst you and Detective

       4    Crowley about the fact his order requested the ability to

       5    monitor and record, but your order only allowed you to

       6    monitor?

       7          A       Yes, sir.         I think once we were able to get or

       8    once Detective Crowley was able to get the affidavit signed,

       9    we believed that it was okay for us to record what was

      10    taking place inside the spa.

      11          Q       But that wasn't               you read the order.              Correct?

      12          A        I read it.

      13          Q        It does not authorize recording, does it?

      14          A       No, sir.

      15          Q       Were you familiar with the fact that Eder and a

      16    few others were recording things next door, audio recording?

      17          A       Yes, sir.

      18          Q       Did you guys ever contemplate installing wiretaps,

      19    audio wiretaps as opposed to video?

      20          A       No, we did not.

      21          Q       Do you know if Eder was recording in that room

      22    before or after the installation of cameras?

      23          A        I believe it was after.

      24          Q       Are you aware of any subpoena that was issued

      25    prior to the installation of cameras?


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       1          A       Not to my knowledge, no.

       2          Q       Every single woman that worked in that spa would

       3    you agree at some point was a witness to have a cell phone?

       4          A        I guess I couldn't say 100 percent, but I would

       5    say the majority definitely had a cell phone.

       6          Q       Were there any thoughts of issuing pen registers,

       7    trap and traces or wiretaps onto their phones to record

       8    their calls?

       9          A        I don't recall.

      10          Q       That certainly never happened.                     Right?

      11          A       No, sir, it didn't happen.

      12          Q       Did you go with Detective Crowley when the order

      13    was executed by Judge Cox?

      14          A       To have it signed off here at the courthouse?

      15          Q       Yes.

      16          A        I believe so.

      17          Q       Did Judge Cox have any clarification questions or

      18    was it in any way unclear what she was ordering?

      19          A        She had gone back to her chambers with Detective

      20    Crowley.       I stayed in the courtroom because they were in the

      21    middle of court.

      22          Q       The order required you guys to report back to

      23    Judge Cox.       Are you aware of that?

      24          A       Yes, sir.

      25          Q       Did you guys ever do that?


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       1          A        I did not.

       2          Q       Do you know if Detective Crowley ever did that?

       3          A       You would have to ask him.

       4          Q       Your application specifically asked for language

       5    that terminates the authorization to monitor and record once

       6    the investigative goals are achieved; is that correct?

       7          A       Yes, sir.

       8          Q       Does that language appear in the order?

       9          A        I don't have the order in front of me.

      10                  MR. METCALF:          So 1 is application, and 2 is order,

      11    3 is application, 4 is order.

      12                  THE COURT:         Make sure you have No. 1 and 2.

      13                  MR. METCALF:          Judge, to correct the record,                   I have

      14    been referring to it, Exhibit 1 is the November 27

      15    application.         Exhibit 2 is the order for November 27.

      16    Exhibit 3 is the application for December 28.                           And Exhibit 4

      17    is the order.

      18    BY MR. METCALF:

      19          Q        I am going to show you what has been entered as

      20    Defense Exhibit 3 and 4.               These are the orders

      21                  MR. METCALF:          I am sorry, Judge.

      22                  THE COURT:         That is okay.

      23    BY MR. METCALF:

      24          Q        I am showing you what has been marked as Defense

      25    Exhibit 4.        That is Judge Kanarek's order.                    Defense


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       1    Exhibit 2 is Judge Cox's order.                    Judge Cox is the first one.

       2    That is the second one.

       3          A       Okay.

       4          Q       Going into that order, we talked about the report

       5    that was there.          Was there any language in there telling you

       6    guys to cease and desist, to stop, terminate, whatever words

       7    the surveillance once the investigative goals have been

       8    achieved or thirty days?

       9          A       v~es,    '
                                  sir.

      10          Q        Is it just the thirty days or does it tell you to

      11    stop once your objective is met?

      12          A        It stops once your objectives have been met.

      13          Q       Does it say that in the order?

      14          A        I don't recall.

      15          Q       That is why I gave it to you.

      16          A       Okay.      Yes, sir.

      17          Q       Where does it say that?

      18          A       That it should cease the surveillance.

      19          Q       Can you read it?

      20          A       Yes.      It says to monitoring of the surveillance

      21    cameras for a period of no longer than thirty days.

      22          Q        So it says thirty days?

      23          A       Yes, sir.

      24          Q        I got that.         But does it say anything about

      25    ceasing, stopping once your investigative goals have been


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       1    obtained?

       2            A       No, sir.

       3            Q       But the application you are requesting that the

       4    Judge issue an order says that; is that right?

       5            A       That is fair.

       6            Q       That same language does not appear in the order?

       7            A       Correct.

       8            Q       The extension order, by the time that next order

       9    is signed, is it fair to say over a 100 sex acts had been

      10    videoed?

      11            A       Yes.      I would say somewhere around that.

      12            Q       Were you familiar with the logic of why there

      13    would be a need to continue?

      14            A       Yes, sir.         There was some new suspects.                  Some were

      15    new.    We were also trying to gather more information and

      16    some more evidence on the suspects that we were continuing

      17    investigating.

      18            Q       Suspects that wound up being arrested or women

      19    that couldn't be identified because you guys didn't stop?

      20            A       There were women that weren't identified at the

      21    time.       There was the business owner, Yongzhang Yan.

      22            Q       He has never been arrested?

      23            A       Correct.        We were still working on that

      24    investigation.            So, like I said, we were extending the

      25    further investigation.


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       1            Q       As far as the cameras, were there any new people

       2    other than the women, any of new people involved with the

       3    criminal enterprise?

       4            A       We had money changing hands.                   We had a gentleman

       5    that was transporting the women.                      Like I said, we still had

       6    Yongzhang Yan who was not consistently at the spa.

       7            Q       The money you are talking about exchanging hands

       8    and the man that was transporting people, that was captured

       9    via surveillance that had nothing to do with videos inside

      10    massage rooms; isn't that right?

      11            A       You wouldn't know that unless you continued to

      12    monitor.

      13            Q       You are referring to Ken Zullo?                     He is mentioned

      14    in the report?

      15            A       Yes, Mr. Zullo and Yan.

      16            Q       You never see him transporting women into a

      17    massage room.           Right?       That is something you see out in the

      18    road?

      19            A       Well, that is where you would have to transport

      20    them is out on the road.                 Yes.

      21            Q        So alternative techniques, other than what has

      22    been going on,          I am talking what is going on in that massage

      23    room,   you don't see any of those continuing things in the

      24    massage room itself?               There is no need to --

      25            A       Not to that point.


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       1          Q        So there was no need to keep videoing until let's

       2    say fifty sex acts?

       3          A        Just because it didn't happen to the point doesn't

       4    mean that we could have seen something in that room that

       5    could have benefited our investigation effort.

       6          Q       All of the women that were seen after the

       7    installation of the cameras other than Zhang, Lanyun Ma,

       8    Lanfen Ma, you knew about Mr. Yan the owner.                           In the second

       9    extension, did you discover any new suspects in the criminal

      10    enterprise?

      11          A       Not in the room, no, sir.

      12          Q        So all of the people in the criminal enterprise

      13    had been identified by the time the extension comes?

      14          A       There was still some female employees that we

      15    hadn't identified.

      16          Q       And they have never been identified?                        Prostitutes?

      17          A       After,     I believe in Orlando there was one woman

      18    that was identified that was in our spa.

      19          Q       As far as the criminal enterprise and the

      20    structure and the exchange of the money, transporting people

      21    and going to and from banks, you would agree all of that is

      22    obtained outside of what was going on in that room; is that

      23    fair to say?

      24          A       Yes, sir.

      25          Q       What is being captured in that room are just acts


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       1    of prostitution?

       2            A       Yes, sir.

       3            Q       You don't see inside of that room what happens to

       4    the money that individual prostitute gets?

       5            A        Sometimes you do.

       6            Q       Like what?

       7            A       Well, if the gentleman that is in the room hands

       8    the female the money, sometimes she may put it in her

       9    brassiere, put it in the desk that is in the room or you can

      10    see her carry the money outside of the room and still have

      11    it her hand when she approaches the desk and put it into a

      12    drawer or bag or what have you.

      13            Q       Were you able to establish tribute payments to the

      14    house from the workers or was the house making the money on

      15    the front end?

      16            A        I think it just depends on the customer.

      17            Q       Are you able to in any way establish that from the

      18    video inside the room what the house is taking?

      19            A       Well, if they pass the desk on the way into the

      20    business and they don't make a payment and then make a

      21    payment inside the room,                I mean, it is fair to say that they

      22    are paying the house fee and the prostitution fee in the

      23    room.

      24            Q       Are you able to ever then see them get paid back

      25    to the house ever?


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       1           A       No, sir.

       2           Q       Again, the only thing exchanging hands and going

       3    on in that room is sex and someone paying the prostitute for

       4    sex?

       5           A        Paying a fee.          Yes, sir.

       6           Q       Were you aware of the investigations going on with

       7    the sheriff in Palm Beach and Jupiter?

       8           A       Yes, sir.

       9           Q       Were you guys all working together or was it just

      10    all a big coincidence this happened at one?

      11           A       When we first started our investigation, ASA

      12    Hendriks advised us it was a coincidence that Martin County

      13    had also had an investigation.

      14           Q        I think I am about done.                Are you aware of any

      15    written authorization provided by the State Attorney Mr.

      16    Colton in this case?

      17           A       No.

      18           Q       For the application?

      19           A       Not to my knowledge.

      20                   MR. METCALF:          I don't have anything.

      21                   THE COURT:         Mr. Guttridge.

      22                                    CROSS-EXAMINATION

      23    BY MR. GUTTRIDGE:

      24           Q        Just briefly.          You had video recorded

      25    approximately 100 in the first search warrant.                             You videoed


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       1    recorded approximately 100 people that were arrested; is

       2    that correct?

       3          A       Yes.

       4          Q       There was a lot of the videotape from that that

       5    was in the massage room that you actually never looked at;

       6    is that correct?

       7          A       Anything during that period when we were operating

       8    at our computers that we were actually on our computers and

       9    watching we looked at.              Anything after that was after our

      10    hours was never looked at.

      11          Q       During all of those incidents and all of that

      12    watching in the massage room, was there anything that would

      13    have given you an indication that you would have obtained

      14    more evidence or evidence of future crimes or things that

      15    you did not already have based on what you had already seen?

      16          A       Yes.      The owner of the business, he wasn't a

      17    staple, if you will, at the business.                       We had some

      18    unidentified girls.             So, yeah, we were building our

      19    investigation through those videos.

      20          Q       You felt that the video would give you more

      21    information about the owner of the business?

      22          A        Probably.

      23          Q        If I am going to somehow be in the massage room?

      24          A       Yeah, it was certainly a possibility.

      25          Q        I understand it was a possibility, but did any of


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       1    the evidence that you obtained from looking at the massage

       2    videos in the massage room indicate that?                         Did any of the

       3    things that you saw in there indicate that you are going to

       4    get any other sort of evidence you had not already gotten?

       5          A       No, sir.

       6                  MR. GUTTRIDGE:           Thank you.

       7                  THE COURT:         Any other questions from any other

       8    defense attorneys?            Mr. Kennedy?

       9                                   CROSS-EXAMINATION

      10    BY MR. KENNEDY:

      11          Q       On behalf of Mr. Jorg.

      12          A       Hi, Mr. Kennedy, how are you?

      13          Q       Hi.     Going to the pole cameras, do you know what I

      14    mean when I say pole camera?

      15          A       Yes, sir.

      16          Q       That was installed several weeks, maybe a month

      17    before the issuance of the surreptitious cameras; isn't that

      18    right?

      19          A       That is correct, sir.

      20          Q        It was set up in the same way, around-the-clock

      21    recording as the interior cameras?

      22          A       Yes, sir.

      23          Q        So there is around the clock capturing of people

      24    coming in and going out of the business?

      25          A       Correct.


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       1          Q       The day of the installation was November 28?

       2          A        I believe the 29th.

       3          Q       The 29th?

       4          A       Yes, sir.

       5          Q        Including November 29.                 So the pole camera would

       6    have captured the execution of that warrant.                            Correct?

       7          A       Yes.

       8          Q       At least as it relates to the outside?

       9          A       Correct, it would have.

      10          Q       That material is on a hard drive in the Vero Beach

      11    Police Department?

      12          A       Yes, sir.

      13          Q       With regard to the two gentlemen,                      I guess you

      14    added a third gentleman that was actually stopped and you

      15    asked them about what had occurred.                       Correct?

      16          A       Correct.

      17          Q       They basically admitted to the information that

      18    you later gained through this video within the massage room.

      19    They basically admit those things happened.                           Correct?

      20          A       Correct.

      21          Q       And Van D'Huynslager, I guess you didn't continue

      22    that because he was no longer involved in that operation?

      23          A       Yes, sir.

      24          Q       But you could have.                 You could have continued to

      25    selectively ask people coming out of the business,


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       1    inobtrusively, discreetly asked people if they wanted to

       2    talk to you.           Correct?

       3            A        I was moved to a different unit.                      I was doing a

       4    different job.            The unit basically got disbanded until

       5    Detective Crowley had joined.                       That is when we re-picked up

       6    the investigation.

       7            Q       You are a detective.                 So you are familiar with the

       8    use of confidential informants?

       9            A       Yes, sir.

      10            Q       No confidential informant was utilized in this

      11    case.       Correct?

      12            A       No, sir.

      13            Q       That is a very common law enforcement technique.

      14    Correct?

      15            A       Correct.

      16            Q        In fact, when you arm confidential informants with

      17    money, you can even record, once you conduct a later search

      18    you can record that that money changed hands.                              Right?

      19            A       Correct.

      20            Q        So you would not only have a transaction and

      21    tangle evidence of that, but you would also have the

      22    testimony of the confidential informant.                            Correct?

      23            A       Correct.

      24            Q       Confidential informants were never used in this

      25    case?


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       1          A       No.     We used an undercover officer.

       2          Q       You are aware of a GPS warrant, a Jones warrant?

       3    Have you ever heard that term?

       4          A       Yes, sir.

       5          Q       You are familiar that in this case on two

       6    occasions, at least two occasions that I am aware of those

       7    were applied for and granted.                     Correct?

       8          A       Yes, sir.

       9          Q       Were there any other vehicles that you continued

      10    to use that technique to track participants in the

      11    enterprise with this sort of suspected trafficking?

      12          A       Yeah.      There was some other vehicles that we

      13    possibly could have used the GPS.

      14          Q       And you didn't do that?

      15          A       No, sir.

      16          Q       With regard to wiretap warrants, did you

      17    participate in the formulation of the video warrants in this

      18    case or was it just Detective Crowley?

      19          A       The actual affidavits?

      20          Q       Yes, the applications.

      21          A       Yeah.      I assisted him with the applications and

      22    some of the things leading up to the applications.

      23          Q       Did you interact with the State Attorney's Office?

      24          A       Yes, sir.

      25          Q       Did you discuss wiretap warrants?


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       1          A        I don't recall.

       2          Q       Do you recall a discussion that maybe a video

       3    warrant might be easier to get than a wiretap warrant?

       4          A       Not that I recall.

       5          Q       With regard to the third person that you

       6    discovered, a guy from Orlando, you said he was an elevator

       7    technician or something like that?

       8          A       Yes, sir.

       9          Q       There is actually an elevator company right next

      10    door; is that correct?

      11          A       Yes, sir.

      12          Q       Did he work for that company?

      13          A       No.

      14          Q       He worked for a different elevator company?

      15          A       The elevator company was out of Orlando.

      16                  MR. KENNEDY:          Nothing further.

      17                  THE COURT:         Any of defense attorneys?                 Mr. Chrzan,

      18    yes, sir.

      19                                   CROSS-EXAMINATION

      20    BY MR. CHRZAN:

      21          Q       Detective, I think you were talking about

      22    continuing the videoing.               First of all, about a third of the

      23    time the cameras were not monitored or there was no live

      24    body viewing.         Correct?

      25          A       There was a portion of time there was no live.


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       1          Q        4:00 p.m. to 8:00 a.m.?

       2          A       For the first I think twenty days.

       3          Q       Did you ever go back and review any of that

       4    footage?

       5          A       No, sir.

       6          Q       What would you have potentially found in the rooms

       7    or in the videoing of the rooms that might have helped with

       8    either the exchange of money in furtherance of a criminal

       9    conspiracy or the transportation of the women?                            What would

      10    you expect to find in those rooms as you continued your

      11    taping?

      12          A       You asked me why we got the extension?

      13          Q       No.     I am asking you specifically what you have

      14    expected to find in the rooms, what would be videoed, what

      15    would be captured on video to show the furtherance of the

      16    criminal conspiracy in terms of exchange of money with the

      17    house and the owners or the transportation of the women?

      18          A        I apologize.         I might misunderstand.                Are asking

      19    for like after hours?

      20          Q       No.     I am asking at any point did you see anything

      21    that furthered the criminal conspiracy inside those rooms

      22    beyond just a sex act between gentlemen and the prostitutes

      23    that were there?

      24          A        Just the money changing hands from the room to

      25    back up front at the desk.


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       1          Q       But you didn't actually see the money being taken

       2    to the front desk, did you?

       3          A       On some occasions, yes.

       4          Q        So there were cameras outside the rooms, too?

       5          A       Yes, sir.

       6          Q       But you never saw how that was being divvied up or

       7    who it was potentially going to in furtherance of the

       8    racketeering?

       9          A       Sure.      The majority of the cash was given to

      10    Lanyun Ma.

      11          Q       That was done outside the rooms.                      Correct?

      12          A        I believe on a few occasions there was money

      13    handed to Lanyun inside the room.

      14          Q       By who?

      15          A       Female worker.

      16          Q       You also mentioned that you said you guys

      17    continued videoing because some of the female employees had

      18    not been identified yet?

      19          A       Yes.

      20          Q       How would you expect other than capturing them,

      21    their faces on video, how would you expect to identify them

      22    through video footage that was taken inside the room?                                Like

      23    a driver's license that fell on the ground?

      24          A       For instance, the female that we had recovered in

      25    Orlando, she started out in East Spa in December.                             She had


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       1    been transported to a spa in Orlando in January.                               We weren't

       2    able to identify her.                Once we recovered her in Orlando in

       3    February, we were able to look at the video in the room and

       4    match her up to identify her.

       5            Q       The pole camera is in existence the entire time.

       6    Correct?

       7            A       Sure.      But each camera gives different angles and

       8    better views.

       9            Q       That identification was not made based on what you

      10    had captured in the room, but based on actually what you

      11    obtained in Orlando?

      12            A       Able to match up it up with video that was in the

      13    room.

      14                    MR. CHRZAN:          I    have nothing further.

      15                    THE COURT:         Any other questions from defense

      16    attorneys?         Mr. Butler, any questions?

      17                    MR. BUTLER:         No questions.

      18                    THE COURT:         May this witness be excused?

      19                    MR. METCALF:             Yes, your Honor.

      20                    THE COURT:         Thank you, sir.            You are free to go

      21    about your day.

      22                    THE WITNESS:             Thank you.

      23                    MR. METCALF:             Judge,     I have no more witnesses.

      24                    THE COURT:         Is the State calling any witnesses?

      25                    MR. BUTLER:          No.


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       1                 THE COURT:        Did you, Mr. Metcalf, want to present

       2    argument today or do you want to rely on your memo?                              I was

       3    going to allow everybody an opportunity to submit additional

       4    authority.      I wanted some input from both the State and the

       5    group of defense attorneys as to how much time.

       6                 MR. METCALF:         I would like some brief argument,

       7    not just rely.

       8                 THE COURT:        Can we take a five-minute break?

       9                 MR. METCALF:         Yes, ma'am.

      10                 THE COURT:        Let's take a five-minute break.

      11                 BAILIFF:       All rise.           Court will be in recess.

      12                                          (BREAK)

      13                 BAILIFF:       All rise.           You may be seated.

      14                 THE COURT:        We are back on the record.                   And I do

      15    need to add an additional attorney, Attorney Kenneth Weaver.

      16    Mr. Weaver, who is your client, sir?

      17                 MR. WEAVER:         His name is Charles Waterhouse, your

      18    Honor, Case No. 2019MM000454.

      19                 THE COURT:        Thank you, sir.             You have been here

      20    throughout the hearing, and I appreciate that.

      21                 MR. WEAVER:         Yes, I have.

      22                 THE COURT:        Mr. Metcalf, did you want to present

      23    some argument?

      24                 MR. METCALF:         Your Honor, just briefly because I

      25    think some things kind of came out that I wasn't aware of.


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       1                  Judge, I don't think I need to go through the

       2    general warrant review.              I think the Court knows how to

       3    review warrants, Franks, Johnson and Leon.

       4                 Your Honor, I have got to be honest.                        I know that

       5    Mesa-Ricon does limit.             I guess my point has been in the

       6    Federal system Mesa-Ricon says we don't have to adopt all of

       7    the requirements of Title 3 of Title 18 because the Fourth

       8    Amendment will kick in.              We don't have to adopt all of that

       9    because that is a Congressional action.                       So Congress hasn't

      10    acted.

      11                  So they adopted their own requirements, but they

      12    pulled the most specific protections out of 2516 that they

      13    could.    And No. 5, your Honor, is a big one.                        In Mesa-Ricon

      14    the fifth requirements, Judge, is that the order does not

      15    allow the period of interception to be longer than necessary

      16    to achieve the objective of the authorization or any of them

      17    no longer than thirty days.                So the order must say that.

      18                 Now, I am going to guess that the State is saying

      19    that that "or" means you have to have one or the other.                                 You

      20    don't have to have both.              But the cases in Florida, your

      21    Honor, that interpret 934, and I know that they are saying

      22    934 is not it, they tell us that you have to have both and

      23    so does the statute.            You have to have both.                And it has

      24    been interpreted what the "or" means in 934.

      25                 And just a reminder, Judge, 934 tracks the exact


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       1    same language of 2516 which authorizes wiretaps.                            Mesa-Ricon

       2    pulled from 2516 the very most important parts in this exact

       3    language they pulled from 2516.

       4                 What we are here today, Judge, to do is decide is

       5    Mesa-Ricon the gold standard?                   Is it?     Because if it is,

       6    they adopted that very language.                    In Copeland, I will cite

       7    again for the record, Judge, I think it is a very important

       8    case, 435 So. 2d 842.

       9                 In that it talks about this language.                        It says the

      10    purpose of the requirement of 934.094(e) which is the exact

      11    same statute as 2516 ( 4) (e) , the exact same statute.                          It says

      12    the purpose of this requirement that the issuing Court

      13    indicate the order whether the order shall automatically

      14    terminate when the desired conversation has been, first,

      15    seized as to prevent a general search in violation of the

      16    Fourth and Fourteenth Amendments to the Federal Constitution

      17    and Article 1, section 12 of the Florida Constitution.

      18                 Mr. Butler is saying he derives his authority,

      19    their authority to do this from the Fourth Amendment, that

      20    you can do searches and seizures.                    There is a Florida case

      21    that says the reason that language is in there is because we

      22    don't want a general search and violation of the Fourth

      23    Amendment.      So I guess there is some small agreement there

      24    that the Fourth Amendment governs.

      25                 It goes on to say that the thirty-day statutory


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       1    maximum is simply a statutory limitation which terminates

       2    every order at the expiration of thirty days regardless of

       3    whether desired communication has been obtained or the

       4    object of the order has been obtained.

       5                 They require that limiting language with the

       6    thirty-day order in this case.                   So Mesa adopts the language

       7    of 2516(4) (e) and (5).            It adopts that language.

       8                 THE COURT:         Isn't that language more you can't go

       9    past thirty days, but if your purpose has been accomplished,

      10    then you may only record for twenty days?                        I think that is

      11    what especially in Mesa is saying.                     I don't see in Mesa

      12    where it indicates that you have to have those two phrases,

      13    parts of No. 5 spelled out.

      14                 MR. METCALF:          Well, Mesa doesn't --

      15                 THE COURT:         Are you saying Copeland is the one

      16    that is going to tell me in the order it is going to say you

      17    have say until your purpose is achieved or thirty days?

      18                 MR. METCALF:          Right.        Mesa doesn't say that,

      19    Judge.    I grant that, but Mesa adopts that No. 5.

      20                 THE COURT:         Agreed.

      21                 MR. METCALF:          We are in Florida.              So we have to

      22    look to Florida law.            And Florida law, again, says under

      23    934, and remember that has been adopted, that has adopted

      24    the language of 2516, but Mesa pulls from that very

      25    important language of 2516 (4) (e) that requires, that statute


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       1    requires both be there.              It requires that the order shall

       2    say that.

       3                 Copeland interprets basically what the word "or"

       4    means.     What the word "or" means is that the thirty days is

       5    just telling you that is a cap, an absolute cap, but you

       6    better have in the order instructions to law enforcement

       7    that they are to stop.             Otherwise, Judge, they are going to

       8    run every one thirty days if they want.

       9                  I applaud the fact that they may have taken

      10    holidays off and Sundays off and not recorded.                           Well,

      11    actually, I guess they did record nonstop.                         That never

      12    stopped.     But the fact that they didn't look when they

      13    wanted a Sunday and Saturday off, they didn't feel like

      14    watching pornography and wanted to have a normal day, they

      15    didn't look.

      16                 But this is designed to prohibit them from just

      17    making an investigation go on forever, that language.                               And

      18    they didn't include it.              What is really important, Judge, is

      19    they put it in their application.                    They knew they had to

      20    have that language in the application.                       But where they

      21    failed, your Honor, is they printed out some form order that

      22    has been bouncing around for fifteen years, according to

      23    Detective Crowley, that hasn't been reviewed.                          They failed

      24    in putting that limiting instruction.

      25                 Your Honor, there may not a specific -- Mesa-Ricon


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       1    may not say that, but the Copeland case is binding because

       2    it adopts the same logic of Mesa.                     And that protection is

       3    there for a reason.            It talks about it is there in Copeland

       4    to prohibit general searches that are prohibited in the

       5    Fourth Amendment.

       6                  Judge, we must also recognize in Article 1,

       7    section 23 we are free from government intrusion.                             We have a

       8    specific right of privacy.               So, Judge, that is one of the

       9    big points I would also make.                    Your Honor, the building next

      10    door was never contemplated in the motion because that came

      11    out today.       They are in there basically listening.

      12                 One of the requirements in Mesa-Ricon is that

      13    No. 4, the Judge issuing the order find that normal

      14    investigative procedures have been tried and have failed and

      15    reasonably appear unlikely to succeed.                        They have tried for

      16    a period to be too dangerous.

      17                 Your Honor, this case is chocked full of

      18    alternative techniques that I believe Officer Crowley

      19    intentionally misled this Court about whether they would be

      20    successful.       He admitted the ones that he didn't put in

      21    there.    If he does that, he cannot reasonably rely on the

      22    protection of Leon.           You can't do that.               You can't mislead

      23    the Court and have material admissions and then fall back on

      24    Leon and say, well, I just followed what the Judge said.                                   If

      25    you are responsible for the material misleading, then Leon


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       1    is not going to shield you.

       2                 But what they did in here is they misled the Court

       3    in believing we sent in a guy, an undercover in the second

       4    visit.     There is a little suspicion because it is the same

       5    guy.     They have a whole arsenal of police at their beck and

       6    call they could have sent in there.                     They could have sent in

       7    an unknown number every time a new girl came in.

       8                 THE COURT:         And how is sending in ten different

       9    undercovers ever going to lead to evidence of deriving

      10    support for prostitution or RICO?

      11                 MR. METCALF:          Because, Judge, you can do it in

      12    combination with other investigatory techniques.                            If you put

      13    a wiretap in there which is less invasive and you have an

      14    audio wiretap or you have Eder next door with a listening

      15    device listening in, maybe get a warrant to amplify that.

      16                  So it is the totality of the things they could

      17    have done.       They could have had a wiretap along with sending

      18    in undercovers.         Undercovers establish every time a new girl

      19    comes in.      You establish who she is.                 And she solicits that

      20    undercover.       So now you know she is engaging in

      21    prostitution.

      22                 All you need now -- you don't have to see it.                              I

      23    don't mean to sound -- we don't have to see crimes being

      24    committed to prosecute them.                This is a new standard that

      25    they have committed.            I guess I am going to have a defense


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                                                                                               Page 201
       1    in every case from now on that if they don't have videotape,

       2    they can't prove it.

       3                They could have used less invasive techniques of

       4    sending in undercovers, establishing each individual girl as

       5    they came was engaging in prostitution.                      Then at that point

       6    you wiretap.       You get their phones.               They all had phones.

       7    You find out who they are.              They didn't get the first phone.

       8    They didn't do the first trap and trace, no pen registers.

       9    They could have tapped their phone calls.

      10                They could have identified the entire racket, who

      11    was doing what.        And they mislead the Court in saying that

      12    those techniques don't work.

      13                 Judge, they don't say that we can't achieve our

      14    goals by using the undercover.                  They are saying it won't

      15    work because he will get found out or that you have to

      16    consummate the act.          You don't have to consummate the act.

      17    Solicitation is a crime in and of itself.                       Engaging is

      18    offering to commit.           They establish it every time they send

      19    in an undercover.

      20                You use that in combination with other

      21    investigatory techniques like wiretap that you don't have to

      22    invade privacy of God knows how many people because they

      23    really don't know.          They have no idea how many people they

      24    have recorded.

      25                 So, Judge, I think that leads us into there was no


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                                                                                                  Page
       1    minimization.         Minimization is, okay, we are not just going

       2    to not watch it.           They recorded nonstop.                 Judge Cox

       3    asterisks that part in her order.                      She told them.

       4                  What is an invasion of privacy, Judge?                          Is an

       5    invasion of privacy, are they only protected if the officers

       6    actually watch it or is the actual invasion the video

       7    itself?

       8                   Judge Cox put a big asterisk next to the line

       9    while monitoring the premises to be searched, the executing

      10    officer shall take steps to minimize the invasion of privacy

      11    to any parties not engaged in the unlawful act set forth in

      12    the affidavit.

      13                  THE COURT:         Do you think just by its very nature

      14    that the cameras recorded twenty-four hours a day for sixty

      15    days, that that in and of itself indicates no minimization?

      16                  MR. METCALF:          Absolutely.           Absolutely, Judge.              I

      17    will tell you it is part of the motion, and I understood you

      18    were hearing the next one, I know this because I was sent a

      19    recording of a woman.              They just happened to let it loose in

      20    the sheriff's case.             They haven't let these loose yet.                       They

      21    exist.     They know they exist.                  And they invaded the right of

      22    privacies of innocent people.                     And they said at least three

      23    men that they know of went in there and didn't commit sex

      24    acts but were recorded.               So not monitoring it.                They were in

      25    charge.


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                                                                                                 Page 203
       1                  THE COURT:         What would it matter if it was

       2    recording from 11:00 p.m. to 8:00 a.m. when the business was

       3    closed?

       4                  MR. METCALF:          Well, I suppose that wouldn't.                     But,

       S    Judge, if they took a day off and they weren't at their

       6    computers but that spa was open, which they did Saturday,

       7    Sunday, big days maybe for that spa.                       They recorded all day

       8    long.     And they captured innocent people by their own

       9    admissions, the three men.

      10                   Judge, there was no minimization techniques

      11    employed here.          If you capture -- unfortunately, even

      12    through deposition I will never know.                       It will require

      13    and Judge Morgan entered an order in the other case for them

      14    to turn over every video to me because of that exact act.

      15                  We know the Vero Beach Police did the exact same

      16    thing.     They recorded innocent people.                     That is what Judge

      17    Cox told them not to do.               How many times can you not

      18    minimize and it be a problem?                     If it is just one little

      19    thing and they slipped up, okay.                    They admitted under oath

      20    that it went on all the time.

      21                   So the thirty days, the first thirty, I think they

      22    said out of the total sixty they know about thirty of them.

      23    They still tape the other thirty days.                        So they only have

      24    given over SO percent of the videos.

      25                  THE COURT:         I anticipate the State probably will


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       1    assert an argument that the minimization occurred when they

       2    are sitting at their computer and they are monitoring those

       3    cameras.    And that when they see that there is not a sex

       4    act, they are not watching it.

       5                MR. METCALF:          But, Judge

       6                THE COURT:         Is that not minimizing?

       7                MR. METCALF:          No, because here is the problem.

       8    They recorded it.         They weren't authorized to do that, by

       9    the way.    They recorded it.             And they now have it in their

      10    possession.      And I am quite positive they didn't mean to

      11    turn it over to me in the other case, but they did.

      12                 So if he can turn it over in that other case, I am

      13    not going to accuse the police that they are going to mass

      14    release it, but they could.               When they record it is the

      15    invasion.     It is not the dissemination of it.                      It is the

      16    invasion that potentially -- your Honor, I would be

      17    petrified to think that there is a recording of me

      18    innocently going to a spa, and it is out there.

      19                 If it is a woman that is going in there that is

      20    sixty years old, I guess they could probably know.                              They are

      21    making that judgment call, and they didn't make the judgment

      22    call.   So just shutting their eyes off or turning their

      23    computer off and not watching this video, the invasion

      24    happened and they admitted it about three men.                          That is the

      25    most important part.           They admitted that three innocent men


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       1    were recorded that weren't charged.

       2                They also omitted a material fact that they

       3    stopped a third John.            That is huge because they said, oh,

       4    we didn't want to tip off anymore.                    They did two in one day.

       5    Both cooperated.         Six months earlier they get a full

       6    cooperator.      These men aren't offered immunity.                      They tell

       7    exactly the same story that Detective Brock tells.                              They say

       8    they can't use them anymore.               They write in their affidavit,

       9    oh, we can't use them because we are afraid they will tip.

      10    That is just not believable.                It is a material misstatement

      11    to the Court.

      12                 I think Mr. Kennedy brought up that they didn't

      13    even contemplate or address with the Court the possibility

      14    of using a confidential informant.                    They could have sent in

      15    a CI to go in there to infiltrate the entire organization.

      16    Judge, this is what they keep referring to.                        We are

      17    concerned about money laundering.                   We are concerned about

      18    racketeering.       They are using prostitution as a predicate

      19    act.   I get it.

      20                But how many predicate acts of prostitution do

      21    they need to prove racketeering?                   The minimum is two.             They

      22    have got 100.       And it is not until January 10 that there is

      23    a conversation with the State that they basically say, okay,

      24    we are going to stop video in the rooms.                       After 150 people,

      25    they decide, oh, we have got enough.


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       1                 Under their logic, this warrant could keep going

       2    and going every time a new woman came in.                        They could say,

       3    well, she is deriving funds.               We need that predicate act to

       4    prove that.      They knew the four central people involved in

       5    this case on the first day.               Ken Zullo is the only other

       6    person that comes along.             And he is charged with

       7    transporting prostitution.              That is it.

       8                 Everyone else they knew about.                     They knew who

       9    Lanyun Ma was.        They knew Lanfen Ma.                They knew Ms. Zhang

      10    and one other lady that they wound up getting captured in

      11    the video.      That is it.         And for that they ran a video until

      12    they got 150 men.

      13                 Finally, Judge, the monitoring only, I know that

      14    has been hanunered and hammered.                  Judge, I expect the State

      15    is going to argue a case called State v. Hume.

      16                 THE COURT:        How do you spell that last name?

      17                 MR. METCALF:         H-U-M-E.          It is in my memorandum.

      18    Actually, it is not in my memorandum.                      It is State v. Hume.

      19    I can give you the case cite.                   It is 512 So. 2d 185.              It is

      20    a Supreme Court of Florida case.                    It basically says if

      21    officers are allowed to record with a body camera, then they

      22    are allowed to monitor.

      23                 So an officer goes in in an undercover capacity.

      24    He is wearing a body camera.                It is a drug bust, I believe.

      25    They are saying if you can monitor that, he can send it out


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       1    to the other officers.              They can sit there and write notes

       2    about what they are hearing and seeing on the body cameras.

       3    But why do that because when you can just record because the

       4    recording would be a better memorialization than a writing.

       5    So they say if you can monitor in that case, of course, you

       6    can record.

       7                  THE COURT:         But that is a body camera?

       8                  MR. METCALF:          That is a body camera case on a

       9    warrantless search.             It is not a search rather, Judge.                         Here

      10    is the big difference.              I want the State if they have it to

      11    show a case where you can go into a place where there is a

      12    right of privacy where a warrant has been issued, and they

      13    say monitoring and recording there is no difference.                                 I

      14    can't find that case.

      15                   So the fact that these men had an expectation of

      16    privacy, it appears we don't know and we are not here to say

      17    who wrote that order, whether it was Crowley or they cut and

      18    pasted or it was Judge Cox who did it herself.                             It doesn't

      19    matter.      Judge Cox signed it.                 Judge Cox had the ability to

      20    add things to it, subtract things to it.                          They could

      21    question her.         They could clarify it.                 They could do all

      22    kinds of things.           They didn't do that.                She signed an order

      23    that only allowed monitoring.

      24                  The big important part to this, Judge, is she had

      25    a ten-day report back.              You are to report back to me within


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       1    ten days about what you did, about your doings.                           They

       2    ignored that.

       3                 I believe, Judge, there is case law that

       4    establishes that a fatal flaw in and of itself.                           You can't

       5    ignore that.       It is not just you are in contempt of the

       6    Court's order.        There is a reason for report back.                         I want

       7    to know what you did, what you installed.                        They are saying

       8    we don't have an inventory yet because we don't have any

       9    recordings yet.

      10                 I don't know that that is true.                     They have to come

      11    back with an inventory which exists in the sheriff's case,

      12    by the way, where they installed how many cameras, what they

      13    were doing, what they were receiving.

      14                 At that point, Judge, the purpose of you coming

      15    back to me and telling me what you did, maybe then she

      16    grants the recording.           Maybe she just wants them to monitor

      17    it first to see if they can see what they think they are

      18    going to see and then, okay, now you can record.

      19                 But she limited it.                Whether she wrote it, whether

      20    she came up with that language or they materially misled

      21    her, it doesn't matter.             She didn't authorize it.                 And they

      22    are not allowed to decide for themselves what they can and

      23    cannot do.      They are limited by that order.                     I think that is

      24    a fatal flaw to what they did.                   They executed it wrong.

      25                 And I started out this by saying, Judge, you can


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       1    find probable cause.            I can fail Franks.              I can fail all of

       2    that, but you cannot issue an order that is illegal.                              And

       3    you have to abide by the rules and you can't operate outside

       4    the order.

       5                 You can't authorize waterboarding.                       And if you

       6    authorize a search and seizure of, you know, a car, they

       7    can't go out on their on and say, well, we are going to

       8    search the house.          You have to follow the commands that you

       9    were given.       There is a ten-day callback.                   They don't do it.

      10    They don't provide an inventory as required in the order.

      11    Judge, finally, they go ahead and record when monitoring was

      12    only allowed.

      13                 Those are the big points, your Honor.                        I provided

      14    obviously a very long memorandum.                    I would ask the Court to

      15    find those the things I felt I needed to supplement.

      16                 THE COURT:         Does any other defense lawyers want to

      17    make any other closing argument on the record?                           I am going

      18    to allow an opportunity for you all to submit authority.                                  We

      19    are going to talk about that.                    Is there any additional

      20    argument?

      21                 MR. KENNEDY:          I just want to say two things, your

      22    Honor.

      23                 THE COURT:         Yes, sir, Mr. Kennedy.

      24                 MR. KENNEDY:          With regard to the ten days, I just

      25    want to point out if that violation of the warrant is


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       1    considered to be fatal, and I think it should be, then it is

       2    not a dispositive ruling.              In other words, the State can

       3    still proceed based on what the officer saw if he takes out

       4    what they saw isn't right.

       5                 So this Court could grant that motion and prevent

       6    the introduction of the evidence that was recorded.                             I just

       7    add to that being Fourth Amendment invasion because it is an

       8    ongoing invasion because that intrusion continues so long as

       9    that evidence exists.

      10                With regard to comment of Mr. Butler that the

      11    Fourth Amendment is a source of authority for invasion of

      12    privacy, that is the opposite of my understanding of the

      13    Constitutional protections and even 934 limit the State's

      14    law enforcement ability to invade privacy.                        It is not a

      15    source of authority.

      16                 In Florida, under Article 123, section 23 there

      17    has to be a specific source of authority, and I believe it

      18    is this kind of interception of communication.                          So if there

      19    isn't specific grant of authority and the State is not

      20    relying on 934, then there is no authority for the issuance

      21    of a warrant.       It is a warrantless search.                   We all agree if

      22    it is a warrantless search, it is illegal.

      23                 I just join with Mr. Metcalf in all of the

      24    deficiencies as it relates to the failure to exhaust the

      25    techniques, the misleading and omissions as it relates to


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                                                                                                Page 211
       1    those efforts.

       2                 MR. METCALF:          Just very quickly, the huge task

       3    before the Court, if the Court was to find that those

       4    deficiencies in and of themselves, and what I am talking

       5    about is the ten-day callback, not having the limiting

       6    language to stop and these things that just kill the warrant

       7    by themselves, if the Court was to find that those didn't

       8    have, you know, Judge, you have to look at necessity.                               When

       9    did this stop becoming necessary.                    When was enough enough.

      10                 And Mesa-Ricon talks about what needs to be in the

      11    order, how long do they keep getting to say we need to do

      12    this?    We have to look at necessity as well.                        Is that no

      13    longer needed.         So we have to analyze maybe the warrants if

      14    we get to that point, and I think we don't get to that point

      15    clearly, but is the extension necessary?                        In Palm Beach,

      16    five days was enough.             That is crazy to me that we needed

      17    sixty.

      18                 Your Honor, the last thing is I do not yield that

      19    Bruce Colton wasn't required to authorize this application.

      20    Again, that is 934 language, but it exists in the statute

      21    that gave rise to Mesa-Rican that they pulled from.                              I don't

      22    read Mesa-Rican saying if these five things are done that we

      23    don't have any problem with you.                   You might have a problem

      24    with the Fourth Amendment, but you still, your Honor, there

      25    are reasons prosecutors have to authorize applications like


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       1    this.

       2                   I have a lot of cases that talk about, again, with

       3    no disparaging meant to Judge Cox, rubber stamping orders.

       4    It looks like that is what happened here.                         There was no

       5    review.      It was okay.          Judge, we have to protect our

       6    citizens.       That is why those statutes exist.                      That is why we

       7    require the State Attorney to review this and not just cut

       8    these guys loose.

       9                  THE COURT:         Any other argument?              Any other

      10    defense?      Mr. Mosher.

      11                  MR. MOSHER:          I just wanted to address something.

      12    I think Mr. Kennedy said that it is not, I guess,

      13    dispositive if you find -- I would disagree with that

      14    because I don't think witnesses are allowed to testify about

      15    a video unless it is presented to the jury itself.

      16                   I would also agree with Mr. Metcalf.                       His

      17    memorandum is comprehensive.                 Law enforcement needs to try

      18    the least intrusive means first and to fail before they

      19    begin to climb that ladder to get the video surveillance.

      20                  THE COURT:         Anyone else?          Mr. Sercombe, did you

      21    have something to add, sir?

      22                  MR. SERCOMBE:           Yes, briefly.           Your Honor, I would

      23    like to say I don't have knowledge and wisdom of my

      24    colleagues to that extent, but I would like to say that this

      25    is a door that would be open that would degrade the


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       1    Constitutional rights and the privacy right of our fellow

       2    citizens.     Any man or woman that goes into a massage room

       3    will be affected by this, and they will not know that they

       4    are not being monitored.              That is all.

       5                 THE COURT:        Thank you, sir.            Any other defense

       6    attorneys?     Mr. Kessler.

       7                 MR. KESSLER:         You said you are going to allow

       8    reasonable time for us to submit

       9                 THE COURT:        Yes.     First, let me see if the State

      10    wants to        are you all going to argue anything this

      11    afternoon?

      12                 MR. WILSON:        Not orally, Judge.              I think the only

      13    issue that I would bring up is we reserve on the issue of

      14    standing.     I think that that should be resolved prior to any

      15    deadline being set for a response.

      16                 MR. METCALF:         Judge

      17                 THE COURT:        Well, I mean, I will disagree with you

      18    there, but, yes, I do understand we reserved on the

      19    standing, and we will address that.                    How long would you all

      20    like to be able to submit authority, any authority that you

      21    would like the Court to consider?

      22                 MR. KESSLER:         Judge, I am going to ask if you

      23    could give two weeks.            I could do it sooner than that, but

      24    my mother is going to undergo a heart procedure in about

      25    half an hour.       And I don't know what is going to happen.


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                                                                                               Page
       1                THE COURT:         Is two weeks sufficient for everyone?

       2    That it is probably more than enough.

       3                MR. WILSON:          I believe two weeks would be

       4    sufficient.

       5                MR. KENNEDY:          Would that give an opportunity to

       6    reply, since we are the moving party, we could have an

       7    opportunity to reply after the State responds. I would ask

       8    for a brief period of time after the State's filing.

       9                THE COURT:         Okay, so let's do this.                Let's require

      10    both sides, any defense attorneys that want to submit and

      11    for those that are not here, if you all will pass this

      12    message onto those that are not here,                    I will require both

      13    the defense and the State to submit any additional authority

      14    that you would like the Court to consider by Tuesday, May 7

      15    by 5:00 p.m.

      16                And then I will allow the defense to respond to

      17    anything that the State has.                I am only going to give you a

      18    week to do that.         If you could do that by Tuesday, May 14 at

      19    5:00 p.m. I will hold off issuing any ruling until after

      20    date, May 14.       And then in between then and now we will

      21    address the issue of standing.                  Is that sufficient for

      22    everyone?     Any questions?           Let me talk to Judge Morgan and

      23    see if we can.

      24                MRS. MCCAIN:          Judge, if I may, the issue perhaps

      25    is that Judge Morgan's docket call on my particular case is


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       1    set for May 15.        You are allowing deadlines beyond that

       2    time.   We would obviously need to be able to continue our

       3    cases without prejudice to our clients.

       4                 THE COURT:        Judge Morgan will be told my

       5    deadlines.      I am going to go tell him that right now.

       6                 MR. METCALF:         For the record, I am handing her

       7    Copeland.

       8                 MR. MOSHER:        And just to clarify, as far as the

       9    issue of standing goes

      10                 THE COURT:        We will have a special hearing to

      11    address every clients' issue with regard to standing.

      12                 MR. MOSHER:         I thought I heard Mr. Kessler mention

      13    something about affidavit.

      14                 THE COURT:        I don't know if the State --

      15                 MR. WILSON:         It may be sufficient, Judge.                   We just

      16    have to see what that affidavit contains.

      17                 THE COURT:        If the State will allow that to happen

      18    by affidavit, then we will not have to have a hearing.

      19                 MR. METCALF:         Can I just say something?                 Here is

      20    my problem.      I established standing with one client.                         So the

      21    State is in a way, and I know what they are doing, prior to

      22    the issuance of the Court's order, they want these men to

      23    come in and go that is me on the video, identify themselves.

      24                 Now, to the Court, and I am not predicting that

      25    you are granting my motion, I am not saying that, Judge, but


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                                                                                               Page
       1    if you grant the motion, they are going to have a mad rush

       2    of people going, yeah, that is me on the video.

       3                THE COURT:         I think the State's argument is I

       4    couldn't even begin to consider to grant your motion if you

       5    haven't shown

       6                MR. METCALF:          Well, you could on Mr. Taig.

       7                THE COURT:         Correct.

       8                MR. METCALF:          And then we could let everyone else

       9    establish standing after that ruling.                     Your Honor, if you

      10    deny my motion, which I pray that you won't, if you deny the

      11    motion, why should these men have to come forward and

      12    establish standing and say that is me on that video?

      13                 I don't agree.          They are wanting us to give them

      14    an element of their charge by identifying our clients.                               I

      15    think Mr. Taig, you can just make the ruling on Mr. Taig.

      16    Now these men have all joined in and they can establish

      17    standing after Mr. Taig's ruling if they need to.

      18                 I would caution my fellow lawyers that they might

      19    be setting themselves up for 3.850 motion if they go and

      20    establish standing.

      21                THE COURT:         I anticipate this will come as an

      22    issue in the second series of motions to suppress in front

      23    of Judge Morgan.

      24                MR. METCALF:          I have a person coming for that as

      25    well, Judge.       I figured Mr. Butler would pull something like


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                                                                                                Page 217
       1    this.

       2                 THE COURT:         Is there anything else we need to put

       3    on the record?         I am going to go off the record.

       4            (Thereupon, at 1:30 p.m., the above-entitled hearing

       5    was concluded.)

       6

       7                              (END OF VOLUME II OF II)

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       1    STATE OF FLORIDA
                                                   SS
       2    COUNTY OF INDIAN RIVER

       3

       4                                           CERTIFICATE

       5

       6                 I, KATHY DUNCOMBE, a Shorthand

       7     Reporter and Notary Public of the State of Florida

       8    at Large, do hereby certify that I was authorized to and

       9    did report stenographically the foregoing proceedings and

      10    that the transcript is a true and correct transcription of

      11    those proceedings.

      12                DATED this 24th day of                          2019.

      13

      14
                    h~ DWlcnmW.
                  KATHYDUOMBE
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                                                                              4D19-1671
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                      301 So.3d 981
                                                                              4D19-1672
   District Court of Appeal of Florida, Fourth District.
                                                                                  |
             STATE of Florida, Appellant,                                     4D19-1673
                           v.                                                     |
               Robert KRAFT, Appellee.                                        4D19-1674
                                                                                  |
              State of Florida, Appellant,
                                                                              4D19-1675
                           v.
                                                                                  |
             Robert Freels, et al, Appellees.
                                                                              4D19-1676
              State of Florida, Appellant,                                        |
                           v.                                                 4D19-1677
            Hua Zhang, Lei Wang, Lei Chen,                                        |
              and Shen Mingbi Appellees.                                      4D19-1678
                                                                                  |
                      No. 4D19-1499                                           4D19-1679
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                      Nos. 4D19-1655                                          4D19-1680
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                               |                                                 4D19-1809
                           4D19-1768                                                  |
                               |                                               No. 4D19-2024
                           4D19-1769                                                  |
                               |                                              [August 19, 2020]
                           4D19-1770
                               |                        Synopsis
                           4D19-1771                    Background: Defendants, who operated massage parlors,
                               |                        were charged in separate cases in the 15th Judicial Circuit,
                           4D19-1772                    Palm Beach County, Leonard Hanser, J., and Joseph Marx,
                               |                        J., and in the County Court, Indian River County, David C.
                           4D19-1773                    Morgan, J., and Nicole P. Menz, J., with misdemeanor and
                               |                        felony prostitution-related offenses, based on allegations that
                           4D19-1774                    the parlors were providing sexual services. The courts granted
                               |                        defendants' motions to suppress video evidence of parlors'
                           4D19-1775                    interior. State appealed and the appeals were consolidated.
                               |
                           4D19-1776
                               |                        Holdings: The District Court of Appeal, Ciklin, J., held that:
                           4D19-1777
                               |                        [1] defendants had standing to challenge law enforcement's
                           4D19-1778                    use of hidden cameras to surveil the massage parlors' interior;
                               |
                           4D19-1779                    [2] law enforcement was obligated to minimize the intrusion
                               |                        on privacy of defendants and their clients;
                           4D19-1780
                               |



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 [3] law enforcement failed to sufficiently minimize the
 recording of innocent clients;                                  [4]   Searches and Seizures         Expectation of
                                                                       privacy
 [4] law enforcement did not act in good faith in obtaining            The inquiry into whether a defendant has a
 search warrants; and                                                  legitimate expectation of privacy under the
                                                                       Fourth Amendment in an area searched or an
 [5] exclusion of all video surveillance was warranted, rather         item seized involves two distinct questions:
 than solely recordings of innocent conduct.                           (1) whether the individual has exhibited an
                                                                       actual (subjective) expectation of privacy – i.e.,
                                                                       whether the individual has shown that he or she
 Affirmed.                                                             seeks to preserve something as private, and (2)
                                                                       whether the subjective expectation of privacy is
 May, J., concurred specially with separate opinion.                   one that society recognizes as reasonable – i.e.,
                                                                       whether the expectation is objectively justifiable
 Procedural Posture(s): Appellate Review; Pre-Trial Hearing            under the circumstances. U.S. Const. Amend. 4.
 Motion.


  West Headnotes (19)                                            [5]   Searches and Seizures         Particular concrete
                                                                       applications
                                                                       Defendants, who operated massage parlors, and
  [1]    Criminal Law         Reception of evidence
                                                                       their clients had a legitimate expectation of
         A trial court's ruling on a motion to suppress                privacy in massage rooms once the doors to
         comes to the appellate court with a presumption               such rooms were closed, and thus defendants
         of correctness, and the court must interpret the              had standing to challenge law enforcement's
         evidence, inferences and deductions therefrom in              use of hidden cameras as an unlawful search
         favor of sustaining the trial court's ruling. U.S.            under the Fourth Amendment in defendants'
         Const. Amend. 4.                                              cases for prostitution-related offenses, despite
                                                                       State's argument that most of the customers
                                                                       recorded were engaged in unlawful sexual
  [2]    Searches and Seizures         Persons, Places                 activity; surveillance took place in a professional
         and Things Protected                                          private setting where clients were expected to
         What a person knowingly exposes to the public,                partially or fully disrobe, and state statutes
         even in his own home or office, is not a subject of           expressly recognized a legitimate expectation
         Fourth Amendment protection, but what he seeks                of privacy in places where a reasonable person
         to preserve as private, even in an area accessible            could believe that he or she could fully disrobe
         to the public, may be constitutionally protected.             in private. U.S. Const. Amend. 4; Fla. Stat. Ann.
         U.S. Const. Amend. 4.                                         §§ 810.145(1)(c), 877.26.



  [3]    Searches and Seizures         Privacy interest or       [6]   Searches and Seizures         Persons, Places
         expectation, in general                                       and Things Protected
         In order to establish standing to raise a                     The Fourth Amendment protects people from
         Fourth Amendment violation, a defendant must                  unreasonable searches, not places. U.S. Const.
         demonstrate a legitimate expectation of privacy               Amend. 4.
         in the area searched or the item seized. U.S.
         Const. Amend. 4.
                                                                 [7]   Telecommunications          Scope; minimization




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         Law enforcement was obligated to minimize                 person is committing, has committed, or is about
         the intrusion on privacy of defendants, who               to commit a crime, (2) the order particularly
         operated massage parlors allegedly providing              describes the place to be searched and the things
         sexual services, and their clients in conducting          to be seized in accordance with the fourth
         video surveillance of the parlors' interior by            amendment, (3) the order is sufficiently precise
         means of hidden cameras, despite lack of                  so as to minimize the recording of activities
         minimization requirements in the plain text of            not related to the crimes under investigation, (4)
         the Fourth Amendment, supporting grant of                 the judge issuing the order finds that normal
         defendants' motions to suppress in their cases            investigative procedures have been tried and
         for prostitution-related offenses. U.S. Const.            have failed or reasonably appear to be unlikely
         Amend. 4.                                                 to succeed if tried or appear to be too dangerous,
                                                                   and (5) the order does not allow the period
                                                                   of interception to be longer than necessary to
  [8]    Telecommunications        Scope; minimization             achieve the objective of the authorization, or in
                                                                   any event no longer than thirty days. U.S. Const.
         For purposes of the Fourth Amendment, the
                                                                   Amend. 4.
         use of a video camera is considered an
         extraordinarily intrusive method of searching.
         U.S. Const. Amend. 4.
                                                            [12]   Telecommunications         Scope; minimization
                                                                   The Fourth Amendment requires that law
  [9]    Searches and Seizures       Skin, strip, and              enforcement minimize the invasion of privacy
         body searches                                             resulting from audio or video surveillance
                                                                   pursuant to a search warrant. U.S. Const. Amend.
         Telecommunications        Scope; minimization
                                                                   4.
         For purposes of the Fourth Amendment,
         television surveillance is identical in its
         indiscriminate character to wiretapping and
                                                            [13]   Telecommunications         Scope; minimization
         bugging; however, it is even more invasive of
         privacy, just as a strip search is more invasive          Law enforcement's use of hidden cameras to
         than a pat-down search. U.S. Const. Amend. 4.             surveil the interior of defendants' massage
                                                                   parlors, which were allegedly providing sexual
                                                                   services, failed to sufficiently minimize the
                                                                   recording of innocent clients receiving lawful
  [10]   Criminal Law      Electronic surveillance;
                                                                   massages, in violation of the Fourth Amendment,
         telecommunications
                                                                   supporting grant of defendants' motions to
         Telecommunications        Scope; minimization
                                                                   suppress in their trials for prostitution-related
         General Fourth Amendment requirements of                  offenses; the search warrants did not set forth
         reasonableness are still applicable to video              any written parameters to minimize the recording
         surveillance; and suppression is required                 of innocent clients, law enforcement recorded
         when the government fails to follow these                 female clients even though there was no
         requirements. U.S. Const. Amend. 4.                       suggestion or probable cause that female clients
                                                                   were receiving sexual services, and innocent
                                                                   clients had to potentially live with knowledge
  [11]   Telecommunications        Application or                  that nude videos of themselves were preserved
         Affidavit                                                 on a server with unknown accessibility. U.S.
         Telecommunications        Scope; minimization             Const. Amend. 4.

         An order permitting video surveillance shall not
         be issued unless: (1) there has been a showing
         that probable cause exists that a particular       [14]   Telecommunications         Scope; minimization



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         The purpose of the requirement that law                     trained officer would have known that the search
         enforcement minimize the invasion of privacy                was illegal despite the magistrate's authorization
         resulting from video surveillance pursuant to               of the search. U.S. Const. Amend. 4.
         a search warrant is to avoid the recording of
         activity by persons with no connection to the
         crime under investigation who happen to enter an     [19]   Criminal Law        Particular cases
         area covered by a camera. U.S. Const. Amend. 4.
                                                                     Law enforcement ignored the Fourth
                                                                     Amendment's requirement to minimize the
                                                                     recording of innocent conduct in surveilling
  [15]   Telecommunications         Scope; minimization              the interior of defendants' massage parlors by
         The question of whether law enforcement                     means of hidden cameras, and thus exclusion
         properly minimized the invasion of privacy                  of all video surveillance was warranted,
         resulting from video surveillance pursuant to a             rather than solely recordings of innocent
         search warrant is a question of reasonableness.             conduct, in defendants' trials for prostitution-
         U.S. Const. Amend. 4.                                       related offenses based on allegations that their
                                                                     businesses were providing sexual services; law
                                                                     enforcement failed to take even the most basic
  [16]   Criminal Law        Searches, seizures, and                 and reasonable step of minimization by not
         arrests                                                     monitoring or recording unsuspected female
                                                                     clients. U.S. Const. Amend. 4.
         The primary rationale behind the exclusionary
         rule, which bars use of evidence obtained in
         violation of the Fourth Amendment, is to deter
         law enforcement from violating constitutional
         rights. U.S. Const. Amend. 4.
                                                              *985 Consolidated appeals and cross-appeals of nonfinal
                                                             orders from the County Court for the Fifteenth Judicial
                                                             Circuit, Palm Beach County; Leonard Hanser, Judge; L.T.
  [17]   Criminal Law        Particular cases                Case Nos. 50-2019-MM-002346-AXXX-NB and 50-2019-
         Law enforcement did not act in good faith           AP-000074-AXXX-MB; the Circuit Court for the Fifteenth
         in obtaining search warrants to surveil the         Judicial Circuit, Palm Beach County; Joseph G. Marx,
         interior of defendants' massage parlors, which      Judge; L.T. Case Nos. 50-2019-CF-001606-AXX-MB,
         were allegedly providing sexual services, by        50-2019-CF-001606-BXX-MB, 50-2019-CF-001606-CXX-
         means of hidden cameras, supporting grant of        MB, and 50-2019-CF-001606-DXX-MB; and the County
         defendants' motions to suppress pursuant to the     Court for the Nineteenth Judicial Circuit, Indian River
         Fourth Amendment's exclusionary rule in their       County; David C. Morgan and Nicole P. Menz, Judges;
         trials for prostitution-related offenses; warrant   L.T. Case Nos. 312019MM000328A, 312019MM000330A,
         applications cited decades-old federal law that     312019MM000333A,                   312019MM000334A,
         set forth the need to minimize the recording        312019MM000335A,                   312019MM000336A,
         of innocent conduct but warrants contained no       312019MM000337A,                   312019MM000338A,
         minimization language. U.S. Const. Amend. 4.        312019MM000339A,                   312019MM000340A,
                                                             312019MM000342A,                   312019MM000343A,
                                                             312019MM000345A,                   312019MM000347A,
  [18]   Criminal Law       Exceptions Relating to           312019MM000348A,                   312019MM000350A,
         Defects in Warrant                                  312019MM000352A,                   312019MM000353A,
         The test as to whether a police officer acted       312019MM000354A,                   312019MM000355A,
         in good faith in obtaining a search warrant, as     312019MM000357A,                   312019MM000358A,
         required for the State to use evidence obtained     312019MM000359A,                   312019MM000361A,
         under the warrant that otherwise violates the       312019MM000363A,                   312019MM000365A,
         Fourth Amendment, is whether a reasonably well      312019MM000366A,                   312019MM000367A,



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 312019MM000587A,             312019MM000588A,
 312019MM000591A, and 312019MM000668A.



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                                                                   The detective contacted and shared his concerns with an
 Opinion                                                           investigator with the Florida Department of Health, who
                                                                   conducted an annual inspection. During the health inspection,
 Ciklin, J.
                                                                   the spa's manager appeared nervous. As the inspector entered
                                                                   rooms containing beds, clothing, a flat iron, and other
  *987 In these three consolidated cases, 1 the State of Florida
                                                                   personal items, the manager tried to cover things with a
 appeals trial court orders granting motions to suppress non-
                                                                   blanket.
 audio video surveillance that was recorded with hidden
 cameras covertly installed inside massage parlors suspected
                                                                   During the health inspection, Jupiter police saw a woman
 of housing prostitution activity. We find the trial courts
                                                                   discard something in the *988 dumpster outside the spa.
 properly concluded that the criminal defendants had standing
                                                                   Police pulled trash from the dumpster and retrieved tissues
 to challenge the video surveillance and that total suppression
                                                                   with seminal fluid. Police also found receipts matching a
 of the video recordings was constitutionally warranted.
                                                                   name (“Lulu”) seen on one of the illicit massage websites. In
                                                                   furtherance of their investigation, police pulled over four men
                                                                   seen leaving the spa, and each one admitted to the detective
                    I. Factual Background                          that they paid a fee to receive manual stimulation at the end of
                                                                   the massage. Three of the men identified the spa employees
 These cases arise from investigations conducted by three law
                                                                   that provided the services.
 enforcement agencies on two massage parlors. We summarize
 the relevant facts of each investigation and the procedural
                                                                   The Jupiter detective then applied for a warrant to install
 posture leading to these appeals.
                                                                   secret, non-audio video cameras in the spa and to monitor
                                                                   and record the video. A magistrate issued a warrant allowing
                                                                   police to install hidden cameras at the spa in places where
      A. The Jupiter Police Department's Investigation             prostitution was believed to be occurring and in the lobby. The
      of the Orchids of Asia Day Spa in Jupiter, Florida           warrant prohibited cameras in areas where prostitution was
          - Kraft, 4D19-1499 and Zhang, 4D19-2024                  not suspected, such as the kitchen, bathroom, and personal
                                                                   bedrooms.
 Detectives with the Martin County Sheriff's Office were
 investigating prostitution and possible human trafficking at      The warrant allowed non-audio video recording for no more
 massage parlors in Martin County. They alerted a Jupiter          than five days to obtain evidence of prostitution and the felony
 Police Department detective about the Orchids of Asia Day         offense of deriving support from the proceeds of prostitution.
 Spa in the Town of Jupiter because one of Orchids of Asia Day     The warrant did not discuss or otherwise direct any police
 Spa's former employees was allegedly managing the massage         conduct related to “minimization,” and the detectives were
 parlor being investigated in Martin County.                       not given any type of formal written instructions about how
                                                                   to minimize.
 The Jupiter detective began researching websites that
 advertise prostitution services and found ads classifying the     Using a phony bomb threat to clear the building, police
 spa as a massage business where female employees offer a          installed hidden cameras in four of the spa's massage rooms
 sexual act involving manual manipulation of the male genitals     and in the lobby. Three detectives monitored and recorded
 for money.                                                        video from the hidden cameras over five days. The cameras
                                                                   recorded video continuously, but Jupiter detectives monitored
 Jupiter police surveilled the spa for several days and observed   the video feeds only during business hours.
 more than 100 men enter and remain for 30 to 60 minutes.
 A few women entered the spa, and they exited soon after,          The detectives toggled between the video feeds when they
 leading the detective to conclude that the female patrons had     displayed or when they thought they might soon display
 not obtained prostitution services. The spa kept odd hours,       criminal conduct. They focused on the end of the massages
 sometimes staying open until midnight.                            because the sexual conduct typically occurred at the end. In
                                                                   all, police recorded 25 spa customers pay for sexual services.
                                                                   Ten more customers were suspected to have paid for sex, but



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 the offenses could not be confirmed due to dim lighting. Four       assigned sergeant surveilled the business and observed a
 customers, including two women, were recorded who did not           disproportionate number of men visiting the spa. Many of
 engage in illegal activity.                                         the men looked around the parking lot suspiciously before
                                                                     entering. One man, a registered sex offender, fled the spa upon
 In Kraft, 4D19-1499, the appellee was filmed visiting the spa       seeing a uniformed officer in the parking lot.
 on two occasions and was stopped by the police while driving
 away after his second visit. He was later charged with two          The sergeant pulled trash and located tissues with seminal
 misdemeanor counts of soliciting prostitution.                      fluid. He stopped two men leaving the spa, and they admitted
                                                                     that they paid for sexual gratification at the end of the
 In Zhang, 4D19-2024, the spa's employees—including the              massage.
 owner (Hua Zhang) and manager (Lei Wang)—were charged
 with misdemeanor and felony prostitution-related offenses.          The sergeant suspected that the female massage workers were
                                                                     living in the spa. Throughout his surveillance, he never saw
 Kraft and the spa employees moved to suppress the videos of         the women leave at night and saw them leave just one time to
 the prostitution offenses on several grounds. The county court      shop at a department store. A Department of Health inspector
 in Kraft's misdemeanor case granted the motion to suppress          conducted an inspection and observed clothing, suitcases,
 because the search warrant was deficient in failing to set          food, bedding, and other indicia that someone was living in
 out “minimization” 2 procedures and because police did not          the building.
 sufficiently minimize the recording of conduct outside the
 scope of the warrant.                                               The sergeant applied for a warrant to install hidden, non-audio
                                                                     video cameras in areas where prostitution was believed to
  *989 Additionally, the county court in Kraft's case certified      be occurring. A magistrate issued the warrant and authorized
 three questions of great public importance:                         monitoring for 30 days. The warrant instructed the detectives
                                                                     monitoring the video feeds to take steps to minimize the
   a. Does Defendant have standing to raise a Fourth                 invasion of privacy to customers not engaged in illegal
     Amendment defense to the Search Warrant Affidavit and           activity.
     Search Warrant, presented in this case? and,
                                                                     Law enforcement officials installed hidden cameras in the
   b. Does the Search Warrant satisfy Fourth Amendment               massage rooms and lobby. Two detectives monitored the
      requirements? and,                                             video feeds for nine days over the ensuing 30-day period and
                                                                     recorded 43 acts of prostitution. Some of the sex acts occurred
   c. Was the Search Warrant executed in a manner sufficient
                                                                     at the beginning or middle of the massages but most occurred
      to satisfy Fourth Amendment requirements?
                                                                     at the end. When not monitoring the video feeds, the cameras
 This court accepted jurisdiction.                                   were turned off and did not record.

 Likewise, the circuit court in Zhang suppressed the videos          After installing the cameras, the detectives learned that they
 on the same grounds, and the state has timely appealed both         could not entirely control the specific video feeds that would
 matters.                                                            be recorded. They had the option to record none, one, or all
                                                                     four of the massage rooms at the same time. If two men were
                                                                     receiving illegal massages in rooms 1 and 2, and a woman
                                                                     entered room 3 for a legal massage, the detectives could
            B. The Indian River County Sheriff's
                                                                     not record the men without also recording the woman's spa
          Office Investigation of the East Sea Spa in
                                                                     services.
          Sebastian, Florida - Freels, 4D19-1655 3
                                                                     Police opted to continue recording under these circumstances,
 The Indian River County Sheriff's Office began investigating
                                                                     and as a result, four *990 women were recorded receiving
 the East Sea Spa in Sebastian, Florida, after learning that other
                                                                     lawful massages. The detectives would toggle to the video
 law enforcement agencies were combating illicit massage
                                                                     of the suspect massages and take the women's massages off-
 businesses in their jurisdictions. A sergeant discovered that
                                                                     screen. The women's massages were recorded but not viewed.
 the spa had posted ads for sexual services on websites. The


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 When only one man was receiving an illegal massage, the
 detectives turned off the recording of the woman's massage.        This court accepted jurisdiction.
 If only a woman was in the spa, they would stop recording
 altogether.
                                                                    C. The Vero Beach Police Department Investigation of the
 After the 30-day period expired, the detectives obtained a          East Sea Spa in Sebastian, Florida - Freels, 4D19-1655
 second warrant for another 30 days and monitored the video
 feeds for four more days. During the 13 days the cameras were      The Vero Beach Police Department began investigating
 monitored, police recorded a total of 67 massages and 63 of        the East Sea Spa after receiving citizen complaints that
 them involved prostitution. Every man that entered the spa         prostitution might be occurring there. A detective reviewed
 paid for sexual services. Up to ten women received lawful          adult websites with ads showing the spa offered prostitution
 massages during this span, and, as noted, four were recorded.      services. The detective discovered that the spa's manager,
 The recordings were stored on a secure server that only the        Lanyun Ma, who is also the wife of the spa's owner, had
 detectives could access.                                           been arrested for prostitution and human trafficking offenses
                                                                    in New York and Massachusetts. She pleaded guilty to
 The state brought misdemeanor solicitation of prostitution         prostitution offenses in those cases.
 charges against numerous men recorded in the videos. The
 owner of the East Sea Spa is being prosecuted on felony            An undercover detective visited the spa posing as a client.
 charges in Zhang. 4                                                After the massage, the masseuse touched his groin and offered
                                                                    sexual activity for money. The detective *991 made up an
 The defendants moved to suppress the videos on several             excuse and declined the offer, but on his second visit, the
 grounds. The county court judge suppressed the videos              masseuse grew suspicious and accused him of being “police.”
 because law enforcement failed to minimize the intrusion on        The detective leading the investigation opted against further
 the privacy rights of law-abiding spa-goers and the warrant        undercover operations to avoid tipping off the spa.
 provided no written criteria for minimization. The judge noted
 the disturbing fact that innocent women were recorded in           Police pulled over two men seen leaving the spa, and both
 various stages of undress while receiving lawful massages.         agreed to speak with the officers and reported experiences
                                                                    similar to the undercover detective's.
 The county court certified four questions of great public
 importance:                                                        Police surveilled the spa and learned that the massage workers
                                                                    lived in the building and did not leave at night. When workers
   a. Did the Defendant have a legitimate expectation of            did leave the spa, they did so only under the spa manager's
      privacy such that he is entitled to claim the protection of   supervision. The spa's clientele was “exclusively male,” and
      the Fourth Amendment? and,                                    no female clients were seen during a three-week period.

   b. Did the issuing Court have authority under the Fourth         Trash pulls produced napkins with seminal fluid, used
      Amendment to authorize a Video Surveillance Warrant?          condoms, and a package for a sex toy.
      and,
                                                                    A magistrate issued a warrant for non-audio video
   c. If the issuing Court had the power to authorize a
                                                                    surveillance inside the spa for no longer than 30 days.
      Video Surveillance Warrant, does the Video Surveillance
                                                                    The warrant instructed detective monitors to “take steps to
      Warrant issued in this case satisfy Fourth Amendment
                                                                    minimize the invasion of privacy to any parties not engaged
      requirements? and,
                                                                    in the unlawful acts set forth in the affidavit.”
   d. If the issuing Court had the power to authorize a Video
      Surveillance Warrant and the Warrant satisfied Fourth         Law enforcement officials installed hidden cameras and used
      Amendment requirements, was the Video Surveillance            them to monitor and record spa customers as they undressed
      Warrant executed in a manner sufficient to satisfy Fourth     and received massages in private massage rooms. For the
      Amendment requirements?                                       first 20 days, two detectives monitored the video feeds from
                                                                    8 a.m. to 11 p.m. The cameras, however, recorded for the



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 full 30 days. Police observed nearly 100 sex acts during this     The county court certified the same four questions set out in
 period. The recordings made while the detectives were not         the discussion of the Indian River County Sheriff's Office's
 monitoring the feeds had not been viewed by anyone. The           investigation. This court accepted jurisdiction. 5
 video is stored on a hard drive in the police department's
 evidence lockup.

 The lead detective applied for an extension of the 30-                               II. Standard of Review
 day surveillance period, noting that police had witnessed
                                                                    [1] The trial court's ruling on a motion to suppress comes
 the counting of large sums of money and women being
                                                                   to the appellate court with a presumption of correctness,
 transported to and from the spa. The spa's manager and a man
                                                                   and the court must interpret the evidence, inferences and
 named Kenneth Zullo had brought new massage workers to
                                                                   deductions therefrom in favor of sustaining the trial court's
 the spa. The women would stay at the spa for several days
 or weeks before being moved to a different location. Every        ruling.    Pagan v. State, 830 So. 2d 792, 806 (Fla. 2002).
 woman transported to the spa engaged in prostitution there.       While the appellate court is bound by factual determinations
                                                                   which are supported by competent substantial evidence, it
 A judge approved an extension of the warrant and again            reviews mixed questions of fact and law de novo. Cote v.
 instructed police to minimize the intrusion on lawful activity.   State, 14 So. 3d 1137, 1139 (Fla. 4th DCA 2009).
 Detectives monitored the video feeds for 10 additional days.
                                                                   Kelly v. State, 77 So. 3d 818, 821 (Fla. 4th DCA 2012).
 In total, police monitored the video feeds for 30 out of the 60
 possible days. Of the 145 monitored massages, 142 involved
 an act of prostitution. Two of the men who appeared to have                                III. Analysis
 received non-criminal massages had received prostitution
 services on other visits to the spa. Only one man monitored       On appeal, the state argues that the trial courts erred in
 and recorded by police was not seen receiving sexual services.    suppressing the video evidence because (1) the defendants
                                                                   lack standing to raise a Fourth Amendment challenge, (2)
 Most of the prostitution occurred at the end of the massage       the warrants were not deficient because minimization is not
 (83 times) but on some occasions (59 times) the massages          a requirement under the Fourth Amendment, and (3) even
 began with the act of prostitution. This complicated efforts      if the warrants were deficient, the “good faith” exception to
 to minimize because, if the detectives did not monitor the        the exclusionary rule should apply. As we explain below in
 beginning of the massages, they may have missed an act of         addressing each of these three arguments, we disagree. In the
 prostitution.                                                     absence of any binding Florida law concerning silent video
                                                                   surveillance like that conducted in this case, the trial courts
 Numerous defendants were charged with misdemeanor                 properly applied well-settled and persuasive federal law on
 counts of soliciting prostitution. One of the massage workers     the issue.
 told police that she committed the acts against her will and
 was in fear. Police suspected that at least one individual was
 a victim of human trafficking.
                                                                              A. The Defendants Have Standing to
                                                                              Raise a Fourth Amendment Defense
 The defendants in the misdemeanor cases moved to suppress
 the videos on many grounds. The county court suppressed the       Our analysis begins with the Fourth Amendment's prohibition
 videos, concluding that police failed to minimize the intrusion   on unreasonable searches, which protects individual privacy
 on the privacy of individuals not engaged in unlawful activity.   against certain types of government intrusion:
 The court noted that, while police monitored the feeds only
 50% of the *992 allowed time, the cameras recorded for
 the entire 60 days. Although only three lawful massages were
                                                                                The right of the people to be secure
 monitored, the court suspected that more innocent spa clients
                                                                                in their persons, houses, papers, and
 may have been recorded.
                                                                                effects, against unreasonable searches
                                                                                and seizures, shall not be violated,


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             and no Warrants shall issue, but                       in an area accessible to the public, may be constitutionally
             upon probable cause, supported by
                                                                    protected.”); Ramirez v. State, 654 So. 2d 1222, 1223 (Fla.
             Oath or affirmation, and particularly
                                                                    2d DCA 1995) (“As soon as Ramirez entered the closed toilet
             describing the place to be searched,
                                                                    stall he had a legitimate expectation of privacy ....”). Thus,
             and the persons or things to be seized.
                                                                    the business owner, workers, and clients have standing to
                                                                    challenge the subject searches.

 Amend. IV, U.S. Const.                                             Florida statutory law further lends support to our conclusion
                                                                    that the defendants enjoyed a legitimate expectation of
  [2]     [3]    [4] “What a person knowingly exposes to the privacy in the massage rooms. While Florida has no statute
 public, even in his own home or office, is not a subject of        that expressly addresses warrants for surreptitious, video-only
 Fourth Amendment protection. ... But what he [or she] seeks        surveillance by police, the Florida Legislature has recognized
 to preserve as private, even in an area accessible to the public,  a legitimate expectation of privacy in this type of location
 may be constitutionally protected.”        Katz v. United States,  in at least two statutes. Florida's statute defining the offense
 389 U.S. 347, 351, 88 S.Ct. 507, 19 L.Ed.2d 576 (1967). Thus,      of video voyeurism defines when a person has a reasonable
 to establish standing to raise a Fourth Amendment violation,       expectation of privacy:
 a defendant must demonstrate a legitimate expectation of
                                                                       “Place and time when a person has a reasonable expectation
 privacy in the area searched or the item seized. The inquiry
                                                                       of privacy” means a place and time when a reasonable
 involves two distinct questions: (1) whether the individual
                                                                       person would believe that he or she could fully disrobe
 has “exhibited an actual (subjective) expectation of privacy”
                                                                       in privacy, without being concerned that the person's
 – i.e., whether the individual has shown that he or she
                                                                       undressing was being viewed, recorded, or broadcasted
 seeks to preserve something as private; and (2) whether the
                                                                       by another, including, but not limited to, the interior of
 subjective expectation of privacy is one that society *993
                                                                       a residential dwelling, bathroom, changing room, fitting
 recognizes as reasonable – i.e., whether the expectation is
                                                                       room, dressing room, or tanning booth.
 objectively “justifiable” under the circumstances.         Smith
 v. Maryland, 442 U.S. 735, 740, 99 S.Ct. 2577, 61 L.Ed.2d          § 810.145(1)(c), Fla. Stat. (2019) (emphasis added).
                                                                    Likewise, as noted by the trial court in Kraft, section
 220 (1979) (quoting and applying            Katz as the Court's
                                                                    877.26, Florida Statutes (2019), prohibits merchants from
 “lodestar” for whether a particular form of government-
                                                                    “observ[ing] or mak[ing] use of video cameras or other visual
 initiated electronic surveillance is a search within the meaning
                                                                    surveillance devices to observe or record customers in the
 of the Fourth Amendment). “Consistently with            Katz, this merchant's dressing room, fitting room, changing room, or
 court uniformly has held that the application of the Fourth        restroom when such room provides a reasonable expectation
 Amendment depends on whether the person invoking its               of privacy.” (Emphasis added).
 protection can claim a ‘justifiable,’ a ‘reasonable,’ or a
 ‘legitimate expectation of privacy’ that has been invaded by        [6] These laws clearly undermine the state's argument that
                                                                    the defendants lacked standing because they had, at most, a
 government action.” Smith, 442 U.S. at 740, 99 S.Ct. 2577.
                                                                    diminished expectation of privacy in a business open to the
                                                                    public. As is long settled, “[t]he Fourth Amendment protects
  [5] The spa-client defendants in all of these cases had a
 subjective and objectively reasonable expectation of privacy       people, not places.”      Katz, 389 U.S. at 351, 88 S.Ct. 507
 in the massage parlor rooms. The surveillance took place in        (rejecting the “trespass doctrine” espoused in past cases like
 a professional private setting where clients are expected to
                                                                        Olmstead v. United States, 277 U.S. 438, 464, 48 S.Ct.
 partially or fully disrobe. The spa owners and their employees
                                                                    564, 72 L.Ed. 944 (1928), which had limited the Fourth
 also had a reasonable right to expect that the interactions
                                                                    Amendment to searches and seizures of tangible property,
 with nude or partially nude clients in the massage rooms
                                                                    and holding that attaching a listening device to the outside of
 would not be exposed to the public. As soon as the door
                                                                    a public phone booth *994 was a search that violated the
 to the massage room was closed, they had a reasonable
                                                                    Fourth Amendment).
 expectation of privacy. See Katz, 389 U.S. at 351, 88 S.Ct.
 507 (“[W]hat he [or she] seeks to preserve as private, even


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 The state also argues that the spas were primarily used as       existing probable cause and particularity requirements [of
 a brothel, as most of the customers who were recorded and        the Warrant Clause] amply safeguard protected privacy
 monitored engaged in unlawful activity, and thus, the state      interests.” However, the state's argument ignores many years
 asserts, the defendants cannot rely on the Fourth Amendment      of clear federal jurisprudence on this issue.
 rights of third parties who had their innocent conduct
 recorded. However, as case law shows us, Fourth Amendment         [10]    [11] “[G]eneral fourth amendment requirements are
 rights are nearly always safeguarded by those who are            still applicable to video surveillance; and suppression
                                                                  is required when the government fails to follow these
 criminally prosecuted. See, e.g.,  Katz, 389 U.S. at 348, 88
 S.Ct. 507 (reversing judgment of conviction for transmitting     requirements.”     Mesa-Rincon, 911 F.2d at 1437. In
 wagering information by telephone). Consequently, the state's
                                                                      Mesa-Rincon, the Tenth Circuit rejected arguments that
 circular argument that the defendants lacked a privacy
                                                                  the district court lacked authority to authorize a search via
 interest because they were engaging in criminal behavior is
                                                                  silent video surveillance and that the warrant application
 uncompelling.
                                                                  did not satisfy Fourth *995 Amendment requirements.

 The trial courts properly concluded that the defendants had         Id. at 1446. In consideration of “the underlying purposes
 standing to challenge the search.                                of the fourth amendment and the intrusiveness of video
                                                                  surveillance,” the Tenth Circuit adopted “five requirements
                                                                  for video surveillance that define more specifically the
                                                                  probable cause and particularity requirements of the fourth
      B. Minimization Requirements are Applicable to
                                                                  amendment,” and which requirements expressly include the
      the Surveillance at Hand, and the Requirements
                                                                  minimization requirement:
           were not Properly Defined or Applied

  [7] The state next argues that the trial courts erred in
 determining that adequate minimization procedures were                       An order permitting video surveillance
 neither defined nor applied because there are no minimization                shall not be issued unless: (1) there
 requirements within the text of the Fourth Amendment.                        has been a showing that probable
                                                                              cause exists that a particular person
 [8] [9] The act of video surveillance itself is perhaps the                  is committing, has committed, or is
 most intrusive form of electronic law enforcement spying.                    about to commit a crime; (2) the
 As the Tenth Circuit held: “The use of a video camera is                     order particularly describes the place
                                                                              to be searched and the things to
 an extraordinarily intrusive method of searching.”   United
                                                                              be seized in accordance with the
 States v. Mesa-Rincon, 911 F.2d 1433, 1442 (10th Cir. 1990).
                                                                              fourth amendment; (3) the order is
 “Television surveillance is identical in its indiscriminate
                                                                              sufficiently precise so as to minimize
 character to wiretapping and bugging. [However,] [i]t is
                                                                              the recording of activities not related
 even more invasive of privacy, just as a strip search is
                                                                              to the crimes under investigation;
 more invasive than a pat-down search ....”      Id. at 1442-43               (4) the judge issuing the order finds
                                                                              that normal investigative procedures
 (alterations and emphasis in original) (quoting         United
                                                                              have been tried and have failed or
 States v. Torres, 751 F.2d 875, 885 (7th Cir. 1984)).
                                                                              reasonably appear to be unlikely to
                                                                              succeed if tried or appear to be too
 Presently there exists no binding Florida statute, Florida
                                                                              dangerous; and (5) the order does not
 decisional law, or rule of criminal procedure that addresses
                                                                              allow the period of interception to be
 this type of surreptitious, video-only surveillance as a law
                                                                              longer than necessary to achieve the
 enforcement investigative tool. 6 Likewise, the text of the                  objective of the authorization, or in any
 Fourth Amendment does not expressly reference the term                       event no longer than thirty days.
 “minimization.” As a result of that void, the state maintains
 that this court need look no further than the plain text
 of the Fourth Amendment's Warrant Clause “because the



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    Id. at 1437 (emphasis added).                                       [13]    [14]     [15] We likewise uphold the trial courts’
                                                                       conclusions that the warrants failed to contain sufficient
 The test derives from U.S. Supreme Court case law setting             minimization guidelines and that police did not sufficiently
 forth “the minimum constitutional standards” for secret audio         minimize the video recording of innocent spa goers
                                                                       receiving lawful massages. “The purpose of the minimization
 surveillance.  United States v. Biasucci, 786 F.2d 504,
                                                                       requirement is *996 to avoid the recording of activity by
 510 (2d Cir. 1986) (applying the minimum constitutional
                                                                       persons with no connection to the crime under investigation
 standards required for audio surveillance set out in         Katz,
                                                                       who happen to enter an area covered by a camera.”   Mesa-
 389 U.S. at 354–59, 88 S.Ct. 507, and Berger v. New York,             Rincon, 911 F.2d at 1441. “The minimization question is one
 388 U.S. 41, 58-59, 87 S.Ct. 1873, 18 L.Ed.2d 1040 (1967), to
                                                                       of reasonableness.” Id. (quoting United States v. Apodaca,
 video surveillance). “Given the obvious similarities between
                                                                       820 F.2d 348, 350 (10th Cir. 1987)).
 aural and video electronic surveillance, we believe that the
 same constitutional standards governing the former should
                                                                       The warrants at issue did not set forth any specific written
 be applied in determining whether or not to authorize the
                                                                       parameters to minimize the recording of innocent massage
 latter.”  Biasucci, 786 F.2d at 510. The         Mesa-Rincon          seekers, and law enforcement did not actually employ
 formulation of the test has been expressly adopted and applied        sufficient minimization techniques when monitoring the
                                                                       video or deciding what to record. In all the investigations,
 by other federal circuit courts of appeal. E.g.,    United States
                                                                       some innocent spa goers were video recorded and monitored
 v. Falls, 34 F.3d 674, 680 (8th Cir. 1994); United States v.          undressed. There was no suggestion or probable cause
 Koyomejian, 970 F.2d 536, 542 (9th Cir. 1992).                        to believe that female spa clients were receiving sexual
                                                                       services, yet law enforcement largely failed to take the
 Notably, the warrant applications in the cases now on                 most reasonable, basic, and obvious minimization technique,
 appeal cited  Mesa-Rincon and sought to comply with its               which was simply to not monitor or record female spa clients.
 requirements.
                                                                       The most egregious example is the investigation by the
  [12] Thus, it is clear that federal law has been sufficiently        Vero Beach Police Department in the Freels case where
 developed on this constitutional issue, and it is clear the           the cameras recorded continuously for 60 days. Thirty
 trial courts did not err in determining that minimization is          days’ worth of unmonitored recordings remain in the police
 required. Indeed, the state's argument for a strict textual           department's possession in that case. Other innocent spa
 reading of the Fourth Amendment runs counter to decades of            clients may have been recorded nude – or partially undressed
                                                                       – on those days. Those innocent clients potentially live with
 case law from the U.S. Supreme Court, such as     Berger,             the knowledge that nude videos of themselves are preserved
 388 U.S. at 51, 87 S.Ct. 1873, where the Court recognized             on a server somewhere with unknown accessibility. In our
 that it had receded from the strict textual approach that             ever increasingly digital world filled with hackers and the
 was applied in       Olmstead, 277 U.S. 438, 48 S.Ct. 564.            like, such awareness renders the surveillance a particularly
                                                                       severe infringement on privacy.
 “Statements in [ Olmstead] that a conversation passing
 over a telephone wire cannot be said to come within
                                                                       We agree with the trial courts that this is unacceptable.
 the Fourth Amendment's enumeration of ‘persons, houses,
                                                                       The trial courts properly applied the federal case law
 papers, and effects’ have been negated by our subsequent
                                                                       enforcing the minimum constitutional standards for secret
 cases ....”   Berger, 388 U.S. at 51, 87 S.Ct. 1873. Should           video surveillance, and the state has not overcome the
 there be any doubt, as the state respectfully urges, that             presumption of correctness in the trial courts’ ruling that the
 minimization procedures “are not constitutionally required by         minimization requirement was not satisfied.
 the Fourth Amendment” (emphasis in original), we hereby
 find they are and caution that to hold otherwise would be
 directly counter to the Constitution, civil liberties, and the rule
                                                                          C. Application of the Exclusionary Rule was Proper
 of law.



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  [16] Where evidence is obtained in an illegal search and           locations, including the need to minimize the recording
 seizure, the Fourth Amendment generally bars its use.               of innocent conduct. These citations negate a finding of
                                                                     ignorance of minimization requirements.
       Mapp v. Ohio, 367 U.S. 643, 648, 81 S.Ct. 1684,
 6 L.Ed.2d 1081 (1961). “The primary rationale behind the
                                                                     [19] We further reject the state's argument that only
 exclusionary rule is to deter law enforcement from violating
                                                                     recordings of innocent conduct should be excluded. 7 In
 constitutional rights.” State v. Teamer, 151 So. 3d 421, 430
                                                                     construing the remedy for a failure to minimize under
 (Fla. 2014). But like any good rule, it is not without exception.
                                                                     Florida's wiretapping statute, the Florida Supreme Court has
                                                                     held:
 [17]    [18] The state contends that the “good faith” exception
 to the exclusionary rule set forth in     United States v.
 Leon, 468 U.S. 897, 104 S.Ct. 3405, 82 L.Ed.2d 677 (1984),                      [W]here the procedural requirements
 should be applied because there was no judicial or statutory                    to    minimize      interception   are
 authority in Florida requiring minimization. In    Leon, the                    blat[a]ntly ignored, as we have found
 Supreme Court declined to apply the exclusionary rule under                     them to have been in the instant
 circumstances that would not further its purpose of deterring                   cause, the entire wiretap evidence
                                                                                 must be suppressed; where violations
 unlawful police conduct.     Id. at 922-23, 104 S.Ct. 3405.                     of the minimization requirements
 The Court held that generally “when an officer acting with                      occur [d]espite efforts to meet the
 objective good faith has obtained a search warrant from a                       minimization requirements, however,
 judge or magistrate and acted within its scope,” there is                       only the unauthorized interceptions
 generally “no police illegality and thus nothing to deter.”                     need be suppressed.
    Id. at 920-21, 104 S.Ct. 3405. The Court reasoned:

   In the ordinary case, an officer cannot be expected to            Rodriguez v. State, 297 So. 2d 15, 21 (Fla. 1974).
   question the magistrate's probable-cause determination
   or ... judgment that the form of the warrant is technically       The trial courts did not err in determining that the
   sufficient. “[O]nce the warrant issues, there is literally        minimization requirements were ignored, as opposed to
   nothing more the [officer] can do in seeking to comply            merely being unmet despite efforts to satisfy them. As
   with the law.” [ Stone v. Powell, 428 U.S. 465, 498,              previously discussed, the agencies failed to take the most
   96 S.Ct. 3037, 49 L.Ed.2d 1067 (1976)] (BURGER, C.J.,             basic and reasonable step of minimization by not monitoring
   concurring). Penalizing the officer for the magistrate's          or recording the unsuspected female clients. We ascribe no
   error, rather than his own, cannot logically contribute to the    ill motives to the procedural decisions made by the law
    *997 deterrence of Fourth Amendment violations.                  enforcement agencies involved. But at best, each department
                                                                     was lulled into a zone of complacency where complacency
    Id. at 921, 104 S.Ct. 3405 (first alteration in original)        cannot exist.

 (footnote omitted). The test under     Leon is “whether a           Under the facts of this case and guided by the Florida
 reasonably well trained officer would have known that the           Supreme Court's holding in Rodriguez, the trial courts
 search was illegal despite the magistrate's authorization.”         properly suppressed all of the unconstitutionally captured
    Id. at 922 n.23, 104 S.Ct. 3405.                                 footage. To find otherwise in this context would undermine
                                                                     the purpose of the exclusionary rule—which is to deter future
 We cannot conclude here that the law enforcement agencies           Fourth Amendment violations.
 acted in good faith with respect to minimization due to
 the lack of Florida law on point. The warrant applications
 themselves cited the decades-old federal law (such as
                                                                                           IV. Conclusion
   Mesa-Rincon) setting out the requirements for obtaining
 a warrant to conduct secret video surveillance in private



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 The type of law enforcement surveillance utilized in these
 cases is extreme. While there will be situations which may          In his answer brief, Kraft argues Florida provides a
 warrant the use of the techniques at issue, the strict Fourth       statutory basis for the suppression order, thereby avoiding
 Amendment safeguards developed over the past few decades            the constitutional issue. See Delacruz v. State, 276 So.
 must be observed. If they are not, any evidence obtained            3d 21, 26 n.1 (Fla. 4th DCA 2019) (declining to reach
 could very well be declared inadmissible as a matter of             constitutional question because the appeal was disposed on
 constitutional law. To permit otherwise would yield unbridled       other grounds). Specifically, he argues “[n]o Florida statute
 discretion to agents of law enforcement and the government,         authorizes surreptitious video surveillance, nor have Florida
 the antithesis of the constitutional liberty of people to be        courts approved it.” While the State relies on Chapter 934,
 secure against unreasonable searches and seizures.                  Kraft argues that section does not authorize the use of this
                                                                     surveillance type for prostitution-related offenses. See       §
 The federal case law cited herein pertaining to silent video
                                                                     934.07(1)(a), Fla. Stat. I agree.
 surveillance is well *998 reasoned and widely accepted.
 Consequently, we must hold—as every federal circuit court
                                                                     First, our legislature had expressly limited audio surveillance
 and state court to consider the question has—that this
                                                                     “to certain major types of offenses and specific categories
 type of intrusive, covert video surveillance is subject to
 heightened standards and procedures designed to implement           of crime.” See      § 934.07, Fla. Stat. Second, our supreme
 Fourth Amendment protections, particularly in the face              court then held “ section 934.07 cannot be read as
 of the constantly expanding use of electronic surveillance          authorizing wiretaps to investigate non-violent prostitution-
 techniques by law enforcement. And where the government             related offenses without contravening the requirements of”
 fails to faithfully follow these standards and procedures, it
 will be held to account by the exclusion of the evidence            the federal wiretap law.        Rivers, 660 So. 2d at 1363
 obtained. The Fourth Amendment demands no less under                (emphasis added). And third, subsequent to      Rivers, our
 these circumstances.                                                legislature removed all prostitution-related offenses from
                                                                        section 934.07. Ch. 2000-369, § 10, at 8, Laws of Fla
 The trial courts did not err in concluding that total suppression
 was the appropriate remedy under the circumstances of this          (amending      § 934.07, Fla. Stat. (1969)). This ensures that
 case.   8                                                           prostitution-related offenses are not considered “major types
                                                                     of offenses” warranting the significant intrusion of one's
 Affirmed.                                                           privacy by audio surveillance. Cf.    *999 Rivers, 660 So.
                                                                     2d at 1362–63. The video surveillance in this case falls prey
                                                                     to that same limitation.
 Gross, J., concurs.
                                                                     And while the State clings to         section 933.02, Florida
 May, J., concurs specially with opinion.
                                                                     Statutes (2019), for life support, that provision's “plain text”
 May, J., concurring specially.                                      simply authorizes a search warrant “[w]hen any property
 I concur with the majority. I write to address a single issue       shall have been used: ... [a]s a means to commit any
 raised by the Kraft defense because I believe it lends further      crime.”     § 933.02(2)(a), Fla. Stat. It does not authorize
 support for our decision.
                                                                     this surveillance type for prostitution-related offenses.      §
                                                                     933.02, Fla. Stat.
 The right to privacy is guaranteed in Florida's Constitution.
 Art. I, § 23, Fla. Const. Also engrained within Florida's
                                                                     Florida requires strict construction of “statutes authorizing
 statutory and case law is the prohibition against the use of
                                                                     searches.” Morris v. State, 622 So. 2d 67, 68 (Fla. 4th DCA
 audio surveillance for prostitution-related offenses. See      §    1993). The State must adhere to that mandate. See id. Because
 934.07, Fla. Stat. (2019);     State v. Rivers, 660 So. 2d          Florida law does not expressly authorize either audio or
 1360, 1363 (Fla. 1995). These two formidable principles also        video surveillance for prostitution-related offenses, the State's
 compel an affirmance in this case.                                  warrant was unauthorized and unsupported by Florida case
                                                                     law.


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                                                                        personal and private behavior” like “[n]o other technique”
 As Professors Stephen Saltzburg, Esq., and Ronald                      could.    United States v. Mesa-Rincon, 911 F.2d 1433,
 Goldstock, Esq., suggest in their amicus brief:                        1442 (10th Cir. 1990).

     The authorization of electronic or video surveillance for        Lastly, no good-faith exception can save the State's violation
     petty crimes as a steppingstone in an effort to investigate      of both our statutory and case law limitation of similar
     more serious offenses would make a mockery of the                types of surveillance. “The prohibition of [Chapter 934
     designated crime requirement. Such a subterfuge would            is] absolute.” Atkins v. State, 930 So. 2d 678, 682 (Fla.
     violate the princip[le] that continuous invasions of privacy     4th DCA 2006). “Chapter 934 ... unequivocally expresses
     must be reserved for occasions when the need to do so            the Legislature's desire to suppress evidence obtained in
     was critical. ... Florida law provides no basis for seeking
     a warrant for electronic eavesdropping of conversations in       violation of that chapter. ...” State v. Garcia, 547 So. 2d
     a misdemeanor prostitution case, and there is no reason to       628, 630 (Fla. 1989). Here, when law enforcement invoked
     believe that either the legislature or judiciary would want      Chapter 934, it was on notice that the chapter “cannot be
     to permit such warrants when intrusive video surveillance        read as authorizing [electronic surveillance] to investigate
     is at issue.                                                     non-violent prostitution-related offenses.” Rivers, 660 So.
                                                                      2d at 1363. Good faith simply cannot exist in this legal
       ....
                                                                      environment.
     The need to limit electronic and visual surveillance
     to serious crimes is vital if a society continues to             Neither the Florida statutes, nor case law authorize covert
     value personal privacy and freedom, even as the                  audio surveillance to investigate prostitution-related offenses.
     advance of technology poses unprecedented threats                It follows that the more intrusive video surveillance is also
     and intrusions. ... The development and proliferation            prohibited, providing yet another basis for affirmance.
     of compact, inexpensive, wireless video surveillance
     technology poses a unique, unprecedented threat to erode
                                                                      All Citations
     the personal privacy against government that Americans
     have enjoyed since the Founding. ... And it has allowed the      301 So.3d 981, 45 Fla. L. Weekly D1965
     government to “record[ ] ... in graphic visual detail ... very




                                                              Footnotes


 1         This court previously consolidated these three appellate cases (State v. Kraft, 4D19-1499, State v. Freels,
           4D19-1655, and State v. Zhang, 4D19-2024) for purposes of resolution by the same panel. After a
           consolidated oral argument, we now consolidate these cases for purposes of this opinion. In State v. Freels,
           4D19-1655, this court previously consolidated for all purposes more than 100 related cases raising the same
           issues.
 2         The term “minimization” generally refers to warrant guidelines or techniques to be applied by law enforcement
           agents to narrow, or minimize, the breadth of the activity that is surveilled. See generally People v. Floyd, 41
           N.Y.2d 245, 392 N.Y.S.2d 257, 360 N.E.2d 935, 939-40 (1976) (citing Berger v. New York, 388 U.S. 41, 87
           S.Ct. 1873, 18 L.Ed.2d 1040 (1967)). As will be further discussed in our analysis, the minimization requirement
           “has its underpinnings in the Fourth Amendment interdiction of unreasonable search and seizures and its
           mandate that search warrants contain provisions ‘particularly describing the place to be searched, and the
           persons or things to be seized.’ ” Id., 392 N.Y.S.2d 257, 360 N.E.2d at 940.
 3         The appeals in Freels, 4D19-1655, concern investigations conducted by two separate law enforcement
           agencies on the spa at issue. The investigations have distinct facts. The parties were permitted to file separate
           briefs concerning the two investigations.



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 4      Police believed that at least one of the workers at the spa was a victim of human trafficking although no such
        charges have been brought to date.
 5      The defendants in Freels, 4D19-1655, filed notices of cross-appeal and have argued alternative bases to
        support the suppression orders. Our jurisdiction to review the defendants’ appeals from the trial courts’ non-
        final rulings is questionable. Defendants have essentially argued “tipsy coachman” grounds for affirmance.
        In this opinion, we do not decide the issues argued in the cross-appeals as it is not necessary to do so.
 6      As the state contends, the electronic video surveillance at issue is not subject to the strictures of Florida's
        statute governing the security of communications and surveillance (chapter 934, Florida Statutes – Florida's
        “wiretapping statute”) because the video cameras did not record audio. Chapter 934 protects the privacy of
        and restricts the interception of “wire and oral communications.” § 934.01(2), Fla. Stat. (2019). In Minotty
        v. Baudo, 42 So. 3d 824, 832 (Fla. 4th DCA 2010), an appeal from a civil judgment for damages under
        chapter 934, this court held that silent video surveillance was not covered by the act, which applies solely to
        the interception of wire, electronic, or oral communications.
 7      The state suggests that the remedy for the innocent spa clients is a civil lawsuit, like one already pending
        in federal court. We disagree. A costly, time-consuming civil remedy by unlawfully recorded persons is
        impractical and would not serve to meaningfully deter future violations. Were we to accept this argument,
        police in future cases could blatantly violate the privacy rights and Fourth Amendment protections of citizens
        and the only consequence would be the risk of future civil lawsuits that most citizens would not have the
        wherewithal to pursue.
 8      The parties and amici have argued additional issues and alternative grounds for affirmance that we do not
        decide as it is not necessary to do so. However, the need for law enforcement use of silent video recording
        is a matter that could be addressed by the Legislature.
        Professors Stephen Saltzburg and Ronald Goldstock present strong arguments in their amicus brief why
        a warrant authorizing secret video surveillance (a “sneak and peak” warrant) has no place in a prostitution
        case and why the invasive video surveillance conducted here was unnecessary. They make a compelling
        argument that—as with other electronic surveillance such as wiretapping—the drastic step of installing secret
        cameras in private locations was intended to be limited to serious crimes and used only as a last resort in
        extraordinary situations.


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         EXHIBIT “H”
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                          VERO BEACH POLICE DEPARTMENT
                                           Written Directives


                               General Order                                    28


                               Subject: Conduct, Duties and Responsibilities

       Rescinds: 08/01/16      Effective Date: 06/23/17

       Pages: 6                CFA Accreditation Standard(s) v 5.0:, 7.01M, 15.17M

       PURPOSE: To advise members of the department of their responsibilities during
       everyday interactions with the public and other department employees.

       I.    Policy
       II.   Procedure

       I.    Policy

       In addition to those duties, responsibilities and guides for conduct outlined for members
       throughout the rest of this manual, the following are included.

       II.   Procedure

       28.1 Members will strive to adhere to the Oath of Office, the Code of Ethics, the
       department’s Mission Statement, and the policies of both the department and the City of
       Vero Beach.

       28.2 Members will adhere to the laws of the United States, the State of Florida and the
       ordinances of the City of Vero Beach.

       28.3 When on and off duty, members will conduct themselves in such a manner that
       they do not discredit themselves or the department.

       28.4 Members will use the authority of their position to accomplish the tasks the public
       requires of the police department and not for the purpose of personal gain.

       28.5 Members will treat the public courteously, avoiding harsh, violent, profane and
       insolent language whenever possible and will avoid the use of excessive force.

       28.6 Officers who must use force when making an arrest will report such use in
       accordance with current directive.

       28.7 It is the policy of this department that off-duty officers refrain from taking forcible
       police action except in circumstances, which seriously threaten life, property or public
       order.
       General Order 28               Page 1 of 6                              Conduct, Duties and
                                                                                  Responsibilities
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       28.8 The most appropriate police action to be taken by off-duty officers in less serious
       situations or in situations in which forcible police action itself may increase risk to the
       lives and safety of officers or other innocent persons is to request the assistance of an
       on-duty officer at the first opportunity.

       28.9 Before taking any action while off-duty, officers should carefully consider the risks
       to themselves and to others that may be caused by sudden confrontation with armed
       criminals or suspects. If feasible, the off-duty officer should identify himself/herself as a
       law enforcement officer before taking any action.

       28.10 When operating a department vehicle while off-duty, officers must carry a properly
       registered firearm of a type specified by the department and with which they have met
       minimum department proficiency standards.

       28.11 Members shall not seek personal publicity in the course of their employment.

       28.12 All requests for public speeches, demonstrations and the like will be forwarded to
       the Chief of Police or Captain for approval and processing. Members directly
       approached for this purpose shall suggest that the party submit his request in writing to
       the Chief of Police or Captain.

       28.13 Members shall attend to requests from the public quickly and accurately avoiding
       unnecessary referral to other sections of the department.

       28.14 All members must remain completely impartial toward all persons coming to their
       attention. Violations of the law are against the community and not against an individual
       officer.

       28.15 All citizens are guaranteed equal protection under the law; exhibiting partiality for
       or against a person for any reason, such as race, creed, color, social standing,
       community stature, or occupation shall be viewed as wanton and willful neglect in the
       performance of assigned duties.

       28.16 Members shall always assist lost, helpless, injured or ill persons. Every member
       is strictly charged to render first aid to stricken persons to the best of their ability.

       28.17 Except where impractical, not feasible, or where the identity is obvious, officers
       shall identify themselves by displaying the official identification card and badge before
       taking police action.

       28.18 When a member has knowingly come in contact with a subject having a
       contagious disease, or has been exposed to contagion, he/she shall at once notify his
       supervisor and comply with his/her instructions.

       28.19 Members will study all General Orders and familiarize themselves with their
       contents and any future revisions to them.

       28.20 Members will report to duty as assigned, either regularly or by emergency notice,
       and will be awake and alert at all times while on-duty. Sleeping, loafing or idling while
       on-duty is strictly forbidden.

       General Order 28               Page 2 of 6                               Conduct, Duties and
                                                                                   Responsibilities
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       28.21 Members of the department are always subject to duty although periodically
       relieved of its routine performance. They shall, at all times, respond to the lawful orders
       of superior officers and other proper authorities as well as calls for assistance from
       citizens.

       28.22 All members shall perform their duties as required or directed by law, department
       policy, or by order of a superior officer. All lawful duties required by competent authority
       shall be performed promptly as directed, notwithstanding the general assignment of
       duties and responsibilities.

       28.23 Proper police action must be taken whenever required. The administrative
       delegation of the enforcement of certain types of laws and ordinances to particular units
       of the department does not relieve members of other units from the responsibility of
       those laws and ordinances when the occasion requires.

       28.24 Members assigned to special duties are not relieved from taking proper action
       outside the scope of their specialized assignment when necessary.

       28.25 Members on-duty shall be immediately and readily available to the public during
       duty hours.

       28.26 Members of the department shall respond without delay to all calls for police
       assistance from citizens or other department or agency members.

       28.27 All members are required to take appropriate police action toward aiding a fellow
       police officer exposed to danger or in a situation where impending danger may be
       present.

       28.28 Members are required to establish and maintain a working knowledge of all laws
       and ordinances in force in the city, the policies and the orders of the department and
       division thereof. In the event of improper action or breach of discipline, it will be
       presumed that the member was familiar with the law or policy in question.

       28.29 Members shall not induce or attempt to induce any member, other employee of
       the city, or any other person to commit an unlawful act or to act in violation of lawful and
       reasonable departmental or official policy or order.

       28.30 Members will refrain from starting or spreading idle or malicious gossip or rumors
       about other employees or any other persons.

       28.31 Members shall not engage in any conduct prejudicial to the reputation, good order
       or discipline of the police force.

       28.32 Members shall refrain from any willful non-compliance with any of the policies
       adopted for the government of the City of Vero Beach and the police department.

       28.33 Members shall not knowingly make an untruthful statement of any kind in a verbal
       or written report to any other department member or knowingly make an untruthful
       statement before any court or to any authorized government official, or willful omission or
       falsification of any material fact which should be included in any official report.

       General Order 28               Page 3 of 6                              Conduct, Duties and
                                                                                  Responsibilities
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       28.34 Members shall not show disrespect for or to any officer or other person by violent,
       coarse or insolent language or behavior.

       28.35 Members shall treat other officers and associates with respect. They shall be
       courteous and civil at all times in their relationships with one another. When on-duty and
       particularly in the presence of other people and members, officers should be referred to
       by rank.

       28.36 Members shall refrain from being openly antagonistic in their attitude toward other
       officers or fellow employees, criticizing departmental orders, policies, or rules, or from
       conduct detrimental to efficient public service.

       28.37 Members shall not consume intoxicants while off-duty to the extent that the
       evidence of such consumption is apparent when reporting for duty.

       28.38 On-duty members shall not partake of alcoholic beverages except that which is
       necessary in the performance of a police duty and only then with the specific consent
       and knowledge of a commanding officer. This exception does not extend to officers in
       uniform.

       28.39 Members shall not at any time be intoxicated or display behavior or other
       indicators which would indicate they had consumed alcoholic beverages on-duty.

       28.40 Members, whether on-duty or off-duty, will not purchase any alcoholic beverages,
       while wearing the police uniform, or any part thereof.

       28.41 City vehicles will not be parked at or in close proximity to an establishment
       licensed to sell alcoholic beverages and whose major business is such sale, except on
       official business.

       28.42 Members will strive to adhere to the Oath of Office, the Code of Ethics, the
       department’s Mission Statement, and published values and the policies of both the
       department and the City of Vero Beach.

       28.43 No member will house any alcoholic beverage within the police station or store,
       transport, or otherwise keep any alcoholic beverage in any police vehicle, except when
       necessary to carry out official police business.

       28.44 Members shall not gamble while on-duty unless such gambling is necessary in the
       performance of a police duty. Lawful purchase of Florida Lottery tickets shall not be
       considered gambling.

       28.45 Members while off-duty and not on any official business, shall not loiter in
       department areas to the extent that they interfere with normal police operations.

       28.46 Members may suspend their police duties for a meal period but remain on call,
       subject to modifications by their supervisor. This shall not apply to certain non-sworn
       employees.

       28.47 Members will use police time, equipment, and personnel for official business only.

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       28.48 Members shall not place or allow to be placed in/or on police vehicles or
       equipment any form of campaign or political literature or advertisement.

       28.49 Members will refrain from conducting private business matters that interfere with
       the performance of their duties.

       28.50 Members may carry personal cell phones while on-duty but their use for personal
       business must be discreet. Because of the increasing use of cellular technology by
       drivers while actively driving on the roadways and the inherent dangers associated with
       such distracted driving, the use of a cell phone/BlackBerry or other data device for
       anything other than phone calls while driving is expressly prohibited and may be a
       violation of FSS 316.305.

       28.51 Members shall not use department letterhead stationery for private or personal
       correspondence.

       28.52 Existence of facts establishing a violation of law, ordinance, or policy is all that is
       necessary to support any allegation of such as a basis for a charge and discipline under
       this section.

       28.53 Nothing contained within this manual prohibits disciplining or charging members
       merely because the alleged act or omission does not appear in departmental General
       Orders, policy, ordinances or law.

       28.54 Members having personal knowledge (not rumors) of other employees violating
       laws, ordinances, or General Orders shall report the facts of same in writing to their
       immediate supervisor. If the matter is of such gravity that it must be brought to the
       immediate attention of the Chief of Police, the chain of command may be by-passed.

       28.55 Members shall exercise due care and safety in the handling or use of all
       equipment to guard against damage or loss.

       28.56 Members approached by any individual advising he/she is a sexual offender/
       predator required to register by FSS 943.0435 will direct the individual to the Indian
       River County Sheriff’s Office for registration purposes. This shall be accomplished by
       handing the sexual offender/predator a reporting flyer containing the contact information
       and registration procedures of the Indian River County Sheriff’s Office. This form is
       located in the lobby of the police department or on the “N” drive.

       28.57 No more than two marked police vehicles will, at any one time, be parked at any
       eating establishment, unless on official business.

       28.58 Members are responsible for the delivery of vehicles and equipment for regularly
       scheduled maintenance and/or preventative maintenance. This shall include, but not
       limited to: monthly scheduled vehicle service, vehicle manufacture recall notices, annual
       radio preventative maintenance, radar calibrations, speedometer calibrations, tint meter
       calibrations or any other maintenance and/or preventative maintenance were the
       member was provided prior notice.



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                          General Order 28 Approved: _______________
                                                         David E. Currey
                                                         Chief of Police




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           EXHIBIT “I”
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                          VERO BEACH POLICE DEPARTMENT
                                            Written Directives


                                General Order                                  57


                                Subject: Search Warrants

       Rescinds: 08/01/16       Effective Date: 10/06/2019

       Pages: 6                 CFA Accreditation Standard(s) v 5.0: 15.08M

       PURPOSE: To establish guidelines for the planning of the warrant application and
       execution of search warrants.

       I.       Discussion
       II.      Policy
       III.     Procedure

       I.     Discussion

       The successful prosecution of violators often depends upon the use of court-authorized
       search warrants. These warrants will be executed in accordance with federal and state
       law in expectation of scrutiny by the trial courts.

       It is important to realize that an authorized search warrant temporarily allows for the
       intrusion by police officers into otherwise private areas. Execution of a search warrant is
       one of the more dangerous aspects of law enforcement work as it involves entry,
       sometimes a forced entry, into a residence or other location. The responsibilities of each
       member and the methods of entry must be planned carefully.

       II.    Policy

       Search warrants will be prepared and executed in conformance to law and this General
       Order.

       III.   Procedure

       57.1 To obtain a search warrant, an officer must present a judge with sufficient
       information to constitute probable cause to believe that an offense has been or is being
       committed at a specific location. The information may include but is not limited to, the
       following:

        Observations of illegal activity at a specific location

        The details of the purchase of a controlled substance, stolen property, or other
         contraband from a specific location

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        Reliable information from a credible informant, determined to be reliable by the
         following criteria:

                  o   The informant has supplied accurate information in the past

                  o   The officer can confirm the informant’s information with sufficient detail

                  o   The informant provided the information under oath against his own
                      interest

                  o   The informant has demonstrated the ability to identify illegal contraband
                      and/or illegal activity

       Drafting the Affidavit and Warrant

       57.2 Officers may request the assistance of an Assistant State Attorney when drafting a
       search warrant, when needed. Final approval of the warrant is the responsibility of the
       Detective Division Commander or Supervisor. The affidavit must include:

          A detailed description of the dwelling, structure, or conveyance to be searched. This
           includes, but is not limited to: the name and street address, type and color of
           structure(s), window and door locations, and other identifying features of the location
           and curtilage

          A photograph of the dwelling, structure, or conveyance to be searched, if possible

          The Florida Statute violated

          Detailed chronologies of the events that support the application for the search
           warrant. This includes any information that constitutes probable cause and will
           include, but is not limited to, the following:

          Sworn statements from witnesses

          Plain view observations

          Prior controlled purchases of illegal substances made from the location

          Positive results from issued Reagent test kits when the purchases involved
           controlled substances

          Information from a confidential informant with proven credibility

          Corroborating intelligence or past history information

          Corroborating statements of arrested subjects

          Signature spaces for the affiant(s) that will be attesting to the facts. The affiant(s)
           names are to be typed in the appropriate spaces.


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       57.3 The warrant must include the following:

             Specific wording that commands the Chief or his officers to conduct the search,
              either in the day or nighttime and any day of the week including Sunday, with
              proper and necessary assistance

             A list of any items of evidentiary value suspected of being at the location at the
              time of the search

             Specific areas which may be searched

             A signature space for the judge

       57.4 Upon locating a judge, the affiant will then be placed under oath and will sign the
       affidavit. If the judge finds that probable cause exists, he/she will sign both the original
       and the true copies of the warrant.

       57.5 A true copy of the entire search warrant will be left with the defendant or at the
       search location if the defendant is unavailable.

       57.6 The original search warrant together with the original affidavit and original Inventory
       and Return must be filed with the Clerk of the Court having jurisdiction of the offense.
       This should be done within ten (10) days after issuance, or if the search was on the 10th
       day, then the day following. Unserved search warrants must also be delivered to the
       Clerk of the Court.

       57.7 Photocopies of the warrant will be made for the State Attorney’s Office and the
       case file.

       57.8 When the premises or conveyance to be searched is already secured and in the
       custody and control of a law enforcement officer, or the search warrant has been
       secured to seize business records or files, the supervisor in charge of the investigation
       will be responsible for the deployment and assignment of tasks. In all other
       circumstances, the service of a search warrant at premises will be considered a special
       assignment and the following guidelines apply.

       57.9 The supervisor in charge of the detail will accomplish the following tasks:

           Formulate a course of action to include:


                  o   Completing an Operations Plan

                  o   Determining total manpower and support requirements

                  o   Determining positioning and responsibilities of personnel

                  o   Identifying approach routes

                  o   Identifying primary and secondary entry points


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                  o   Identifying the need for special equipment, or weapons

                  o   Consideration of special problems

           Conduct a pre-operation briefing in which individual and team assignments
          are specified

       57.10 During the briefing, a diagram of the premises to be searched will be utilized to
       designate positions and personnel assignments. This diagram will be submitted as a
       supplement to the report.

       57.11 Photographs of the premises and known occupants will be utilized to brief
       personnel, when available.

       57.12 All personnel who will participate in the service of the warrant operation should be
       present at the briefing by the supervisor of the detail.

       57.13 Additionally, the supervisor of the detail shall:

             Issue specialized equipment as required

             Deploy personnel to survey the area before the service of the warrant

       57.14 Personnel assigned to the detail will be deployed by the supervisor in charge to
       perform specified tasks or to be part of one of the following teams:

       Entry Team

       57.15 The entry team is responsible for gaining entry to the premises to be searched; to
       search the premises for persons; to prevent the destruction or disposal of evidence; and
       initially to secure the premises and persons.

       57.16 The supervisor in charge will designate an entry team leader.

       57.17 All entry team members will wear protective body armor or other authorized
       uniform clothing that clearly identifies team members as police officers, except when
       specialized circumstances dictate an entry by personnel in plainclothes or other attire.

       Inner Perimeter Team

       57.18 The inner perimeter team is responsible for containing and securing the exterior of
       the structure or premises to be searched; for preventing persons from escaping; and for
       denying unauthorized access to the scene.

       57.19 The inner perimeter team will maintain their positions until the entry team has
       secured the structure or premises.

       57.20 All inner perimeter team members will wear protective body armor or other
       authorized uniformed clothing that clearly identifies team members as police officers.



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       Outer Perimeter Team

       57.21 In some instances deploying an outer perimeter team to provide crowd and/or
       traffic control may be necessary, and protection and security of police department
       vehicles.

       57.22 The outer perimeter team shall be comprised of uniformed patrol officers. If an
       outer perimeter team is not deployed, the inner perimeter team will assume the
       responsibilities of the outer perimeter team.

       Warrant Service Team

       57.23 The warrant service team is responsible for executing the search warrant
       document; searching the structure or premises for evidence; properly securing,
       packaging, and transporting any evidence discovered at the scene; arresting the
       subjects named in the warrant; and arresting any other persons found violating the law
       as a result of probable cause established during the execution of the warrant.

       57.24 At the direction of the supervisor in charge, and upon completion of their initial
       tasks, personnel from the other described teams can be assigned to the warrant service
       team.

       57.25 At least one uniformed officer and a marked patrol vehicle will be present at all
       search warrants.

       57.26 Unless a “no knock” entry is authorized, the entry team will knock and announce
       their purpose and identify themselves as law enforcement officers before entering the
       structure or premises to be searched.

       57.27 The premises shall be entered using necessary means and systematically
       searched for occupants in the most efficient and expedient manner possible to prevent
       the escape of occupants, maintain officer safety, and prevent the destruction of
       evidence.

       57.28 Persons who escape or flee from the premises will not be pursued outside the
       building or structure by entry team members unless exigent circumstances exist.
       Perimeter team members will be responsible for apprehending these subjects.

       57.29 After all occupants are located and rendered safe and the premises are
       established, the entry team leader will notify the supervisor in charge of the detail that
       the premises are secure.

       57.30 After receiving notification that the premises are secure, the supervisor in charge
       will instruct the warrant service team to enter the premises and execute the warrant.
       The supervisor in charge will release Fire/Rescue from its standby status.

       57.31 The warrant service team will be responsible for the following:

             Hand delivering a copy of the warrant to an occupant of the premises to be
              searched


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             To systematically search the premises for the items named in the warrant
              (the scope of each search should be limited to those areas where the
              objects could legitimately be concealed)

             Properly documenting all property seized

             Photographing and processing all property seized

             To arrest person(s) found violating the law as a result of probable cause
              established during the execution of the warrant

             To leave a full copy of the search warrant and a list of all items seized at the
              premises

             Preparation of a property receipt that duplicates the search warrant
              Inventory

             Preparation of an incident report with a copy of the search warrant attached

       57.32 The supervisor in charge will ensure that all incident reports and required
       supplements are completed. The supervisor in charge will complete an After-Action
       Report. Copies of the Operations Plan and the After-Action Report shall be forwarded to
       the Professional Standards Accreditation Lieutenant.

       57.33 The affiant will return the search warrant to the Clerk of the Court as prescribed by
       Florida law.

       57.34 Dependent on the instructions of the judge who signed the warrant, the affiant will
       notify the judge of the warrant service, and will present all items seized during the search
       warrant for review.


                                   General Order 57 Approved: ________________
                                                                David E. Currey
                                                                Chief of Police




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